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| Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 1 of 228

The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 

 

 

R.W. and R.J.T., husband and wife, and | NO. C16-465 RAJ
the marital community composed
thereof,
_— PLAINTIFFS’ MOTION FOR
Plaintiffs, PARTIAL SUMMARY JUDGMENT
RE COVERAGES
v.
Note on Motion Calendar:
LIBERTY MUTUAL FIRE February 3, 2017
INSURANCE COMPANY, dba Liberty
Mutual
Defendant.
I. RELIEF REQUESTED

Plaintiffs respectfully request that the Court make the following rulings, as a matter

| of law:

1, That the damage caused by the March 2014 water leak, and the mitigation of that
damage, was covered. (This does not appear to be disputed.)

2. That there is no evidence that Plaintiffs intentionally caused the May 2015 fire.

(This does not appear to be disputed.)

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 2 of 228

3. That the damage resulting from the fire, and the mitigation of that damage, was
covered, (This does not appear to be disputed.)

4, That Plaintiffs’ mortgage company was also covered for the fire damage, and
mitigation of that damage, even if Liberty Mutual had determined that Plaintiffs
had intentionally caused the fire. (This does not appear to be disputed.)

5. That neither insurance contracts were limited to a maximum of 12 months of
Additional Living Expenses (ALE) or, in the alternative, that Liberty Mutual
breached the Consumer Protection Act by deceptively charging Plaintiffs an
additional premium for an amendment (an “endorsement”) to their contract to
“increase” the ALE limit that actually placed a 12-month limit on ALE when no
such limit existed in the original contract. (This issue is disputed.)

II. INTRODUCTION

This matter is scheduled for a jury trial. The interpretation of an insurance contract
is a question of law that, in general, is not an issue of fact for the jury. Plaintiffs ask that
the Court confirm four coverage conclusions to erase the possibility of any dispute over
these issues at trial. Defendant’s testifying representative has agreed with these coverage
conclusions but Defendant’s counsel has disagreed and objected to the language used by
Plaintiffs.

The fifth issue is disputed. Liberty Mutual sold Plaintiffs an amendment (known as

an “endorsement”) to their insurance contract that purported to increase their ALE limit.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 3 of 228

But Liberty Mutual interpreted the endorsement to reduce their ALE limit, which was
open-ended, in order to justify placing a cap of 12 months on that benefit. Plaintiffs ask
the Court to find that the intent of the contract was not to cap the open-ended ALE benefit.
Alternatively, if the 12-month cap was properly applied, then Plaintiffs ask the Court to
find that Liberty Mutual violated the Consumer Protection Act (CPA) as a matter of law
by charging Plaintiffs for an “increase” that actually reduced the ALE benefit.

il. FACTS

A. The Subject Insurance Contracts Covered All Risks, Unless Explicitly
Excluded

There are two relevant insurance contracts in this matter, but they are essentially
identical in their provisions. One contract was for the period of 2013 to 2014. The other
was for 2014 to 2015. The subject insurance contracts covered all forms of physical
damage, unless the damage was explicitly excluded by the contract. The contracts
provided:

COVERAGE A - DWELLING and

COVERAGE B - OTHER STRUCTURES

We insure against risks of direct loss to property described in

Coverages A and B only if that loss is a physical loss to property[.]
(Declaration of Joel Hanson, Exhibit F at 6 of 20, and Exhibit G at 6 of 20.) This form of
insurance contract is commonly referred to as an ‘all risk’ policy. “‘All Risk’ insurance is

a promise to pay upon the fortuitous and extraneous happening of loss or damage from

any cause whatsoever unless that cause is specifically excluded. Under an all risk policy,

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 4 of 228

any risk that is not specifically excluded is an insured peril.” Frank Coluccio Const. Co. v.
King Cty., 136 Wn. App. 751, 767, 150 P.3d 1147, 1155 (2007) (citations omitted).
Accordingly, all the sources of damage in this matter were covered unless the contract
specifically excluded that peril.

B. The March 2014 Water Leak Was Covered

As the parties have explained in a prior motion for partial summary judgment (Dkt.
No. 11), Plaintiffs suffered a water leak from a hole in a dishwasher in March 2014. (Dkt.
No. 11-1 at 1.) Liberty Mutual’s adjuster, Jackline Oyugi, determined that the water leak
was covered and did not conduct an investigation into what caused the hole in the
dishwasher. (Declaration of Joel Hanson, Exhibit A at 11, 37-39, 44-46.) Liberty Mutual
has argued to this Court that the water leak was caused by “rust”. (E.g., Dkt. No. 24 at 3,
lines 15-16 and at 4, line 20; Dkt. No. 32 at 1, lines 17-26.) However, there is evidence
that the water leak was actually caused by a small fire on the heating element. (Hanson
Decl. Ex. B; see also Ex. A at 46.)

Regardless of the cause, Liberty Mutual’s testifying representative, Brian Cahill,
agreed that the water leak was a covered loss. (Hanson Decl. Ex. C. at 58.) Liberty Mutual
also agreed Plaintiffs were covered for the cost of mitigating that water leak damage. (/d.)

C. A Fire Occurred in May 2015, Which Was Apparently the Result of
Transients Living in the House

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 5 of 228

As a result of the water leak and the dispute with Liberty Mutual concerning the
coverage limits on the related mold damage, Plaintiffs were unable to complete repairs
and move back into their home. They retained counsel and sought to resolve the dispute.
On May 19, 2015, a substantial fire occurred at the house. (Dkt. No. 11-1 at 5, lines 11-12,
Declaration of R.W.) Plaintiffs later learned that transients had been living in the house,
stealing property, and leaving behind drug paraphernalia. (/d.; see also Hanson Decl. Ex.
D at 24-26.) Counsel for Plaintiffs immediately contacted Liberty Mutual and
communicated Plaintiffs’ belief that the burglars and/or transients had caused the fire. (See
Hanson Decl. Ex. E.)

D. Liberty Mutual Agrees There Is No Evidence Plaintiffs Intentionally Set
the Fire

After learning of the fire, Liberty Mutual assigned Roberta Schultz to investigate
Plaintiffs for the possibility that they had committed arson. (Hanson Decl. Ex. D at 12-13,
17.) The reason for this investigation is that Plaintiffs had told Liberty Mutual they
believed it was an arson and because Plaintiffs had filed insurance claims in the past, such
as the unresolved water leak claim. (/d.)

Liberty Mutual viewed the fact that Plaintiffs had previously filed insurance claims
as a “red flag”. (/d.) There were no other red flags indicating Plaintiffs might have

committed the arson. (/d.)

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 6 of 228

Schultz concluded there was no evidence that Plaintiffs committed arson. (Hanson

Decl. Ex. D at 18-19.) Nor did she find any evidence of dishonesty by Plaintiffs. (/d. at

| 51.) Schultz concluded her investigation into Plaintiffs on around October 7, 2015. (/d. at

52.) That was almost five months after Liberty Mutual was alerted of the May 19 fire.
Liberty Mutual’s testifying representative agreed that there was no evidence that

Plaintiffs committed arson. (Hanson Decl. Ex. C at 129-130.) He also agreed that they

were covered for the damage arising from the fire, including the cost of mitigating that

 

damage. (Hanson Decl. Ex. C at 58-59.)

E. Plaintiffs’ Mortgage Company Was Covered Regardless of Who Set the
Fire

The insurance contract in effect at the time of the fire contained a provision
granting a coverage interest to Plaintiffs’ mortgage company. (Hanson Decl. Ex. F at
| Policy Declarations page and LM003133 - “Lender’s Loss Payable Endorsement” page.)
Liberty Mutual’s testifying representative agreed that Plaintiffs’ mortgage company was
covered for the damage arising from the fire, including the cost of mitigating that damage,
regardless of whether Plaintiffs were found to have committed arson. (Hanson Decl. Ex. C
at 59-60.)

F. Plaintiffs Required More Than 12 Months to Repair their House

Plaintiffs lost the use of their house due to the March 2014 dishwasher leak. On

April 14, 2014, Plaintiffs requested the additional living expense (“ALE” or “Loss of
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 7 of 228

Use”) benefits due to the house being uninhabitable. (Hanson Decl. Ex. H.) Liberty
Mutual agreed and, initially, placed them in a hotel. (/d.) Liberty Mutual later placed them
in a rental house. As the parties have discussed in prior briefing, a dispute arose over
payment for repairing the mold damage and Plaintiffs were unable to move back into their
house. (See, e.g., Dkt. No. 11-1 at 5, lines 6-13.) More than a year after the leak, while
Plaintiffs were still unable to live in the house, the May 2015 fire occurred. (See id.) To
date, Plaintiffs still have not been able to repair their house and cannot yet move back into
their home. (See Hanson Decl. Ex. I.) On June 24, 2016, Plaintiffs communicated that they
were so frustrated with Liberty Mutual’s delays that they were turning to their bank to
finance the rebuilding of the house. (Hanson Decl. Ex. J.) That process is now underway,
though the permits for the rebuild have not yet been finalized. (See Hanson Decl. Ex. I.)

G. The Insurance Contract Placed No Maximum Time Limit on the ALE
Benefit

The insurance contracts in effect at the time of the water leak and at the time of the
fire both provided coverage for the Loss of Use of the property, including ALE. Both of
the contracts provided:

COVERAGE D - Loss of Use

The limit of liability for Coverage D is the total limit for all the
coverages that follow.

1. If a loss covered under this Section makes that part of the

residence premises where you reside not fit to live in, we cover, at
your choice, either of the following. However, if the residence

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 8 of 228

premises is not your principal place of residence, we will not provide
the option under paragraph b. below.

a. Additional Living Expense, meaning any necessary
increase in living expenses incurred by you so that your
household can maintain its normal standard of living; or

b. Fair Rental Value, meaning the fair rental value of that part
of the residence premises where you reside less any expenses
that do not continue while the premises is not fit to live in.

Payment under a. or b. will be for the shortest time required to repair
or replace the damage or, if you permanently relocate, the shortest
time required for your household to settle elsewhere.

2. If a loss covered under this Section makes that part of the
residence premises rented to others or held for rental by you not fit
to live in, we cover the: Fair Rental Value, meaning the fair rental
value of that part of the residence premises rented to others or held
for rental by you less any expenses that do not continue while the
premises is not fit to live in.

Payment will be for the shortest time required to repair or replace
that part of the premises rented or held for rental.

3. If a civil authority prohibits you from use of the residence
premises as a result of direct damage to neighboring premises by a
Peril Insured Against in this policy, we cover the Additional Living
Expense or Fair Rental Value loss as provided under | and 2 above
for no more than two weeks.

The periods of time under 1, 2 and 3 above are not limited by
expiration of this policy.

We do not cover loss or expense due to cancellation of a lease or
agreement.

(Hanson Decl. Ex. G on page 4 of 20, and Ex. H on page 4 of 20.) The Policy Declarations

page of both contracts provided the following limits on the ALE coverage:

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 9 of 228

Section I Coverages LIMITS

D. Loss of Use of Insured Location Actual Loss Sustained
(Hanson Decl. Ex. G at Policy Declarations pages, and Ex. H at Policy Declarations
pages.) While the Dwelling and Personal Property coverages had limits, the Loss of Use
coverage did not. (/d.)

H. Liberty Mutual Sold an Endorsement Which Purported to Increase the
ALE and Other Benefits

Liberty Mutual sold Plaintiffs the following “Additional Coverages”:

 

Additional Coverages

 

 

 

DEDUCTIBLE LIMITS PREMIUM

Credit Card, Fund Transfer Card, $ 1,000 $ 0

Forgery

Home Protector Plus $ 163
Coverage E & F increased limit $ 26

Total Additional Coverages $ 189

(Hanson Decl. Ex. G at Policy Declarations pages, and Ex. H at Policy Declarations
pages.) In 2013 to 2014, Plaintiffs paid slightly less, $154, for the Home Protector Plus

additional coverage. (/d.)

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 10 of 228

The “Home Protector Plus Endorsement” in both contracts contained the following

provision:

C. INCREASED LIMIT - COVERAGE D We will pay the amount

of loss covered by Coverage D which is actually sustained by you

during the 12 consecutive months following the date of loss, subject

to the periods of time under paragraphs 1, 2 and 3 of Coverage D -

Loss of Use
(Hanson Decl. Ex. G at “Home Protector Plus Endorsement” page 2 of 2, and Ex. H at
‘Home Protector Plus Endorsement” page 2 of 2.) While this endorsement may have
constituted an “increased limit” for many insurance contracts, it was a lesser limit than
what already existed in Plaintiffs’ contract. As a result, the 12-month limit was not
reflected on the Policy Declarations pages, which kept the “Actual Loss Sustained”
language. (Hanson Decl. Ex. G at Policy Declarations pages, and Ex. H at Policy

Declarations pages.)

1, Liberty Mutual Interpreted the “Increased” ALE Benefit to Place a 12-
Month Cap on the Benefit That Did Not Previously Exist

Liberty Mutual ended the ALE benefit on March 9, 2015, which was 12 months
after the water leak. (Hanson Decl. Ex. K.) After the fire, Plaintiffs reminded Liberty
Mutual that they were still living in a rental house and needed the ALE benefit. (See, e.g.,

Hanson Decl. Ex. L.) On June 25, 2015, Liberty Mutual decided to pay ALE benefits

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 11 of 228

while it investigated coverage for the May 19, 2015 fire claim.’ (Hanson Decl. Ex. M.)
Liberty Mutual communicated it would cancel the ALE benefit again at exactly 12 months
from the date of the fire. (Hanson Decl. Ex. N.) However, Plaintiffs argued that Liberty
Mutual should not cancel the ALE benefit because the 12-month limit should not
overcome the “Actual Loss Sustained” language. (Hanson Decl. Ex. O.) Plaintiffs
threatened to bring a motion on that issue. (/d.) Eventually, Liberty Mutual agreed to
extend the ALE benefit for two more months, and then cancelled those benefits after a
total of 14 months from the date of the fire. (Hanson Decl. Ex. P.)

James Wolterman, Liberty Mutual’s adjuster currently in charge of the claim,
testified that Liberty Mutual ended the ALE benefit to Plaintiffs based on its position that
there was a 12-month cap on that benefit. (Hanson Decl. Ex. Q at 145-147.) Wolterman
sent a March 16, 2016 email where he appeared to express criticism of the speed at which
Plaintiffs had undertaken the repair process. (Hanson Decl. Ex. R.) However, Wolterman
clarified during his deposition that he did not actually mean to criticize Plaintiffs’ efforts
to repair their house. (Hanson Decl. Ex. Q at 180-183.) His only criticism concerning the
fire claim is that he feels the engineer, Ryan Barrett of Pacific Engineering Technologies,
should have done things differently for the claim process to move forward. (/d. at 183,

185, 193.) Liberty Mutual’s testifying representative confirmed that Liberty Mutual’s only

 

' Liberty Mutual declined to pay any money for the structure damage, mitigation, or personal
property damage arising from the fire until it completed its arson investigation in October 2015.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 12 of 228

criticism of Plainiffs was that it wished that the process of submitting engineering plans
and requesting permits had started sooner. (Hanson Decl. Ex. C at 164-165.) Plaintiffs
have sent correspondence explaining why they feel Liberty Mutual made it impossible for
them to move forward with the repair process. (See, e.g., Hanson Decl. Ex. J.) Among
other things, Plaintiffs allege that Liberty Mutual did not make a good faith effort to reach
an agreement with their contractor on the scope and cost of repairs, which made it
impossible for the repairs to begin.
IV. ARGUMENT

A. Standard for summary judgment

The interpretation of an insurance contract is a question of law. Overton v. Consol.
Ins. Co., 145 Wn.2d 417, 424, 38 P.3d 322 (2002). A party is entitled to summary
judgment if “there is no genuine issue as to any material fact and that the moving party is
entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). In determining whether
an issue of fact exists, the Court must view the evidence and draw reasonable inferences
from the evidence in the light most favorable to nonmoving party. Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248-50 (1986); United States v. Johnson Controls, Inc., 457
F.3d 1009, 1013 (9th Cir. 2006). To avoid summary judgment, the nonmoving party must

“set forth specific facts showing that there is a genuine issue for trial.” Fed. R. Civ. P.

 

 

 

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PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 13 of 228

The facts that are material to this motion are not genuinely in dispute and the only
questions raised in this motion turn on the interpretation of the subject insurance contract.
These contractual issues can, and should, be resolved by the Court on summary judgment.

B. The damage caused by the March 2014 water leak, and the mitigation of
that damage, was covered

There is no genuine issue of fact. As matter of law, it should be found that the
March 2014 water leak, and the mitigation of that damage, was covered.

C. There is no evidence that Plaintiffs intentionally caused the May 2015
fire

There is no genuine issue of fact. As matter of law, it should be found that there is
no evidence that Plaintiffs intentionally caused the May 2015 fire.

D. The damage resulting from the fire, and the mitigation of that damage,
was covered

There is no genuine issue of fact. As matter of law, it should be found that the
damage resulting from the May 2015 fire, and the mitigation of that damage, was covered.

E. Plaintiffs’ mortgage company was also covered for the fire damage and
the mitigation of that damage, even if Liberty Mutual had determined
that Plaintiffs had intentionally caused the fire

There is no genuine issue of fact. As matter of law, it should be found that

Plaintiffs’ mortgage company was covered for the fire damage, and the mitigation of that

damage, even if Liberty Mutual had determined that Plaintiffs had intentionally caused the

fire.
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 14 of 228

This issue is relevant to Plaintiffs’ allegation that Liberty Mutual acted in bad faith
during its 5-month delay in paying the claim while it conducted its arson investigation.
Liberty Mutual declined to pay for the repairs or for the cost of mitigating the fire damage
during that arson investigation. Similarly, Liberty Mutual did little to evaluate the cost of
repairs during that time and ignored the estimate it received from Plaintiffs’ contractor.

F. The contract was not limited to 12 months of ALE

The Policy Declarations page stated that the maximum “limit” for Loss of Use
benefits, including ALE, was the “Actual Loss Sustained”. The Loss of Use provision
stated that benefits would continue for “the shortest time required to repair or replace the
damage”. Together, these provisions communicated that the ALE was limited to the
shortest time required to repair or replace the damage, without a specific monetary or time
limit. If more than 12 months were required for repairs, then the Plaintiffs would be
compensated for that time.

However, the Home Protector Plus endorsement contained an “Increased Limit”
provision the “increased” the limits to a maximum of 12 months. It may be that, for other
insurance contracts, the Increased Limit was an actual increase. But the subject contract
already had a limit that exceeded 12 months.

The Policy Declarations pages of the contract reconciled this issue. The Policy
Declarations pages explicitly acknowledged that the Home Protector Plus endorsement

had been added, yet the Policy Declarations also explicitly stated that the Loss of Use

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 15 of 228

limit was the “Actual Loss Sustained”. In other words, the Policy Declarations limits were
written with the Home Protector Plus endorsement in mind yet did not include a 12-month
limit.

The provisions of the contract must be read together. If the parties had intended that
the Loss of Use benefit be limited to 12 months, the Policy Declarations page would have
reflected that lower limit. Liberty Mutual’s application of a 12-month limit ignored the
explicit language contained in the Policy Declarations.

The rules of interpreting insurance contracts are highly favorable for insurance
customers. “Because they are generally contracts of adhesion, courts look at insurance
contracts in a light most favorable to the insured.” Averill v. Farmers Ins. Co. of
Washington, 155 Wn. App. 106, 118, 229 P.3d 830, 836 (2010). As the Washington
Supreme Court has explained:

Policies of insurance are invariably complex and are understood by
laymen with difficulty, and as a result the insured generally makes a
request for the kind of insurance he desires and then signs ‘on the
dotted line’ upon a formidable appearing printed form with the
provisions of which the average assured has slight, if any,
acquaintance. The policies are prepared by skilled lawyers retained
by the insurance companies, who through years of study and practice
have become expert upon insurance law, and are fully capable of
drawing a contract which will restrict the scope of the liability of the
company with such clearness that the policy will be free from
ambiguity, require no construction, but construe itself. Because of
reasons such as these, whenever the contract of insurance is so
drawn as to be ambiguous, uncertain, and to require construction, the
courts of this country resolve the doubt in favor of the insured and
against the insurer, in accordance with the rule contra proferentem.

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 16 of 228

Exclusionary clauses in insurance contracts, consequently, are very
strictly construed against the insurer,

Labberton v. General Cas. Co. of America, 53 Wash.2d 180, 182-83, 332 P.2d 250
(1958) (internal quotation marks omitted). Insurance policies must be “liberally construed
in favor of a policyholder or beneficiary thereof, whenever possible, and strictly
construed against the insurer in order to afford the protection which the insured was
endeavoring to secure when he applied for the insurance.” Queen City Farms, Ine. v.
Central Nat'l Ins. Co., 64 Wn. App. 838, 855, 827 P.2d 1024 (1992), affd, 126 Wn.2d 50,
882 P.2d 703 (1994). “It must not be forgotten that the purpose of insurance is to insure,
and that construction should be taken which will render the contract operative, rather than
inoperative.” Phil Schroeder, Inc. v. Royal Globe Ins. Co., 99 Wn. 2d 65, 68, 659 P.2d
509, 511 (1983). “A construction which contradicts the general purpose of the contract or
results in a hardship or absurdity is presumed to be unintended by the parties.” Jd.

“The terms of a policy should be given a fair, reasonable, and sensible construction
as would be given to the contract by the average person purchasing insurance.” Overton,
145 Wn.2d at 424. The terms of an insurance policy should be construed as a whole.
Panorama Vill. Condo. Owners Bd. of Dirs. v, Allstate Ins. Co., 144 Wn.2d 130, 137, 26
P.3d 910 (2001). Extrinsic evidence of the intent of the parties may be considered. /d.

Where a policy is ambiguous on an issue, that ambiguity must be construed in favor

of the insured. /d. “The rule strictly construing ambiguities in favor of the insured applies

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
JUDGMENT RE COVERAGES — 16 ATTORNEY AT LAW, PLLC

6100 219 STREET SW, SUITE 480
NO. C16-465 RAJ SEATTLE, WA 98043

425.582.5636

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 17 of 228

with added force to exclusionary clauses which seek to limit policy coverage.” Findlay v.
United Pacific Ins. Co., 129 Wn.2d 368, 374, 917 P.2d 116 (1996). “Where a provision
of a policy of insurance is capable of two meanings, or is fairly susceptible of two
constructions, the meaning and construction most favorable to the insured must be
employed, even though the insurer may have intended otherwise.” Shotwell v.
Transamerica Title Ins. Co.,91 Wn. 2d 161, 167, 588 P.2d 208, 212 (1978).

Plaintiffs agree that, in a vacuum, the 12-month increased limit provision would
control. The Sixth Circuit Court of Appeals confirmed that a similar provision was
enforceable under Michigan law. Hayes v. Liberty Ins. Corp., 526 Fed. Appx. 564, 566
(6th Cir. 2013) (unpublished) (applying Michigan law), But that case is distinguishable.
The Hayes case did not contain a Policy Declarations page that that stated the Loss of
Use limit was for the “Actual Loss Sustained” rather than the 12-month limit. If the 12-
month limit was intended to apply, it should have been reflected in the Policy
Declarations page, which explicitly acknowledged the Home Protector Plus endorsement.

There is no reason to disregard the “Actual Loss Sustained” limit expressed in the
Policy Declarations. A 12-month limit should not have been applied to Plaintiffs’
insurance claims. As a matter of law, it should be found that the ALE benefits did not
have a 12-month limit.

G. In the alternative, Liberty Mutual violated the CPA by charging
Plaintiffs for an “increase” in coverage that actually reduced the ALE

limit
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 18 of 228

In the alternative, if the Court finds that Liberty Mutual correctly interpreted the
contract to limit Loss of Use to 12 months despite the “Actual Loss Sustained” language,
then Liberty Mutual violated the CPA by charging Plaintiffs for an amendment (or
“endorsement”) to the contract that actually reduced the Loss of Use limit.

Liberty Mutual sold Plaintiffs the “Home Protectors Plus” endorsement, which
included the “Increased Limit” provision limiting ALE to 12-months, for an additional
$163 per year. No such 12-month limit existed in the contract prior to the charge for the
endorsement. It is an unfair or deceptive trade practice for an insurance company to sell
modifications to insurance contracts that purport to “increase” the insurance limits but
that actually reduce the limits.

To prevail in a private CPA action, the plaintiff must show that the defendant’s
conduct met the elements of the Hangman Ridge five-part test: (1) an unfair or deceptive
act or practice, (2) occurring in trade or commerce, (3) impacting the public interest, (4)
injuring plaintiff in his or her business or property, and (5) causation. Hangman Ridge v.
Safeco Title, 105 Wn.2d 778, 780, 719 P.2d 531 (1986). The first element is met here
because Liberty Mutual charged Plaintiffs for an “Increased Limit” that actually
decreased the Loss of Use limits. Where an or practice is unambiguously deceptive or

unfair, courts may rule on it as a matter of law. State v. Kaiser, 161 Wn. App. 705, 722-

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 19 of 228

23, 254 P.3d 850, 860 (2011) (finding that investing firm violated CPA as a matter of
law by taking proceeds from tax foreclosure sales).

The second and third elements of Hangman Ridge are automatically met in the
context of insurance because it is a business which affects the public interest. See RCW
48.01.030; see also Am. Mfrs. Mut. Ins. Co. v. Osborn, 104 Wn. App. 686, 697-98, 17
P.3d 1229 (2001) (holding that, to prove a CPA violation, the insured only has to show
that the insurer breached one of more of the WAC regulations and that the insured was
injured by that breach). The fourth and fifth elements are met because the unfair or
deceptive act led to the premature expiration of Plaintiffs’ Loss of Use benefit.
Therefore, all five elements have been met as a matter of law.

As discussed above, it is Plaintiffs’ position that the contract should be interpreted
to allow more than 12 months ALE if that is the Actual Loss Sustained. If so, charging
Plaintiffs for the Home Protector Plus endorsement and Increased Limit provision did
not violate the CPA. However, if the 12-month limit somehow overcomes the Actual
Loss Sustained language, then Liberty Mutual should be found to have violated the CPA

as a matter of law.

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 20 of 228

DATED this 10™ day of January, 2017.

JOEL B. HANSON, ATTORNEY AT LAW,
PLLC

/s/ Joe] Hanson

Joel B. Hanson, WSBA #40814
Attorney for Plaintiffs

PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 21 of 228

The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

R.W. and R.J.T., husband and wife, and the | NO. C16-465 RAJ
marital community composed thereof,

Plaintiffs, DECLARATION OF JOEL HANSON IN

SUPPORT OF PLAINTIFFS’ MOTION

 

 

 

v. FOR PARTIAL SUMMARY JUDGMENT
LIBERTY MUTUAL FIRE INSURANCE | RE COVERAGES
COMPANY, dba Liberty Mutual
Defendant.
I, Joel Hanson, declare as follows:
1, I am over 18 years of age and otherwise competent to make this Declaration,

which is based on my personal knowledge and the documents contained herein.

2. I am the attorney who represents the Plaintiffs in this matter.

3. Attached as Exhibit A is a true and correct copy of pages 11, 37-39, 44-46 of the
deposition transcript of Jackline Oyugi, who was the original adjuster who handled Plaintiffs’
water loss claim.

4, Attached as Exhibit B is a true and correct copy of page LM 00130 of Liberty
Mutual’s internal log entries, along with pages LM 1323 and LM 1324, which were part of

Liberty Mutual’s claim file.

DECLARATION OF JOEL HANSON — | JOEL B. HANSON
ATTORNEY AT LAW, PLLC
NO. C16-465 RAJ 6100 219 STREET SW, SUITE 480

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 22 of 228

5. Attached as Exhibit C is a true and correct copy pages 58-60, 129-130, 164-165 of
the deposition transcript of Brian Cahill, who served as Liberty Mutual’s testifying
representative concerning the events of the insurance claims and Liberty Mutual’s interpretation
of the insurance contract.

6. Attached as Exhibit D is a true and correct copy of pages 12-13, 17, 18-19, 24-26,
51-52 from the deposition transcript of Roberta Schultz.

7. Attached as Exhibit E is a true and correct copy of an email I sent on May 19,
2015.

8. Attached as Exhibit F is a true and correct copy of the insurance contract in effect
during the May 19, 2015 fire.

9. Attached as Exhibit G is a true and correct copy of the insurance contract that was
in effect during the March 2014 water leak.

10. Attached as Exhibit H is a true and correct copy of a page from Liberty Mutual’s
internal log notes labelled LM 00144.

11. Attached as Exhibit I is a true and correct copy of a November 23, 2016 email
from Plaintiff Rani Thykkuttathil.

12. Attached as Exhibit J is a true and correct copy of a letter sent by Ms.
Thykkuttathil on June 24, 2016.

13. Attached as Exhibit K is a true and correct copy of pages from Liberty Mutual’s
internal log notes labelled LM0034 and LM0044-45.

14. Attached as Exhibit L is a true and correct copy of a June 17, 2015, 5:00pm email

from me.

DECLARATION OF JOEL HANSON — 2 JOEL B, HANSON
ATTORNEY AT LAW, PLLC

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 23 of 228

15. Attached as Exhibit M is a true and correct copy of a June 25, 2015 letter from
Charles Blackburn.

16. Attached as Exhibit N is a true and correct copy of an email from Ryan Wellman
dated February 4, 2016.

17. Attached as Exhibit O is a true and correct copy of an email from me dated
February 12, 2016.

18. Attached as Exhibit P is a true and correct copy of an email from James
Wolterman dated March 29, 2016.

19. Attached as Exhibit Q is a true and correct copy of pages 145-147, 180-183, 185,
193 from the deposition transcript of James Wolterman.

20. Attached as Exhibit R is a true and correct copy of an email from James

Wolterman dated March 16, 2016.

I declare under penalty of perjury under the laws of the State of Washington that the

foregoing is true and correct.

Signed at Mountlake Terrace Washington, this 10" day of January, 2017.

/s Joel Hanson
Joel B. Hanson, WSBA #40814

Attorney for Plaintiffs
DECLARATION OF JOEL HANSON — 3 JOEL B. HANSON
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 24 of 228

EXHIBIT A
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 25 of 228

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IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON AT SEATTLE

R. W. and R. J. T., husband and
wife, and the marital community
composed thereof,
Plaintiffs,
vs. Case No. CV 16-465 RAJ
LIBERTY MUTUAL FIRE INSURANCE
COMPANY, d/b/a LIBERTY MUTUAL,

Defendant.

DEPOSITION OF JACKLINE OYUGI, a witness,
taken on behalf of the Plaintiffs, pursuant to
Notice, on December 6, 2016, at the offices of
REGUS BUSINESS CENTER, 9393 West 110th Street,

Suite 500, Overland Park, Kansas, before

JUSTINA M. WROTEN

Registered Professional Reporter, Certified in

Kansas and Missouri.

 

Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 26 of 228

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Q. Okay. And is it correct to say that
you've now been with Liberty Mutual for about three
or four years?

A. I have been with Liberty for
three-and-a-half years now.

Q. And can you say what your role was in Ryan

and Rani's claim?

 

A. I was the adjuster who was assigned to

 

visit with the insureds and determine the cause of

$

loss and afford or deny coverage if it's not

 

 

available.
——_—_

Q. Okay. I'm going to ask you some questions
about the standard of care for handling insurance
claims, and I'm going to ask whether you agree or
disagree with certain statements.

Do you agree that an insurance company

owes a duty of good faith to its customers?

A. By -- could you rephrase that question
again?
Q. Sure. During an insurance claim, do you

agree that an insurance company owes a duty of good
faith to its customers?

A. We have a duty of good faith -- it's a
mutual duty, both on the insurance side and the

homeowner's side.

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 27 of 228

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Q. Okay. So the Seattle area the employees
may have needed some additional help from
catastrophe adjusters like you; is that right?

A. That is correct.

Q. Okay. Do you know if there was a -- are
you speculating or are you sure that that was an

issue at the time that you got involved in the

claim?
A. This is typically the kind of situations
that I handle. That's -- I'm a catastrophe

adjuster, so I come in during catastrophes, yes.

Q. Okay. So typically they wouldn't send you
to somewhere like Seattle to handle a claim unless
the local employees needed some help; is that right?

A. Typically, correct.

Q. Okay. Can you tell me what you did to

investigate the claim?

—_

 

A. Okay. What I remember -- and, once again,
this is a claim that I handled in 2012. I can't
remember the exact -- you know, every single detail
of what happened. But what I remember off of the
top of my head is I called the homeowners, and we
agreed to meet on a stated date and time to do the

inspection. And I arrived on site at the stated

 

time, and I did the inspection, whereby there was

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 28 of 228

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a -- a dishwasher which had a hole on the base of

it, and that hole had caused a water leak into the

 

kitchen, damaging the sides of the cabinet and the

 

floor. And there's a basement right underneath the

kitchen, and there was damage to the drywall on the

 

basement below as well.

 

Q. Okay. Do you remember what -- you said
there was a hole in the base of the dishwasher; is
that right?

A. That is correct.

Q. Do you remember what caused that hole in

the base of the dishwasher?

 

A. Off of the top of my head, I don't. I

 

just -- I just remember that she showed me a
dishwasher which was about to be disposed and there

was a hole on it. And --

Q. Okay.

A. -- it looked like a mechanical failure,
you know.

Q. Okay. How did it look like a mechanical

failure to you?
A. Just a hole that's just popped up on --

you know, it looked like something that had just

 

happened. Water just broke through that hole and

oozed out.

 

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 29 of 228

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Q. Okay. And you said the water seeped into
the floor under the dishwasher and into the walls in
the -- the laundry room below; correct?

A. I -- I don't know exactly what you mean by
seep because seeping is drip, drip, drip, you
know --

Q. Oh.

A. -- little drips. It -- you know, the

amount of water --

Q. Okay.
A. -- that had been cleaned up, it looked
like a hole had just -- it seemed like something

 

that was just sudden, you know, like it just busted

 

 

eut —--
Q. Okay.
A, -- and water came oozing.
Q. Okay. And do you -- do you have a -- some

kind of estimate as to how many gallons of water
seemed to have come out of the dishwasher and into
the floor and in the laundry room?

A. I couldn't answer that question, because
by the time I got there, the restoration people had
done the cleanup.

Q. Okay.

A. Uh-huh.

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 30 of 228

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water loss and noted that a dishwasher appears to

have leaked due to a fire. Do you see that?
A. Yes,
QO. Do you remember that, that there was a

dishwasher leak as a result of a fire?

A. No, I don't remember that. Not -- I mean,
this -- this was a long time ago, so I don't
QO. Yeah. Okay. Do you remember doing any

 

kind of investigation into what caused the hole in

 

the dishwasher?
_

A. If your question is, how did I determine
whether there is coverage for this particular loss,
the homeowner's policy indicated that we cover for

insuring, the insuring water damage. So I didn't

get into the fine details of -- you know, I didn't

 

flip the dishwasher around to see what was happening

 

on the bottom of it because it was about to be

 

disposed anyway.

Q. Okay. So based on the information you had
that there was a water leak, that was sufficient for
you to decide there was coverage; is that correct?

A. I afforded --

MS. EVERSOLE: I'm going to object on --

A. -- coverage based --

(Reporter clarification.)

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 31 of 228

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MS. EVERSOLE: That mischaracterized her
testimony.
You can answer.
Q. (By Mr. Hanson) Go ahead. I didn't hear
your answer, Ms. Oyugi.

A. I afforded them coverage based on there

 

being a hole that was evident on the dishwasher

 

causing insuring water damage. Insuring water

 

damage is a covered loss.

 

Q. Okay.
A. And I explained to --
Q. And there being a hole -- and all you

needed to know was that there was a hole in the
dishwasher that caused the water damage, and that
was sufficient for you to decide that there was
coverage; is that correct?

A. I needed to determine -- I determined that
there was a hole in the dishwasher that caused a
sudden leak. Water came oozing out. The insuring
water damage is covered, and there is no coverage
for the dishwasher that caused the leak itself.

Q. Okay. Okay. And then you didn't need to

 

do any more investigation after that into the cause

 

of the loss; is that correct?

 

A. I believe that the evidence that I had

 

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 32 of 228

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with, you know, looking at a hole on a dishwasher

 

that caused oozing water was sufficient enough for

 

me to afford them coverage. And I knew --

 

Q. Okay.
A. -- from the policy language that the

dishwasher itself is not covered. If the dishwasher

itself --
Q. Okay.
A. -- was covered, it may have been necessary

to go further and determine if the actual cause of
loss on the particular dishwasher afforded them
coverage for the dishwasher replacement.

Q. Okay. Okay. Do you remember whether rust

 

was a cause of the dishwasher leak?

A. No, I don't remember that part.

 

Q. Okay. Do you remember if the dishwasher

was rusty?

 

A. It appeared old.

 

—

Q. Okay. But do you remember -- do you

remember rust?

 

A. I didn't -- I did not flip the dishwasher

 

around. It was very heavy, and the homeowner was

 

expecting. I didn't expect her to help me flip the
dishwasher around.

Q. Okay. I think you said that the leak

 

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Jackline Oyugi
December 6, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 33 of 228

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CERTIFICATE OF REPORTER

I, Justina M. Wroten, a Certified Court
Reporter of the State of Kansas, do hereby certify:

That prior to being examined, the witness
was first duly sworn;

That said testimony was taken down by me in
shorthand at the time and place hereinbefore stated
and was thereafter reduced to typewriting under my
direction;

That the foregoing transcript is a true
record of the testimony given by said witness;

That I am not a relative or employee or
attorney or counsel of any of the parties or a
relative or employee of such attorney or counsel or
financially interested in the action.

Witness my hand and seal this 2lst day of

December, 2016.

Justina M. Wroten
Certified Court Reporter

State of Kansas

 

118

Jackline Oyugi
December 6, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 34 of 228

EXHIBIT B
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 35 of 228

© a $ | i Pol: H3226803084640 | Ins: RANI THYKKUTTATHIL | DoL: 03/09/2014 | St: Open

 

 

 

Create Date | Author Topic |RelatedTo| Subject | Text (2,500)
- RANI ont he loss, he believes. He is not sure if they were called out or not by the
THYKKUTT insured. | thanked him for the update and current status.
06/17/2014 CHARLES Claim none Servpro Original 06/17/2014 03:27 PM Received mssg. from Emily at Servpro.
03:27 PM BLACKBUR Status (Claim- Explained that PPS will contact her to provide some direction and to call me
level) back if she is unable to make contact by tomorrow afternoon. She agreed.
06/17/2014 JON Policyholde: (3) 1st Initial PPUN = Original 06/17/2014 03:26 PM | attempied to contact Rani on her cellphone
03:26 PM GOFFINET Party Contact of (206)255-9969. | left a detailed message and introduced myself and my
Content Attempt role in the process. | asked for a retun call and provided my direct cellphone
- RANI number
THYKKUTT
06/17/2014 JON Policyholde: (3) 1st Initial PPUN = Original 06/17/2014 03:23 PM | attempted to contact the insureds at their
03:23 PM GOFFINET Party Contact home number of (206)226-9404. I reached Mr. Thykkuttathil. | introduced
Content myself and my role in the process. He asked me to call his wife to discuss
- RANI the loss in more detail (Rani). t advised him | would do so. He provided the
THYKKUTT conatct number for her (Rani) of (206)255-9969.
06/17/2014 JON Claim none Initial Original 06/17/2014 02:33 PM | reveiwied this NEW WATER LOSS and
02:33 PM GOFFINET Status (Claim- Personal noted that a dishwasher appears to have leaked due to a fire. | reviewed
level) Property the facts of the loss and file notes and noted there may be no unsalvagable
Review items. There will be a packout and cleaning of the PPUN items, possibly. |
reviewed the available coverages and apllicable endorsements. | will contact
the insured and discuss in more detail to get a game plan to resolve the
claim.
06/17/2014 JON Loss (3) 1st PriorLosses Original 06/17/2014 02:31 PM I reveiwied the loss history of the insured
02:31 PM GOFFINET History Party in ISO. They had a few auto claims, but no visible Homeowners claims
Content with other carries. The isnureds had a prior loss (021692518) but that
- RANI loss is unrelated to this loss. This old loss was due to a frozen pipe int he
THYKKUTT basement and current loss is for a leak from a dishwasher. No relation.
06/17/2014 TIMOTHY Investigatio. RAINBOW Mitigation Original 06/17/2014 02:24 PM OBC to Mike @ RBW 800-708-6787.
02:24 PM O'BRIEN INTERNATI Discussed the loss. Mold was pre-existing and pictures in file document that.
LLC Discussed in detail. Will need to discuss with the PLS. Requested that he
make the requested changes for a payment.
06/17/2014 EDGARDO Investigatiot (1) ist Mitigation Original 06/17/2014 02:20 PM IBC from Emily with SP 425-251-0310 adv
02:20 PM GARCIA- Party that she concems with original dry out performed by RBW. MS adv wil reach
HOSOKAW Dwelling

 

 

Page 104 07/30/2015 02:26 PM

LM000130
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 36 of 228
Page | of 25

   

iSO ClaimSearchy,

The information system for claims professionals

ISO CLAIMSEARCH MATCH REPORT SUMMARY

A claim report identified by ClaimSearch identification number 7G003592623 was received by ISO ClaimSearch
on 03/13/2014 as a Replacement of a previously submitted claim. Submission of this replacement claim initiated
a search of the ClaimSearch database. The claim(s) listed below appear(s) to be similar to the claim submitted.

Reasonable procedures have been adopted to maximize the accuracy of this report. Independent investigations

should be performed to evaluate the relevant data provided.

If you have any questions concerning your report, please contact Customer Support at (800) 888-4476.

INITIATING CLAIM INFORMATION
Claim Number: 029279274 Date of Loss: 03/09/2014
ISO File Number: 7G003592623

 

H3226803084640
SUMMARY FOR EACH SEARCHABLE PARTY

RANI J THYKKUTTATHIL, BOTH CLAIMANT & INSURED

Policy Number:

KEY INDICATORS FOR

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THIS PARTY

 

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ISO CLAIMSEARCH REPLACEMENT CLAIM DETAILS
Initiating Claim File Number: 7G003592623
Company:

L00521633

https://claimsview. libertyec.com/ACS/servlet/ACS2?command=read&version=2,3&docba... 7/30/2015
LM001323
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17

RRE Code:

TIN:

Site Id:

Claim Number:
Date/Time of Loss:
Policy Number:
Policy Type:

Self Insured:
Inception Date:

Company Received Date:

ISO Received Date:
Loss Description:
CAT Related?:
Mold Involvement:
Location of Loss:

Page 37 of 228

Page 2 of 25

000020247

XX-XXX3681

000520001

029279274

03/09/2014 12:00

H3226803084640

PERSONAL PROPERTY HOMEOWNERS
NO
11/12/2013
03/13/2014
03/13/2014
HEATING ELEMENT ON DISHWASHER BURNED A HOLE IN THE

Expiration Date: 11/12/2014

 

NO

NO

10403 67TH AVES
SEATTLE, WA 98178-2518
US

 

 

 

Involved Party: BOTH CLAIMANT & INSURED
Name: RANI J THYKKUTTATHIL
Address: 10403 67TH AVES
SEATTLE, WA 98178-2518
US
DOB: 09/30/1977
Gender: FEMALE
Home Phone: (206) 255-9969
SSN: XXX-XX-0009 WAS ISSUED between 1983 and 1984 in WA
Loss Type: WATER
Adjuster Company: LIBERTY MUTUAL INSURANCE COMPANY
Adjuster: OYUGI , JACKLINE
Adjuster Phone: (407) 516-0447
Property Type: DWELLING
back
back
Matching Claim File Number: 00002557199
Reason(s) for match: NAME
Insuring Company: STATE FARM (R) AFFILIATE
Claim Number: 467210533

https://claimsview. libertyec.com/ACS/servlet/ACS2?command=read& version=2,3&docba... 7/30/2015
LM001324
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 38 of 228

EXHIBIT C
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 39 of 228

 

 

Transcript of the Testimony of

Brian Cahill
December 8, 2016

R.W. and R.J.T. v. Liberty Mutual
No. CV 16-465 RAJ

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 40 of 228

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Not -- I'm not aware of any dispute.
Do you agree that Ryan and Rani were covered for the
damage arising from the water leak that occurred around

March 9th, 2014?

 

Yes, they were covered for that water damage.

 

And do you agree that they were also covered for the

 

cost of mitigating that damage?

—

 

To the extent provided by the policy, yes, they would

have been covered.

 

Can you say for the record what "mitigation" is?

It would be -- my understanding, when I hear that word,
emergency service work that was performed at the onset.
And that would be work to -- just drying out moisture
and making efforts to prevent additional damage from
occurring; is that correct?

Yes, that's correct.

Do you agree that Ryan and Rani were covered for the

 

cost of mitigating the fire damage that occurred around

—

May 19th.

 

 

2015?

 

They have coverage for that based on reasonable cost
incurred.

Do you agree that Ryan and Rani were covered for the

 

fire damage that occurred on May 19th, 2015?

Yes, Fire is a covered peril, so they would have

 

Page 58

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 41 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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coverage other than parts of the policy that may not
provide coverage.
Do you agree that the mortgage company for Ryan and

—_—

Rani's house was also covered for damage arising from

 

the fire that occurred on May 19th, 2015?

The mortgage company would be covered, based on the

 

 

financial interest they had in the property.

 

Do you agree that the mortgage company for Ryan and

 

Rani's house was covered for the damage arising from the

 

fire that occurred on May 19th, 2015, regardless of

 

whether Ryan and Rani caused that fire?

 

To the extent provided in the letter of loss payable

 

endorsement and their financial interest.

 

To your knowledge, if the homeowner commits arson, does

 

that take away the mortgage company's rights under the
policy?

It does not take away -- if the homeowner -- if there's

 

no coverage or the claim is denied for intentional act,

 

the mortgagee could make a claim for damages.

 

Do you agree that the mortgage company for Ryan and

 

Rani's house was also covered for the mitigation of the

 

damage arising from the fire that occurred on May 19th,

 

2015?

 

They would have -- yeah, covered in the sense that if

 

the claim was denied, they would have an interest in

 

 

Page 59

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 42 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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making a claim for that mitigation effort.

 

And were Ryan and Rani covered for any damage caused by
the negligence of Rainbow International employees during

their mitigation work of the water damage around March

of 2014?
Well, that's -- the way I would understand that is they
have -- they are covered for the work that Rainbow did.

But to the extent that there was any liability involved,
you know, they wouldn't have coverage for any liability
that was created by Rainbow.
Does Liberty Mutual guarantee the work of Rainbow
International if it refers them to a policyholder?
No, they do not.
Does Rainbow International ever guarantee any of the
work that -- of vendors that it refers to homeowners?
Can you rephrase that?
Does Liberty Mutual ever guarantee the work of vendors
that it has referred to homeowners?
No.
I'm going to ask you about employees involved in the
claim. Mainly I want to know -- I want to confirm their
role and identify where they are located.

I understand Jackie Oyugi was the initial adjuster
who was responsible for handling the dishwasher leak

claim; correct?

 

Page 60

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 43 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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arson, third-party arson. But this was reported as
arson, so that's what prompted it to go to SIU.

So it's standard. Any time you hear that there might be
arson --

Right.

Okay. Are you aware of sort of inconsistent statements

by Ryan or Rani that would be a red flag for her

 

investigation?

 

No, because it gets referred very quickly probably
before any information is obtained, other than the first
notice of loss.

Are you aware of any inconsistent statements that they

 

made in regards to the fire, the arson?

 

No. I am not aware of any inconsistent statements. I

 

know there was a lot of things that were going on at the
time it started. And, you know, ultimately the decision
was in order to get a complete picture of everything
that was happening, let's utilize the examination under
oath in one setting to gather all of the facts.

Was Ms. Schultz supposed to be investigating anything
besides the arson?

Just investigating -- no. From what I know, it's
basically let's determine the origin and cause of the
fire, and, you know, in conjunction with the

origin/cause expert.

 

Page 129

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 44 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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And do you agree that Liberty Mutual's arson
investigation found no evidence that Ryan and Rani had

committed arson?

 

Right. I think ultimately the decision was it was
nothing involving the policyholder.
Are you aware of any evidence at all that Ryan or Rani

committed arson?

 

No. The summary was that they were not involved in this

 

fire.

Do you agree that there was some evidence that
transients were living in the house who may have
committed the arson?

I didn't go through the details of the whole
investigation, other than the policyholders were ruled
out and we proceeded with coverage.

Would you agree that Liberty Mutual's arson

 

investigation lasts between May and October of 2015?

 

The fire happened towards the end of May. And from what

 

I recall, right, the coverage was afforded at the end of

 

October of 2015.

 

Okay. Did Liberty Mutual authorize any payment for the

cost of mitigating the fire damage during that

 

investigation?
ene)

We had not authorized any money because of the ongoing

 

investigation.

 

 

Page 130

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 45 of 228

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Seattle/Tacoma, Washington

 

 

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And I think there was a history that even with the
water claim, there was the initial estimate and it was
built upon. Ultimately we worked off the contractor
that the policyholder had assigned to do the repairs.
And who was that?

Mooney Construction.

Okay. So I think you had mentioned one criticism you
have for Ryan and Rani for not moving faster with
repairs is that they could have initiated the permitting
process soon after they received payment for the -- for
the dwelling damage; is that correct?

I'm not stating that's a criticism. I would think if
they are being advised by you or BELFOR as a general
contractor, you know, BELFOR certainly would know

that -- let's get a permit. Let's get a contractor of
record on this. And it might just be the policyholder's
name. It currently could be in the name of the
policyholder.

But, you know, BELFOR, I expect, in their
experience, would know that.

Okay. Is there anything else besides getting a permit
at this -- once Ryan and Rani got some money from
Liberty Mutual, is there anything else besides the

—
permit that they could have done to move the repair

 

 

process faster?

 

Page 164

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 46 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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Certainly plans. Having a -- plans would be another

 

next step. The plan approval process. Sometimes that

can take some time.

 

And then also they could -- permits, plans, and
then, you know, city inspector is what I'm getting at.
City inspector could come out and inspect the property.
And, you know, out of all of the coverage -- out of all
of the ordinance and law requirements that I guess the
city or King County would have, it's ultimately upon the
city inspector to deem what they are going to require.

Okay. Aside from that, is there any other criticism you

 

have of Ryan, Rani, or their contractor or anybody else

working for them to -- as far as moving the repair

process forward as fast as possible?

 

Yeah. Well, again, I'm not presenting these as

 

criticisms. I'm just presenting them as in my
experience of handling large-loss claims, that's
normally the process that I see.

Okay. Is that the permit process can start right away;
is that correct?

The permit process would help. But sometimes that's not
a fast process.

Okay. And it's your experience the permit process would
get started even if the homeowner's contractor doesn't

agree with Liberty Mutual's estimate?

 

Page 165

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 47 of 228

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STATE OF WASHINGTON  ) I, Michelle D. Elam, CCR,
)ss a certified court reporter in
County of Pierce ) the State of Washington, do

hereby certify:

That the foregoing deposition of Brian Cahill
was taken before me and completed on December 8, 2016,
and thereafter was transcribed under my direction; that
the deposition is a full, true and complete transcript
of the testimony of said witness, including all
questions, answers, objections, motions and exceptions;

That the witness, before examination, was by
me duly sworn to testify the truth, the whole truth, and
nothing but the truth, and that the witness reserved the
right of signature;

That I am not a relative, employee, attorney
or counsel of any party to this action or relative or
employee of any such attorney or counsel and that I am
not financially interested in the said action or the
outcome thereof;

That I am herewith securely sealing the said
deposition and promptly delivering the same to Attorney
Joel B. Hanson.

IN WITNESS WHEREOF, I have hereunto set_my .
signature on the 15th day of December, 2016. ‘ -

     
   

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Michelle D. Elam, RPR, CCR *™
Certified Court Reporter 3335

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Page 208

Brian Cahill
December 8, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 48 of 228

EXHIBIT D
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 49 of 228

 

 

Transcript of the Testimony of

Roberta S. Schultz
October 25, 2016

R.W. and R.J.T. v. Liberty Mutual Fire Insurance Company
No. CV 16-465 RAJ

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 50 of 228

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Do you have any background in law enforcement?

No.

Do you have any background in construction?

No.

Can you say how you became involved in Ryan and Rani's
claim?

The claims department had some concerns, and they did a
referral to the SIU, and I was assigned the case.

I also noticed in the log notes a referral to FIU, which
is -- is that fraud investigation unit?

That's the fire.

Oh, fire investigation unit.

Right.

Okay. And what is your -- is -- are you connected to the
FIU in any way?

Only in discussing --

Okay.

-- any information if they've been on the scene.

Okay. Can you say why there was some concerns about the

 

fire that led to you being asked to do your

investigation?

 

Because there was some indication whether or not the fire

 

was intentionally set.

 

Okay. Because there was evidence that the fire was

intentionally set, correct?

 

Page 12

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 51 of 228

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I would have to review the file to see if there's
anything saying that, but there was an indication that it
was an intentionally set file.

Okay. Was there any other reasons that you were asked to

 

do an investigation besides the fact that there was an

 

indication that the fire was intentionally set?

 

I think that another red flag that came about was there

 

was a prior claim history.

 

Okay. Meaning that Rani and Ryan had submitted insurance

 

claims prior to this?

 

Yes.

—

Any other red flags?

 

Not that I can think of right now.

 

Do you recall somebody at Liberty Mutual being concerned
about some inconsistent statements by Rani and Ryan?
I don't recall that at this time, no.
Okay.
(Exhibit No. 1 marked

for identification.)

(By Mr. Hanson) You've been handed Exhibit No. 1 --
Uh-huh.
-- which are a series of log notes.

Do you see that in the lower right corner, they are

labeled LM002016 through 2037?

 

Page 13

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 52 of 228

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Seattle/Tacoma, Washington

 

 

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I don't.
Okay. And who is Ms. Sutton?
Sandra is a -- she was filling in for our TM who probably
was out of the office just assigning claims.
What does TM stand for?
Team manager.
Got you.
So that would be -- would that be your manager?
Yes.
I see. So Ms. Sutton was filling in for your manager and
would have been the person assigning --
Correct.
-- you to this claim? Okay.

Did your investigation include anything else besides

 

the arson or potential arson?

 

I -- that's what my investigation was about, to

determine.

Okay. So there was nothing else you were investigating
besides the potential arson, correct?

Correct.

And was your investigation mainly aimed at determining
whether the arson was done by Ryan and Rani?

Trying to determine who would have done it.

Okay. So who did it, whether it was them or somebody

else?

 

Page 17

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 53 of 228

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Seattle/Tacoma, Washington

 

 

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Right.

And the red flags that caused you to look into whether
they might have committed arson was the fact that there
was evidence of arson and that they had filed prior
insurance claims, correct?

Reword that, please.

sure.

Would you agree that the red flags that caused you
to initiate your investigation was the fact that there
appeared to be a potential arson and that they had filed
some prior insurance claims?

Well, that was listed as indicators, but I was there to
determine the causation.

Okay. Did your investigation ever expand to include
other things besides the arson?

No.

Was there somebody else who was assisting you with your
investigation or directing your investigation?
Assisting in what I was doing, no.

Can you say what the result of your investigation was?

 

The result of my investigation at the time I closed it,

 

at that time, there was no evidence of policyholder

 

involvement.

NS

Did you ever find any evidence that Ryan or Rani had

 

committed arson?

 

 

Page 18

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 54 of 228

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At the time I closed my file, at that time there was no

 

evidence --

Okay.

 

-- that I found.

Did you learn about any other evidence at a future date?

 

As of right now, no, I have not learned of anything. If

 

there's anything out there, I have not learned of it.

 

Okay. Do you have any reason at all to think that Ryan

 

or Rani might have committed arson?

Based on my investigation, when I closed the file, there

 

was no evidence at that time.

 

Do you have any reason to be suspicious of Ryan or Rani?

At the time I closed my investigation, there was no

 

evidence.

 

And still to this day, there's nothing that -- no reason
for you to be suspicious; is that correct?

Based on what I know to date, yes.

Do you have an opinion on who you think may have caused

the fire?

I do not have an opinion on who caused the fire.

Do you think it may have been caused by transients that

were living in the house or burglarizing the house?

I don't know that. No suspect was ever identified, so I
don't know.

And was coverage ultimately granted to Ryan and Rani for

 

Page 19

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 55 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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Okay. Have you had a situation in prior claims where a

fire was caused by a squatter living in an unoccupied

house?

Not that I can think of sitting right here today.
(Exhibit No. 2 marked

for identification.)

(By Mr. Hanson) You've been handed Exhibit No. 2, which
is a cause and origin synopsis from Case Forensics. Do
you see that?

Yes.

Do you remember receiving this Case Forensics report?
Okay. This was not sent to me.

Was it shared with you?

I'm not recalling it at this time.

So maybe you didn't see the cause and origin report; is
that correct?

I don't recall at this point in time if I did see this.
Okay. Can you please look at Page 2787?

(Complies.) Okay.

Do you see that there's a photo with drug paraphernalia?
2787?

Yes.

Specifically...

There's two photos actually with drug paraphernalia on

 

Page 24

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 56 of 228

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Seattle/Tacoma, Washington

 

 

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that page. Do you see that?

Okay. I see maybe a needle.

The lower photo has a needle and the upper photo has some
kind of pipe?

Right.

 

Do you remember seeing those items when you visited the
house?
I would have to look at my photographs.

Okay. Do you remember that issue coming up during your

 

investigation?

 

I think there were things pointed out, but I would have

 

to look at my photos to...

 

Okay. And just to clarify for the record, Exhibit 2 is
labeled LM002784 through 2789, correct?

Yes.

Can you go to 2786?

(Complies.)

Do you see the last sentence on that page, it says,

 

"During the investigation, evidence of transient and drug

activity within the house" -- or pardon me -- "within the

 

home was observed." Do you see that?

 

Yes, uh-huh.

 

Would you agree with that conclusion by this Case
Forensics investigator?

Well, I don't know who would have left it, I mean, based

 

Page 25

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 57 of 228

Byers & Anderson Court Reporters/Video/Videoconferencing
Seattle/Tacoma, Washington

 

 

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on what he's saying here, if the insureds say it wasn't
theirs.

Okay. Did you have any reason to think it might have
been Ryan or Rani's drug paraphernalia?

I had no information to that effect.

Okay. Do you recall reviewing police reports that

 

indicated prior reports of burglary into the house or in

the neighborhood?

 

Yes.

 

And were those burglaries limited to just Ryan and Rani's
house or were there burglaries to other homes in the
neighborhood as well?

To their home.

Okay. Did you look into whether there were reports of
burglaries at other houses in the neighborhood?

No, I did not.

Did you have any reason to think that those reported
burglaries to Ryan and Rani's house did not happen?

I only went off of what was on the reports.

So that's a "no"?

Yes.

Now I'm going to ask you about the investigation you
needed -- or pardon me -- the information you needed for
your investigation.

Can you tell me what information you needed to

 

Page 26

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 58 of 228

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Seattle/Tacoma, Washington

 

 

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feel like there was documents that you got or requested
that weren't included in this letter?

What was that again?

After reviewing the topics we just looked at in the June
Sth, 2015, letter, do you remember either getting
documents or requesting documents that weren't included
in this letter?

I don't -- without reviewing my file, I can't tell you.
Okay. Did Ryan and Rani provide you with everything you
needed for your investigation?

As I sit here today, I can't -- I believe that they did.

So that's a "yes"?

 

Yes.
Okay. Did you ever feel that Ryan or Rani were ever

dishonest to you during your investigation?

 

Were they dishonest to me? I just gathered the facts.
Okay. _So to your knowledge, they weren't dishonest to

you?

 

I have no recollection of it as we sit here today.

 

Do you recall how long your investigation took?
I don't.
(Exhibit No. 7 marked

for identification.)

(By Mr. Hanson) You've been handed Exhibit No. 7, I

 

Page 51

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 59 of 228

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think.

Uh-huh, yes.

This contains a lot of notes, including, I believe, some
of your notes. Can you go to -- oh, actually, let me ask
you to confirm the numbers on it. Do you see that the
first page is LM0Q05737?

Uh-huh.

And then the last page is LM005808?

Yes.

Can you go to Page 5778?

Okay.

Do you see that on October 7th, 2015, there is a note
from you saying that you are closing your investigation?

Yes.

 

And then do you see that the note says, "At this time, no
evidence of policyholder involvement. Special

investigation unit closing. Returning to front end of

regular handling." Do you see that?
Yes.
So this is where you made a record that you had -- there

 

was no evidence of Ryan or Rani had involvement in the

 

arson, correct?

 

At the time of this note, yes.

 

Okay. And then let's see here. Do you recall when you

became involved in the claim? I think earlier we looked

 

Page 52

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 60 of 228

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STATE OF WASHINGTON ) I, Barbara Castrow, CCR, RMR,
) ss CCR #2395, a certified court
County of King ) reporter in the State of

Washington, do hereby certify:

That the foregoing deposition of BOBBIE S$. SCHULTZ
was taken before me and completed on October 25, 2016, and
thereafter was transcribed under my direction; that the
deposition is a full, true and complete transcript of the
testimony of said witness, including all questions, answers,
objections, motions and exceptions;

That the witness, before examination, was by me
duly sworn to testify the truth, the whole truth, and
nothing but the truth, and that the witness reserved the
right of signature;

That I am not a relative, employee, attorney or
counsel of any party to this action or relative or employee
of any such attorney or counsel and that I am not
financially interested in the said action or the outcome
thereof;

That I am herewith securely sealing the said
deposition and promptly delivering the same to
Attorney Joel Hanson.

IN WITNESS WHEREOF, I have hereunto set my
signature this 27th day of October, 2016. Z

    
     

ae r, PCCR, RMR |
Certified Court Reporter No. 2395
(Certification expires 11/24/16.)

 

Roberta S. Schultz
October 25, 2016

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 61 of 228

EXHIBIT E
 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 62 of 228

Print | Close Window

Subject: 029279274 - Thykkuttathil - New Claim
From: joel@joethansonlaw.com
Date: Tue, May 19, 2015 5:18 pm

To: “Charles Blackburn” <CHARLES.BLACKBURN@Liberty Mutual.com>, “Alycia Price"
* <ALYCIA.PRICE@Liberty Mutual.com>

 

Charles and Alycia:

I just learned that Rani visited the house today and discovered people inside. Presumably,
these are the same people that had robbed the house approximately a day ago. I don't yet <
know all the details, but apparently the people set a fire when they learned they had been
discovered.

Rani went to a neighbor's house and the police were called. I do not think the suspects have
been caught. The fire department put out the fire but I do not know the scope of the damage.

Ryan and Rani say they still have insurance with Liberty Mutual. Accordingly, I think we
should probably treat this as a new insurance claim. Please let me know what you need from
them.

Regards,

Joe!

My Address Has Changed

New Address:

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636
Cell:206-412-8765

Fax: 425-368-7442

joel@joelhansonlaw.com

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email, and delete the original message. Thank you.

wececcns Original Message --------

Subject: 029279274 - Thykkuttathil Status
From: <joel@joelhansonlaw.com>

Date: Mon, May 18, 2015 12:25 pm

To: "Charles Blackburn" <CHARLES.BLACKBURN@LibertyMutual.com>, “Alycia
Price" <ALYCIA.PRICE@Libe a >

Charles and Alycia:

 
 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 63 of 228

I just learned that there was a theft at Rani and Ryan's house. Someone broke into
the back door using a crowbar. The thieves stole items that had been left behind by
ServPro. ServPro had told Rani that the left-behind items were all unsalvageable and
that is why they did not take them with the other items. Accordingly, this theft should
not change the value of the claim because Rani and Ryan were going to claim those
items anyways.

If you would like them to board-up the house in order to discourage additional theft,
please let me know. I am hopeful that remediation will get underway soon and that
activity will discourage any additional theft.

Also, while listing the unsalvageable items, Rani recently discovered some boxed
items that she thinks might be salvageable that were left at the house. But she is not
a professional and does no have experience restoring damaged items. Our
understanding is that everything left behind was determined to be unsalvageable by
ServPro. However, if you would like to visit the house and make your own
determination concerning whether those items are salvageable, please let me know.

Regards,

Joel

My Address Has Changed

New Address:

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636

Cell: 206-412-8765

Fax: 425-368-7442

joel@joelhansoniaw.com

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 64 of 228

EXHIBIT F
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 65 of 228

° Liberty Mutual Insurance
Liberty
Mutual. P.O. Box 9089
INSURANCE 150 Liberty Way
Dover, NH.03820

Telephone: (603)740-1200

July 14, 2015

GINA TANGUSSO

175 BERKELEY ST.
BOSTON, MA 02116
Attn: GINA TANGUSSO

RE: RANI THYKKUTTATHIL
H32-268-030846-40

CLAIM ID: N/A

DOL: 5/19/2015

POLICY EFFECTIVE: 11/12/2013

I hereby certify that the attached is a true and accurate copy of the documents requested
for the policy listed above as maintained by the Liberty Mutual Insurance Group Inc. in
the usual and customary course of its business.

Brittani Labrecque, Office Assistant
Personal Insurance Production
July 14, 2015

BL
Enclosures

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 66 of 228

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~ INSURANCE

 

Policy Declarations

A summary of your homeowners insurance coverage

Thank you for insuring with us. Here is your renewal homeowners policy summary, which is
effective as of 11/12/2014.

@ INSURANCE INFORMATION

Named Insured
Rani J Thykkuttathil

QUESTIONS ABOUT
YOUR POLICY?
By phone

1-206-277-7838
1-800-922-7013

Liberty Mutual Office
14900 Interurban Ave
S Ste 142

Tukwila WA 98168

Policy Number
H32-268-030846-40

Lelie

Mailing Address
10403 67th Ave S
Seattle WA 98178-2518

Policy Period

11/12/2014-11/12/2015 12:01AM
standard time at the address of the
Named Insured at Insured Location.

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Insured Lacation
Same as Mailing address above

 

To report a claim

 

Premium Summary aie
Standard Policy $ 1,712.00 Online
Additional Coverages $ 189.00 LibertyMutual.com/Claims
Discounts and Benefits $ (245.00)

; : @ INSURANCE GLOSSARY
Total 12 Month Policy Premium $ 1,656.00

For definitions of
insurance terms, please
visit LibertyMutual.com/
insurance-glossary.

Through your affiliation with the University of Washington Alumni Association your
policy includes exclusive group savings on your home insurance.

THIS IS NOT YOUR HOME INSURANCE BILL.

 

 

 

Coverage Information

 

Your policy includes
| HomeProtector Plus,

which provides enhanced

Standard Policy

 

 

FMHO 3047 05 12

  

Section | Coverages LIMITS PREMIUM coverage in case of a loss.
Please see your
A. Dwelling with Expanded Replacement Cost $ 441,900 endorsement for details.
B. Other Structures on Insured Location $ 44,190
C. Personal Property with Replacement Cost $ 331,430
D. Loss of Use of Insured Location Actual Loss Sustained
Section || Coverages
E. Personal Liability (each occurrence) $ 300,000
F. Medical Payments to Others (each person) $ 5,000
Policy Deductibles
Losses covered under Section | are subject to a deductible of $1,000
Total Standard Policy $ 1,712
Additional Coverages
DEDUCTIBLE LIMITS PREMIUM
Credit Card, Fund Transfer Card, $ 1,000 $ 0
Forgery
Home Protector Plus $ 163
Coverage E & F increased limit $ 26
Total Additional Coverages $ 189

Policy Number: H32-268-030846-40

  

46 Declarations Effective: 11/12/2014

Page 1 of 2

    

 

099

 

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 67 of 228

 

 

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Discounts and Benefits
Your discounts and benefits have been applied to your total policy premium. HOME DISCOUNTS
PREMIUM ee For more information on
e Insurance to Value Discount $ (98) discounts, please visit
e Inflation Protection Discount $ (49) LibertyMutual.com/
e Group Savings Plus® (5% discount included in total policy premium) hame-discaunts.
University of Washington Alumni Association
e Protective Device Discounts: $ (98)
Smoke/Heat Alarm-All Floors, Extinguishers and Dead Bolt Locks
Total Discounts and Benefits $ (245)
Endorsements — Changes to Your Policy
e LibertyGuard® Deluxe Homeowner Policy e Home Protector Plus (FMHO-2171 R2)
(HO-3WA 05/91)
e Credit Card, Fund Transfer Card, Forgery e Homeowner Amendatory Endorsement
(HO-53 04/84) (FMHO 3389 0614)
e Amendmt Pol Definitions (FMHO-2934 7/04) @ No Secll/Limit |-Daycare (HO-322WA 06/92)
e Amendatory Mold End (FMHO 3373 1212) e Seepage Exclusion Endorsement
(FMHO 3403 1212)
e Lender's Loss Payable (438 BFU NS 5/42} e Inflation Protection (FMHO 3219 1009)
e Protective Devices (HO-216 04/84) e Lead Poisoning Exclusion - WA
(FMHO-1082 9/95)
e Increased Ord Or Law (FMHO-2055) e Fuel Storage Exclusion (FMHO 3209 1009)
e Waiver of Small Premium Adjustment e LMHC Membership (2340)

(FMHO 3220 1009)

Mortgage Information

 

Mortgagee 1:

BECU

ITS SUCCESSORS AND/OR ASSIGNS
LOAN NO, 0055931281

PO Box 202028

Florence, SC 29502

Important Messages

 

Premium Change: Your total 12 Month Policy Premium last year was $1,337.

Flood Insurance: This policy does not cover damage to your property caused by flooding. The federal
government offers flood insurance through the National Flood Insurance Program to residents of
communities that participate in its program. You can learn more about the National Flood Insurance
Program at www.floodsmart.gov or by calling (888) 379-9531.

Earthquake coverage: Your Homeowners insurance policy does not include coverage for loss caused by
an earthquake. However this coverage can be purchased as an endorsement to your Homeowners policy.
If you would like to learn more about earthquake coverage or obtain a quote, please contact your

 

representative.
LibertyGuard® Deluxe Homeowners Policy Declarations This policy, including endorsements
Coverage provided and underwritten by Liberty Mutual Fire Insurance Company, Boston listed above, is countersigned by:
MA.
yxter €. Cue! Uh
Du Ce SHethen <<] Ang
Dexter R. Legg David H. Long Stephen McAnena
Secretary President Authorized Representative
FMHO 3047 05 12 Policy Number: H32-268-030846-40 46 Declarations Effective: 11/12/2014 Page 2 of 2

   
   

LM003100
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 68 of 228

INSURANCE

 

LibertyGuard Homeowners Policy

Please read your policy and each endorsement carefully.

 

To serve you best...

Liberty Mutual has over 350 service offices throughout the United States
and Canada. Please contact your service office shown on your Declarations
Page to report losses, or for any changes or questions about your insurance.
Payments should be sent to the office indicated on your bill.

THIS POLICY IS NON ASSESSABLE

FMHO 3216 10 09

LM003101
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 69 of 228

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INSURANCE

Homeowners 3WA
Special Form

Washington

 

AGREEMENT

 

We will provide the insurance described in this policy in return for the premium and compliance with all
applicable provisions of this policy.

 

DEFINITIONS

 

In this policy, “you" and "your" refer to the "named insured" shown in the Declarations and the spouse
if a resident of the same household. "We," "us" and “our” refer to the Company providing this
insurance. In addition, certain words and phrases are defined as follows:

1. “bodily injury” means bodily harm, sickness or disease, except a disease which is transmitted by an
insured through sexual contact. “Bodily fnjury" includes required care, loss of services and death
resulting from covered bodily harm, sickness or disease.

N

"business" includes trade, profession or occupation.

3. “insured” means you and residents of your household who are:

a, your relatives; or

b. other persons under the age of 21 and in the care of any person named above.

Under Section Il, "insured" also means:

c. with respect to animals or watercraft to which this policy applies, any person or organization
legally responsible for these animals or watercraft which are owned by you or any person
included in 3a or 3b above. A person or organization using or having custody of these animals
or watercraft in the course of any business or without consent of the owner is not an insured;

d. with respect to any vehicle to which this policy applies:

(1) persons while engaged in your employ or that of any person included in 3a or 3b above; or
(2} other persons using the vehicle on an insured location with your consent.

4. "insured location” means:

a.
b.

g.
h.

the residence premises;

the part of other premises, other structures and grounds used by you as a residence and:
(1) which is shown in the Declarations; or

(2) which is acquired by you during the policy period for your use as a4 residence;

any premises used by you in connection with a premises in 4a or 4b above;

any part of a premises:

(1) not owned by an insured; and

(2) where an insured is temporarily residing;

vacant land, other than farm land, owned by or rented to an insured;

land owned by or rented to an insured on which a one or two family dwelling is being built as a
residence for an insured;

individual or family cemetery plots or burial vaults of an insured; or
any part of a premises occasionally rented to an insured for other than business use.

5. “occurrence” means an accident, including continuous or repeated exposure to substantially the
same general harmful conditions, which results, during the policy period, in:

a. bodily injury; or
b. property damage.
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LM003102
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 70 of 228

INSURANCE

6. “property damage” means physical injury to, destruction of, or loss of use of tangible property.
7. “residence employee” means:

a. an employee of an insured whose duties are related to the maintenance or use of the residence
premises, including household or domestic services; or

b. one who performs similar duties elsewhere not related to the business of an insured.

8. “residence premises" means:

a. the one family dwelling, other structures, and grounds; or

b. that part of any other building;

where you reside and which is shown as the "residence premises” in the Declarations.

“Residence premises" also means a two family dwelling where you reside in at least one of the

family units and which is shown as the “residence premises" in the Declarations.

9. “actual cash value” means:

a. When the damage to property is economically repairable, “actual cash value" means the cost of
repairing the damage, less reasonable deduction for wear and tear, deterioration and
obsolescence.

b. When the loss or damage to property creates a total loss, "actual cash value” means the market
value of property in a used condition equal to that of the destroyed property, if reasonably
available on the used market.

c. Otherwise, “actual cash value" means the market value of new, identical or nearly identical
property less reasonable deduction for wear and tear, deterioration and obsolescence.

10. “replacement cost" means:

a. In case of loss or damage to buildings, "replacement cost" means the cost, at the time of loss,
to repair or replace the damaged property with new materials of like kind and quality, without
deduction for depreciation.

b. In case of loss to personal property, "replacement cost" means the cost, at the time of loss, of
a new article identical to the one damaged, destroyed or stolen. When the identical article is no
longer manufactured or is not available, “replacement cost" means the cost of a new article
similar to the one damaged or destroyed and which is of comparable quality and usefulness,
without deduction for depreciation.

11. "fully enclosed building" means:

A building with continuous walls on all sides, extending from the ground level to the roof, with
doors and windows (as deemed necessary) at various locations in the walls and including a
continuous roof sheltering all areas within the wall perimeter.

 

SECTION | - PROPERTY COVERAGES

 

COVERAGE A - Dwelling

We cover:

1. the dwelling on the residence premises shown in the Declarations, including structures attached to
the dwelling; and

2. materials and supplies located on or next to the residence premises used to construct, alter or repair
the dwelling or other structures on the residence premises.

This coverage does not apply to land, including land on which the dwelling is located.

COVERAGE B - Other Structures

We cover other structures on the residence premises set apart from the dwelling by clear space. This

includes structures connected to the dwelling by only a fence, utility line, or similar connection.

This coverage does not apply to land, including land on which the other structures are located.

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LM003103
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 71 of 228

INSURANCE

We do not cover other structures:

1. used in whole or in part for business; or

2. rented or held for rental to any person not a tenant of the dwelling, unless used solely as a private
garage.

The limit of liability for this coverage will not be more than 10% of the limit of liability that applies to

Coverage A. Use of this coverage does not reduce the Coverage A limit of liability.

COVERAGE C - Personal Property

We cover persona! property owned or used by an insured while it is anywhere in the world. At your
request, we will cover personal property owned by:

1. others while the property is on the part of the residence premises occupied by an insured;

2. a guest or a residence employee, while the property is in any residence occupied by an insured.

Our limit of liability for personal property usually located at an insured's residence, other than the
residence premises, is 10% of the limit of liability for Coverage C, or $1000, whichever is greater.
Personal property in a newly acquired principal residence is not subject to this limitation for the 30 days
from the time you begin to move the property there.

Special Limits of Liability. These limits do not increase the Coverage C limit of liability. The special limit
for each numbered category below is the total limit for each loss for all property in that category.

1. $200 on money, bank notes, bullion, gold other than goldware, silver other than silverware,
platinum, coins and medals.

2. $1000 on securities, accounts, deeds, evidences of debt, letters of credit, notes other than bank
notes, manuscripts, personal records, passports, tickets and stamps. This dollar limit applies to
these categories regardless of the medium (such as paper or computer software) on which the
material exists.

This limit includes the cost to research, replace or restore the information from the lost or damaged
material.

$1000 on watercraft, including their trailers, furnishings, equipment and outboard motors,
$1000 on trailers not used with watercraft.

$1000 on grave markers.

$1000 for loss by theft of jewelry, watches, furs, precious and semi-precious stones.
$2000 for loss by theft of firearms.

$2500 for loss by theft of silverware, silver-plated ware, goldware, gold-plated ware and
pewterware. This includes flatware, hollowware, tea sets, trays and trophies made of or including
silver, gold or pewter.

9. $2500 on property, on the residence premises, used at any time or in any manner for any business
purpose.

10. $250 on property, away from the residence premises, used at any time or in any manner for any
business purpose.

Property Not Covered. We do not cover:
1. articles separately described and specifically insured in this or other insurance;
2. animals, birds or fish;
3. motor vehicles or all other motorized land conveyances. This includes:
a. their equipment and accessories; or
b. any device or instrument for the transmitting, recording, receiving or reproduction of sound or
pictures which is operated by power from the electrical system of motor vehicles or all other
motorized land conveyances, including:
(1} accessories or antennas; or
(2) tapes, wires, records, discs or other media for use with any such device or instrument;
while in or upon the vehicle or conveyance.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 72 of 228

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We do cover vehicles or conveyances:

a. not subject to licensing requirements which are used exclusively to service an insured's
residence; or

b. which are both designed and used exclusively for assisting the handicapped and have a
maximum attainable speed of 10 miles per hour;

4. aircraft and parts. Aircraft means any contrivance used or designed for flight, except model or
hobby aircraft not used or designed to carry people or cargo;

5. property of roomers, boarders and other tenants, except property of roomers and boarders related
to an insured;

property in an apartment regularly rented or held for rental to others by an insured;

property rented or held for rental to others off the residence premises;

8. business data, including such data stored in:

a. books of account, drawings or other paper records; or

b. electronic data processing tapes, wires, records, discs or other software media.

However, we do cover the cost of blank recording or storage media, and of prerecorded computer
programs available on the retail market.

9. credit cards or fund transfer cards except as provided in Additional Coverages 6.

COVERAGE D - Loss of Use

The limit of liability for Coverage D is the total limit for all the coverages that follow.

1. If a loss covered under this Section makes that part of the residence premises where you reside not
fit to live in, we cover, at your choice, either of the following. However, if the residence premises
is not your principal place of residence, we will not provide the option under paragraph b. below.

a. Additional Living Expense, meaning any necessary increase in living expenses incurred by you
so that your household can maintain its normal standard of living; or

b. Fair Rental Value, meaning the fair rental value of that part of the residence premises where you
reside less any expenses that do not continue while the premises is not fit to live in.

Payment under a. or b. will be for the shortest time required to repair or replace the damage or, if

you permanently relocate, the shortest time required for your household to settle elsewhere.

2. If a loss covered under this Section makes that part of the residence premises rented to others or
held for rental by you not fit to live in, we cover the:

Fair Rental Value, meaning the fair rental value of that part of the residence premises rented to
others or held for rental by you less any expenses that do not continue while the premises is not fit
to live in.

Payment will be for the shortest time required to repair or replace that part of the premises rented or
held for rental.

3. If a civil authority prohibits you from use of the residence premises as a result of direct damage to
neighboring premises by a Peril Insured Against in this policy, we cover the Additional Living
Expense or Fair Rental Value loss as provided under 1 and 2 above for no more than two weeks.

The periods of time under 1, 2 and 3 above are not limited by expiration of this policy.

We do not cover loss or expense due to cancellation of a lease or agreement.

ADDITIONAL COVERAGES

1, Debris Removal. We will pay your reasonable expense for the removal of debris of covered property

if a Peril Insured Against that applies to the damaged property causes the loss.

This expense is included in the limit of liability that applies to the damaged property. If the amount

to be paid for the actual damage to the property plus the debris removal expense is more than the

limit of liability for the damaged property, an additional 5% of that limit of liability is available for
debris removal expense.

We will also pay your reasonable expense, up to $500 in the aggregate for the removal from the

residence premises of:

a. your tree({s) felled by the peril of Windstorm or Hail;

b. your tree(s) felled by the peril of Weight of Ice, Snow or Sleet; or

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LM003105
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 73 of 228

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c. aneighbor's tree(s) felled by a Peril Insured Against under Coverage C;
provided the tree(s) damages a covered structure.

2. Reasonable Repairs. In the event that covered property is damaged by an applicable Peril Insured
Against, we will pay the reasonable cost incurred by you for necessary measures taken solely to
protect against further damage. If the measures taken involve repair to other damaged property, we
will pay for those measures only if that property is covered under this policy and the damage to that
property is caused by an applicable Peril Insured Against.

This coverage:
a. does not increase the limit of liability that applies to the covered property;

b. does not relieve you of your duties, in case of a loss to covered property, as set forth in Section
| Condition 2.d.

3. Trees, Shrubs and Other Plants. We cover trees, shrubs, plants or lawns, on the residence
premises, for loss caused by the following Perils Insured Against: Fire or lightning, Explosion, Riot
or civil commotion, Aircraft, Vehicles not owned or operated by a resident of the residence
premises, Vandalism or malicious mischief or Theft.

The limit of liability for this coverage will not be more than 5% of the limit of liability that applies to
the dwelling, or more than $500 for any one tree, shrub or plant. We do not cover property grown
for business purposes,

This coverage is additional insurance.

4, Fire Department Service Charge. We will pay up to $500 for your liability assumed by contract or
agreement for fire department charges incurred when the fire department is called to save or protect
covered property from a Peril Insured Against. We do not cover fire department service charges if
the property is located within the limits of the city, municipality or protection district furnishing the
fire department response.

This coverage is additional insurance. No deductible applies to this coverage.

5. Property Removed. We insure covered property against direct loss from any cause while being
removed from a premises endangered by a Peril Insured Against and for no more than 30 days while
removed. This coverage does not change the limit of liability that applies to the property being
removed.

6. Credit Card, Fund Transfer Card, Forgery and Counterfeit Money.

We will pay up to $500 for:

a. the legal obligation of an insured to pay because of the theft or unauthorized use of credit cards
issued to or registered in an insured's name;

b. loss resulting from theft or unauthorized use of a fund transfer card used for deposit,
withdrawal or transfer of funds, issued to or registered in an insured’s name;

c. loss to an insured caused by forgery or alteration of any check or negotiable instrument; and

d. loss to an insured through acceptance in good faith of counterfeit United States or Canadian
paper currency.

We do not cover use of a credit card or fund transfer card:

a. by a resident of your household;

b. by a person who has been entrusted with either type of card; or

c. if an insured has not complied with all terms and conditions under which the cards are issued.

All loss resulting from a series of acts committed by any one person or in which any one person is

concerned or implicated is considered to be one loss.

We do not cover loss arising out of business use or dishonesty of an insured.

This coverage is additional insurance. No deductible applies to this coverage.

Defense:

a. We may investigate and settle any claim or suit that we decide is appropriate. Our duty to
defend a claim or suit ends when the amount we pay for the loss equals our limit of liability.

b. If a suit is brought against an insured for liability under the Credit Card or Fund Transfer Card
coverage, we will provide a defense at our expense by counsel of our choice.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 74 of 228

INSURANCE

c. We have the option to defend at cur expense an insured or an insured's bank against any suit
for the enforcement of payment under the Forgery coverage.

7. Loss Assessment: We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of direct loss to the property, owned by all members collectively, caused by a
Peril Insured Against under Coverage A - Dwelling, other than earthquake or land shock waves or
tremors before, during or after a volcanic eruption.

This coverage applies only to loss assessments charged against you aS owner or tenant of the
residence premises.

We do not cover loss assessments charged against you or a corporation or association of property
owners by any governmental body.

The limit of $1000 is the most we will pay with respect to any one loss, regardless of the number
of assessments.

Condition 1. Policy Period, under Sections | and II Conditions, does not apply to this coverage.

8. Collapse. We insure for direct physical loss to covered property involving collapse of a building or
any part of a building caused only by one or more of the following:

a. Perils Insured Against in Coverage C - Personal Property. These perils apply to covered building
and personal property for loss insured by this additional coverage;

hidden decay;

hidden insect or vermin damage;

weight of contents, equipment, animals or people;
weight of rain which collects on a roof; or

use of defective material or methods in construction, remodeling or renovation if the collapse
occurs during the course of the construction, remodeling or renovation.

Loss to an awning, fence, patio, pavement, swimming pool, underground pipe, flue, drain, cesspool,
septic tank, foundation, retaining wall, bulkhead, pier, wharf or dock is not included under items b,
c, d, e, and f unless the loss is a direct result of the collapse of a building.

Collapse does not include settling, cracking, shrinking, bulging or expansion.
This coverage does not increase the limit of liability applying to the damaged covered property.

SECTION | - PERILS INSURED AGAINST

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COVERAGE A - DWELLING and

COVERAGE 6 - OTHER STRUCTURES

We insure against risks of direct loss to praperty described in Coverages A and 6B only if that loss is a
physical loss to property; however, we do not insure loss:

1. involving collapse, other than as provided in Additional Coverage 8;

2. caused by:

a. freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or
of a household appliance, or by discharge, leakage or overflow from within the system or
appliance caused by freezing. This exclusion applies only while the dwelling is vacant,
unoccupied or being constructed unless you have used reasonable care to:

(1} maintain heat in the building; or
(2) shut off the water supply and drain the system and appliances of water;
b. freezing, thawing, pressure or weight of water or ice, whether driven by wind or not, to a:
(1) fence, pavement, patio or swimming pool;
(2) foundation, retaining wall or bulkhead; or
(3) pier, wharf or dock;

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LM003107
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 75 of 228

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INSURANCE

c. theft in or to a dwelling under construction, or of materials and supplies for use in the
construction until the dwelling is finished and occupied;

d. vandalism and malicious mischief or breakage of glass and safety glazing materials if the
dwelling has been vacant for more than 30 consecutive days immediately before the loss. A
dwelling being constructed is not considered vacant;

e. constant or repeated seepage or leakage of water or steam over a period of weeks, months or
years from within a plumbing, heating, air conditioning or automatic fire protective sprinkler
system or from within a household appliance;

f. (1) wear and tear, marring, deterioration;
{2} inherent vice, latent defect, mechanical breakdown;
{3} smog, rust, mold, wet or dry rot;
{4} smoke from agricultural smudging or industrial operations;
(5) release, discharge or dispersal of contaminants or pollutants;

(6) settling, cracking, shrinking, bulging or expansion of pavements, patios, foundations, walls,
floors, roofs or ceilings; or

(7) birds, vermin, rodents, insects or domestic animals.

But if loss or damage by collapse, as provided in ADDITIONAL COVERAGES, Collapse, results,
we will pay for that resulting loss or damage.

lf any of these cause water damage not atherwise excluded from a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or household appliance, we cover loss
caused by the water including the cost of tearing out and replacing any part of a building
necessary to repair the system or appliance. We do not cover loss to the system or appliance
from which this water escaped.

3. excluded under Section ! - Exclusions.

Under items 1 and 2, any ensuing loss to property described in Coverages A and B not excluded or
excepted in this policy is covered.

COVERAGE C - Personal Property

We insure for direct physical loss to the property described in Coverage C caused by a peril listed below
unless the loss is excluded in Section | - Exclusions.

1. Fire or lightning.
2. Windstorm or hail.

This peril does not include loss to the property contained in a building caused by rain, snow, sleet,
sand or dust unless the direct force of wind or hail damages the building causing an opening in a
roof or wall and the rain, snow, sleet, sand or dust enters through this opening.

This peril includes loss to watercraft and their trailers, furnishings, equipment, and outboard motors,
only while inside a fully enclosed building.

Explosion.

Riot or civil commotion.

Aircraft, including self-propelled missiles and spacecraft.

Vehicles means a device designed or used to transport persons or property.
Smoke, meaning sudden and accidental damage from smoke.

This peril does not include loss caused by smoke from agricultural smudging or industrial operations,
such as slash burns.

8. Vandalism or malicious mischief.

9. Theft, including attempted theft and loss of property from a known place when it is likely that the
property has been stolen.

This peril does not include loss caused by theft:
a. committed by an insured;

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a
LM003108
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 76 of 228

Liberty
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b. in or to a dwelling under construction, or of materials and supplies for use in the construction
until the dwelling is finished and occupied; or

c. from that part of a residence premises rented by an insured to other then an insured.

This peril does not include loss caused by theft that occurs off the residence premises of:

a. property while at any other residence owned by, rented to, or occupied by an insured, except
while an insured is temporarily living there. Property of a student who is an insured is covered
while at a residence away from home if the student has been there at any time during the 45
days immediately before the loss;

b. watercraft, including their furnishings, equipment and outboard motors; or
c. trailers and campers.
However, property described in b. above is covered if, at the time of loss caused by theft, it is
parked inside a private garage or in street parking areas immediately adjacent to the residence
premises.

10. Failing objects.
This peril does not include loss to property contained in a building unless the roof or an outside wall
of the building is first damaged by a falling object. Damage to the falling object itself is not
included.

11. Weight of ice, snow or sleet which causes damage to property contained in a building.

12. Accidental discharge or overflow of water or steam from within a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or from within a household appliance.

This peril does not include loss:

a. to the system or appliance from which the water or steam escaped;

b. caused by or resulting from freezing except as provided in the peril of freezing below; or

c. on the residence premises caused by accidental discharge or overflow which occurs off the
residence premises.

In this peril, a plumbing system does not include a sump, sump pump or related equipment.

13. Sudden and accidental! tearing apart, cracking, burning or bulging of a steam or hot water heating
system, an air conditioning or automatic fire protective sprinkler system, or an appliance for heating
water.

We do not cover loss caused by or resulting from freezing under this peril.

14. Freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or of a

household appliance.
This peril does not include loss on the residence premises while the dwelling is unoccupied, unless
you have used reasonable care to:
a. maintain heat in the building; or
b. shut off the water supply and drain the system and appliances of water.
15. Sudden and accidental damage from artificially generated electrical current.
This peril does not include loss to a tube, transistor or similar electronic component.

16. Damage by glass or safety glazing material which is part of a building, storm door or storm window.
This peril does not include loss on the residence premises if the dwelling has been vacant for more
than 30 consecutive days immediately before the loss. A dwelling being constructed is not
considered vacant.

17. Volcanic Action, meaning direct loss or damage resulting from the eruption of a volcano when the
loss or damage is caused by:

a. volcanic blast or airborne shock waves;

b. ash, dust or particulate matter; or

c. lava flow.

This peril does not provide coverage for damage to land; property in the open or in open sheds; or
portions of buildings not completely enclosed, or personal property contained within those buildings.

All volcanic eruptions that occur within any 72-hour period will be considered as one volcanic
eruption.

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ee
LM003109
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 77 of 228

INSURANCE

Direct loss includes the cost to remove the ash, dust or particulate matter from the interior and exterior
surfaces of the covered building and from personal property contained in the building.

Payment for removal applies only to the initial deposit of ash, dust or particulate matter following a
volcanic eruption. Subsequent deposits arising from the movement of volcanic dust or ash by wind or
other means are not covered.

 

SECTION I - EXCLUSIONS

 

We will not pay for loss or damage caused by any of the following excluded events as described in 1
through 11 below. Loss or damage will be considered to have been caused by an excluded event if that
event:

a. directly and solely results in loss or damage; or

b. initiates a sequence of events that results in loss or damage, regardless of the nature of any
intermediate or final event in that sequence.

1. Ordinance or Law, meaning enforcement of any ordinance or law regulating the construction, repair,
or demolition of a building or other structure, unless specifically provided under this policy.

2. Earth Movement, meaning earthquake including land shock waves or tremors before, during or after
a volcanic eruption; landslide; mudflow; earth sinking, rising or shifting; unless direct loss by:

a, fire;
b. explosion; or

c. breakage of glass or safety glazing material which is part of a building, storm door or storm
window;

ensues and then we will pay only for the ensuing loss.
This exclusion does not apply to loss by theft.
3. Water Damage, meaning:
a, flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these, whether or not driven by wind;
b. water which backs up through sewers or drains or which overflows from a sump; or

c, water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.

Direct loss by fire, explosion or theft resulting from water damage is covered.

4. Power Failure, meaning the failure of power or other utility service if the failure takes place off the
residence premises. But, if a Peril Insured Against ensues on the residence premises, we will pay
only for that ensuing loss.

5. Neglect, meaning neglect of the insured to use all reasonable means to save and preserve property
at and after the time of a loss.

6. War, including undeclared war, civil war, insurrection, rebellion, revolution, warlike act by a military
force or military personnel, destruction or seizure or use for a military purpose, and including any
consequence of any of these. Discharge of a nuclear weapon will be deemed a warlike act even if
accidental.

Nuclear Hazard, to the extent set forth in the Nuclear Hazard Clause of Section | - Conditions.
8. Intentional Loss, meaning any loss arising out of any act committed:
a. by or at the direction of an insured; and
b. with the intent to cause a loss.
9. Weather Conditions.
A weather condition which results in:
a. landslide or mudflow;
b. earth sinking, rising or shifting;

c. flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these,whether or not driven by wind;

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LM003110
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 78 of 228

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INSURANCE

d. water backing up from a sewer or drain or overflowing from a sump; or

e. water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.

However, if loss or damage by fire or explosion results, we will pay for that resulting loss or
damage.

10. Acts or decisions, including the failure to act or decide, of any person, group, organization or
governmental body. However, any ensuing loss to property described in Coverages A and B not
excluded or excepted in this policy is covered.

11. Faulty, inadequate or defective:
a. planning, zoning, development, surveying, siting;

b. design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
compaction;

c. materials used in repair, construction, renovation or remodeling; or
d. maintenance;
of part or all of any property whether on or off the residence premises.

However, any ensuing loss to property described in Coverages A and B not excluded or excepted in
this policy is covered.

 

SECTION | - CONDITIONS

 

1. Insurable Interest and Limit of Liability. Even if more than one person has an insurable interest in
the property covered, we will not be liable in any one loss:

a. to the insured for more than the amount of the insured's interest at the time of loss; or
b. for more than the applicable limit of liability.

2. Your Duties After Loss. In case of a loss to covered property, you must see that the following are
done:

a. give prompt notice to us or our agent;
b. notify the police in case of Joss by theft;

c. notify the credit card or fund transfer card company in case of loss under Credit Card or Fund
Transfer Card coverage;

d. {1} protect the property from further damage;
{2} make reasonable and necessary repairs to protect the property; and
{3) keep an accurate record of repair expenses;

@. prepare an inventory of damaged personal property showing the quantity, description, actual
cash value and amount of loss. Attach ail bills, receipts and related documents that justify the
figures in the inventory;

f. as often as we reasonably require:
(1} show the damaged property;
(2) provide us with records and documents we request and permit us to make copies; and

(3) submit to examination under oath, while not in the presence of any other insured, and sign
the same;

g. send to us, within 60 days after our request, your signed, sworn proof of loss which sets forth,
to the best of your knowledge and belief:

{1} the time and cause of loss;

(2) the interest of the insured and all others in the property involved and all liens on the
property;

(3} other insurance which may cover the loss;

(4) changes in title or occupancy of the property during the term of the policy;

(5) specifications of damaged buildings and detailed repair estimates;

(6) the inventory of damaged personal property described in 2e above;

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ee
LM0031 11
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 79 of 228

INSURANCE

{7) receipts for additional living expenses incurred and records that support the fair rental value
loss; and
(8) evidence or affidavit that supports a claim under the Credit Card, Fund Transfer Card,

Forgery and Counterfeit Money coverage, stating the amount and cause of loss.

3. Loss Settlement. Covered property losses are settled as follows:

a. {1)
(2)

{3)

Personal property;

Awnings, carpeting, household appliances, outdoor antennas and outdoor equipment,
whether or not attached to buildings; and

Structures that are not buildings;

at actual cash value at the time of loss but not more than the amount required to repair or
replace.

b. Buildings under Coverage A or B at replacement cost without deduction for depreciation, subject
to the following:

(1) If, at the time of loss, the amount of insurance in this policy on the damaged building is
80% or more of the full replacement cost of the building immediately before the loss, we
will pay the cost to repair or replace, after application of deductible and without deduction
for depreciation, but not more than the least of the following amounts:

{a) the limit of liability under this policy that applies to the building;

(b} the replacement cost of that part of the building damaged for like construction and use
on the same premises; or

{c) the necessary amount actually spent to repair or replace the damaged building.

(2) If, at the time of loss, the amount of insurance in this policy on the damaged building is less
than 80% of the full replacement cost of the building immediately before the loss, we will
pay the greater of the following amounts, but not more than the limit of liability under this
policy that applies to the building:

{a} the actual cash value of that part of the building damaged: or

(b}) that proportion of the cost to repair or replace, after application of deductible and
without deduction for depreciation, that part of the building damaged, which the total
amount of insurance in this policy on the damaged building bears to 80% of the
replacement cost of the building.

(3) To determine the amount of insurance required to equal 80% of the full replacement cost of
the building immediately before the loss, do not include the value of:

{a} excavations, foundations, piers or any supports which are below the undersurface of the
lowest basement floor;
(b} those supports in (a) above which are below the surface of the ground inside the
foundation walls, if there is no basement; and
(c) underground flues, pipes, wiring and drains.
(4) We will pay no more than the actual cash value of the damage unless:
(a) actual repair or replacement is complete; or
(b) the cost to repair or replace the damage is both:
{i) less than 5% of the amount of insurance in this policy on the building; and
(ii) less than $2500.
(5) You may disregard the replacement cost loss settlement provisions and make claim under

this policy for loss or damage to buildings on an actual cash value basis. You may then
make claim within 180 days after loss for any additional liability on a replacement cost
basis.

4. Loss to a Pair or Set. In case of loss to a pair or set we may elect to:
a. repair or replace any part to restore the pair or set to its value before the loss; or
b. pay the difference between actual cash value of the property before and after the loss.

5. Glass Replacement. Loss for damage to glass caused by a Peril Insured Against will be settled on
the basis of replacement with safety glazing materials when required by ordinance or law.

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Page 11 of 20

LM003112
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 80 of 228

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INSURANCE

6. Appraisal. If you and we fail to agree on the amount of loss, either may demand an appraisal of the
loss. In this event, each party will choose a competent appraiser within 20 days after receiving a
written request from the other. The two appraisers will choose an umpire. If they cannot agree
upon an umpire within 15 days, you or we may request that the choice be made by a judge of a
court of record in the state where the residence premises is located. The appraisers will separately
set the amount of loss. If the appraisers submit a written report of an agreement to us, the amount
agreed upon will be the amount of loss. If they fail to agree, they will submit their differences to
the umpire. A decision agreed to by any two will set the amount of loss.

Each party will:

a. pay its own appraiser; and

b. bear the other expenses of the appraisal and umpire equally.

7. Other Insurance. If a loss covered by this policy is also covered by other insurance, we will pay
only the proportion of the loss that the limit of liability that applies under this policy bears to the
total amount of insurance covering the loss.

8. Suit Against Us. No action can be brought unless the policy provisions have been complied with
and the action is started within one year after the date of loss.

9. Our Option. If we give you written notice within 30 days after we receive your signed, sworn proof
of loss, we may repair or replace any part of the damaged property with like property.

10.Loss Payment. We will adjust all losses with you. We will pay you unless some other person is
named in the policy or is legally entitled to receive payment. Loss will be payable 30 days after we
receive your proof of loss and:

a. reach an agreement with you;

b. there is an entry of a final judgment; or

c. there is a filing of an appraisal award with us.

11. Abandonment of Property. We need not accept any property abandoned by an insured.

12. Mortgage Clause. Insurance Commissioner's Regulation No. 335AVAC-284-21-010 requires that
Form 372 (Ed. 11 -50) or Form 438 BFU (Ed. 5-42) be endorsed on this policy, if applicable.

13. No Benefit to Bailee. We will not recognize any assignment or grant any coverage that benefits a
person or organization holding, storing or moving property for a fee regardless of any other
provision of this policy.

14. Nuclear Hazard Clause.

a. “Nuclear Hazard" means any nuclear reaction, radiation, or radioactive contamination, all
whether controlled or uncontrolled or however caused, or any consequence of any of these.

b. Loss caused by the nuclear hazard will not be considered loss caused by fire, explosion, or
smoke, whether these perils are specifically named in or otherwise included within the Perils
Insured Against in Section I.

c. This policy does not apply under Section | to loss caused directly or indirectly by nuclear hazard,
except that direct loss by fire resulting from the nuclear hazard is covered.

15, Recovered Property. !f you or we recover any property for which we have made payment under
this policy, you or we will notify the other of the recovery. At your option, the property will be
returned to or retained by you or it will become our property. If the recovered property is returned
to or retained by you, the loss payment will be adjusted based on the amount you received for the
recovered property.

 

SECTION II - LIABILITY COVERAGES

 

COVERAGE E - Personal Liability

If a claim is made or a suit is brought against an insured for damages because of bodily injury or

property damage caused by an occurrence to which this coverage applies, we will:

1. pay up to our limit of liability for the damages for which the insured is legally liable. Damages
include prejudgment interest awarded against the insured.

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a
LM003113
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 81 of 228

INSURANCE

2. provide a defense at our expense by counsel of our choice, even if the suit is groundless, false or
fraudulent. We may investigate and settle any claim or suit that we decide is appropriate. Our duty
ta settle or defend ends when the amount we pay for damages resulting from the occurrence equals
our limit of liability.

COVERAGE F - Medical Payments To Others

We will pay the necessary medical expenses that are incurred or medically ascertained within three
years from the date of an accident causing bodily injury. Medical expenses means reasonable charges
for medical, surgical, x-ray, dental, ambulance, hospital, professional nursing, prosthetic devices and

funeral services. This coverage does not apply to you or regular residents of your household except
residence employees. As to others, this coverage applies only:

1. toa person on the insured location with the permission of an insured; or

2. toa person off the insured location, if the bodily injury:
a. arises out of a condition on the insured location or the ways immediately adjoining;
b. is caused by the activities of an insured;

c. is caused by a residence employee in the course of the residance employee's employment by an
insured; or

d. is caused by an animal owned by or in the care of an insured.

 

SECTION II - EXCLUSIONS

 

1. Coverage E - Persona! Liability and Coverage F - Medical Payments to Others do not apply to bodily
injury or property damage:

a, which is expected or intended by the insured;

b. (1) arising out of or in connection with a business engaged in by an tnsured. This exclusion
applies but is not limited to an act or omission, regardless of its nature or circumstance,
involving a service or duty rendered, promised, owed, or implied to be provided because of
the nature of the business;

(2) arising out of the rental or holding for rental of any part of any premises by an insured. This
exclusion does not apply to the rental or holding for rental of an insured location:

(a) on an occasional basis if used only as residence;
(b) in part for use only as a residence, unless a single family unit is intended for use by the
occupying family to lodge more than two roomers or boarders; or
(c) in part, as an office, school, studio or private garage;
c. arising out of the rendering of or failure to render professional services;
d. arising out of a premises:

(1) owned by an insured;

(2) rented to an insured; or

{3) rented to others by an insured,

that is not an insured location;

e. arising out of:

(1) the ownership, maintenance, use, loading or unloading of motor vehicles or all other
motorized land conveyances, including trailers, owned or operated by or rented or loaned to
an insured;

(2) the entrustment by an insured of a motor vehicle or any other motorized land conveyance to
any person; or

(3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
conveyance excluded in paragraph (1) or (2) above.

This exclusion does not apply to:

{1) a trailer not towed by or carried on a motorized land conveyance;

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a
LM003114
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 82 of 228

“INSURANCE

(2) a motorized land conveyance which is both designed and used exclusively for recreational
purposes off public roads, not subject to licensing requirements and:

{a) not owned by an insured; or
(b) owned by an insured and on an insured location;
(3) a motorized golf cart when used to play golf on a golf course;
{4} a vehicle or conveyance not subject to licensing requirements which is:
(a) used exclusively to service an insured's residence;
(b} in dead storage on an insured location;
{5} a vehicle or conveyance which is both designed and used exclusively for assisting the
handicapped and has a maximum attainable speed of 10 miles per hour;
f. arising out of:
{1} the ownership, maintenance, use, loading or unloading of a watercraft described below;
(2) the entrustment by an insured of a watercraft described below to any person; or
(3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
watercraft described below.
Watercraft:
(1) with inboard or inboard-outdrive motor power owned by an insured;
(2) with inboard or inboard-outdrive motor power of more than 50 horsepower rented to an
insured;
(3) that is a sailing vessel, with or without auxiliary power, 26 feet or more in length owned by
or rented to an insured; or
(4) powered by one or more cutboard motors with more than 25 total horsepower if the
outboard motor is owned by an insured. But, outboard motors of more than 25 total
horsepower are covered for the policy period if:
{a) you acquire them prior to the policy period and:
(i) you declare them at policy inception; or
(ii) your intention to insure is reported to us in writing within 45 days after you acquire
the out-board motors.
(b} you acquire them during the policy period.
This exclusion does not apply while the watercraft is stored;
g. arising out of:
{1) the ownership, maintenance, use, loading or unloading of an aircraft;
(2) the entrustment by an insured of an aircraft to any person; or
(3) statutorily imposed vicarious parental liability for the actions of a child or minor using an
aircraft.
An aircraft means any contrivance used or designed for flight, except model or hobby aircraft
not used or designed to carry people or cargo;
h. caused directly or indirectly by war, including undeclared war, civil war, insurrection, rebellion,
revolution, warlike act by a military force or military personnel, destruction or seizure or use for
a military purpose, and including any consequence of any of these. Discharge of a nuclear
weapon will be deemed a warlike act even if accidental.
Exclusions d., e., f., and g. do not apply to bodily injury to a residence employee arising out of and
in the course of the residence employee's employment by an insured.
2. Coverage E - Personal Liability, does not apply to:
a. liability:
(1) for any loss assessment charged against you as a member of an association, corporation or
community of property owners;
(2) under any contract or agreement. However, this exclusion does not apply to written
contracts:
(a) that directly relate to the ownership, maintenance or use of an insured location; or

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a
LM003115
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 83 of 228

Mutual.

INSURANCE

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{b) where the liability of others is assumed by the insured prior to an occurrence;
unless excluded in (1) above or elsewhere in this policy;
b, property damage to property owned by the insured;

c. property damage to property rented te, occupied or used by or in the care of the insured. This
exclusion does not apply to property damage caused by fire, smoke or explosion;

d, bodily injury to any person eligible to receive any benefits:
(1) voluntarily provided; or
(2) required to be provided;
by the insured under any:
(1) warkers' compensation law;
(2) non-occupational disability law; or
(3) occupational disease law;
e. bodily injury or property damage for which an insured under this policy:
{1} is also an insured under a nuclear energy liability policy; or
(2) would be an insured under that policy but for the exhaustion of its limit of liability.
A nuclear energy liability policy is one issued by:
(1) American Nuclear Insurers;
(2) Mutual Atomic Energy Liability Underwriters;
(3) Nuclear Insurance Association of Canada;
or any of their successors; or
f. bodily injury to you or an insured within the meaning of part a. or b. of "insured" as defined.
3. Coverage F - Medical Payments to Others, does not apply to bodily injury:
a. toaresidence employee if the bodily injury:
(1) occurs off the insured location; and

(2) does not arise out of or in the course of the residence employee's employment by an
insured;

b. to any person eligible to receive benefits:
(1) voluntarily provided; or
(2) required to be provided;
under any:
(1) workers’ compensation law;
(2} non-occupational disability law; or
(3) occupational disease law;
c. from any:
(1) nuclear reaction;
(2) nuclear radiation; or
(3) radioactive contamination;
all whether controlled or uncontrolled or however caused; or
(4) any consequence of any of these.

d. to any person, other than a residence employee of an insured, regularly residing on any part of
the insured location.

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LM003116
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 84 of 228

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SECTION II - ADDITIONAL COVERAGES

We cover the following in addition to the limits of liability:

1. Claim Expenses. We pay:

a. expenses we incur and costs taxed against an insured in any suit we defend;

b. premiums on bonds required in a suit we defend, but not for bond amounts more than the limit
of liability for Coverage E. We need not apply for or furnish any bond;

c. reasonable expenses incurred by an insured at our request, including actual loss of earnings (but
not loss of other income) up to $50 per day, for assisting us in the investigation or defense of a
claim or suit;

d. interest on the entire judgment which accrues after entry of the judgment and before we pay or
tender, or deposit in court that part of the judgment which does not exceed the limit of liability
that applies.

2. First Aid Expenses. We will pay expenses for first aid to others incurred by an insured for bodily
injury covered under this policy. We will not pay for first aid to you or any other insured.

3. Damage to Property of Others. We will pay, at replacement cost, up to $500 per occurrence for
property damage to property of others caused by an insured.

We will not pay for property damage:

a. to the extent of any amount recoverable under Section | of this policy;

caused intentionally by an insured who is 13 years of age or older;

to property owned by an insured;

to property owned by or rented to a tenant of an insured or a resident in your household; or

arising out of;

(1) a business engaged in by an insured;

(2) any act or omission in connection with a premises owned, rented or controlled by an
insured, other than the insured location; or

(3) the ownership, maintenance, or use of aircraft, watercraft or motor vehicles or all other
motorized land conveyances,

This exclusion does not apply to a motorized land conveyance which is both designed and

used exclusively for recreational purposes off public roads, not subject to licensing

requirements and not owned by an insured.

4. Loss Assassment. We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of:

a. bodily injury or property damage not excluded under Section II of this policy; or

b. liability for an act of a director, officer or trustee in the capacity as a director, officer or trustee,
provided:

{1} the director, officer or trustee is elected by the members of a corporation or association of
property owners; and

(2} the director, officer or trustee serves without deriving any income from the exercise of
duties which are solely on behalf of a corporation or association of property owners.

This coverage applies only to loss assessments charged against you as owner or tenant of the

residence premises.

We do not cover loss assessments charged against you or a corporation or association of property

owners by any governmental body.

Regardless of the number of assessments, the limit of $1000 is the most we will pay for loss

arising out of:

a. one accident, including continuous or repeated exposure to substantially the same general
harmful conditions; or

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a
LM003117
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 85 of 228

INSURANCE

b. a covered act of a director, officer or trustee. An act involving more than one director, officer
or trustee is considered to be a single act.

The following do not apply to this coverage:
1. Section ll - Coverage E - Personal Liability Exclusion 2.a.(1);
2. Candition 1. Policy Period, Under Sections | and II Conditions.

 

SECTION II - CONDITIONS

 

1. Limit of Liability. Our total liability under Coverage E for all damages resulting from any one
occurrence will not be more than the limit of liability for Coverage E as shown in the Declarations.
This limit is the same regardless of the number of insureds, claims made or persons injured. All
bodily injury and property damage resulting from any one accident or from continuous or repeated
exposure to substantially the same general harmful conditions shall be considered to be the result of
one occurrence.

Our total liability under Coverage F for all medical expense payable for bodily injury to one person as
the result of one accident will not be more than the limit of Liability for Coverage F as shown in the
Declarations.

2. Severability of Insurance. This insurance applies separately to each insured. This condition will not
increase our limit of liability for any one occurrence.
3. Duties After Loss. In case of an accident or occurrence, the insured will perform the following
duties that apply. You will help us by seeing that these duties are performed.
a. give written notice to us or our agent as soon as is practical, which sets forth:
(1) the identity of the policy and insured;
(2) reasonably available information on the time, place and circumstances of the accident or
occurrence; and
(3) names and addresses of any claimants and witnesses;
b. promptly forward to us every notice, demand, summons or other process relating to the
accident or occurrence;
c. at our request, help us:
(1) to make settlement;
(2) to enforce any right of contribution or indemnity against any person or organization who
may be liable to an insured;
(3) with the conduct of suits and attend hearings and trials;
(4) to secure and give evidence and obtain the attendance of witnesses;
d. under the coverage - Damage to Property of Others - submit to us within 60 days after the loss,
a sworn statement of loss and show the damaged property, if in the insured's control;
e. the insured will not, except at the insured's own cost, voluntarily make payment, assume
obligation or incur expense other than for first aid to others at the time of the bodily injury.
4. Duties of an Injured Person - Coverage F - Medical Payments to Others. The injured person or
someone acting for the injured person will:
a. give us written proof of claim, under oath if required, as soon as is practical; and
b. authorize us to obtain copies of medical reports and records.
The injured person will submit to a physical exam by a doctor of our choice when and as often as
we reasonably require.
5, Payment of Claim - Coverage F - Medical Payments to Others. Payment under this coverage is not
an admission of liability by an insured or us.
6. Suit Against Us. No action can be brought against us unless there has been compliance with the
policy provisions.

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LM003118
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 86 of 228

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INSURANCE

No one will have the right to join us as a party to any action against an insured. Also, no action
with respect to Coverage E can be brought against us until the obligation of the insured has been
determined by final judgment or agreement signed by us.

Bankruptcy of an Insured. Bankruptcy or insolvency of an insured will not relieve us of our
obligations under this policy.

Other Insurance - Coverage E - Personal Liability. This insurance is excess over other valid and
collectible insurance except insurance written specifically to cover as excess over the limits of
liability that apply in this policy.

 

SECTION | AND II - CONDITIONS

 

Policy Period. This policy applies only to loss in Section | or bodily injury or property damage in

Section II, which occurs during the policy period.

Concealment or Fraud. The entire policy will be void if, whether before or after a loss, an insured

has:

a. intentionally concealed or misrepresented any material fact or circumstance; or

b. engaged in fraudulent conduct;

relating to this insurance.

Liberalization Clause. If we make a change which broadens coverage under this edition of our

policy without additional premium charge, that change will automatically apply to your insurance as

of the date we implement the change in your state, provided that this implementation date falls
within 60 days prior to or during the policy period stated in the Declarations.

This Liberalization Clause does not apply to changes implemented through introduction of a

subsequent edition of our policy.

Waiver or Change of Policy Provisions.

A waiver or change of a provision of this policy must be in writing by us to be valid. Our request

for an appraisal or examination will not waive any rights.

Cancellation.

a. You may cancel this policy at any time by returning it to us or by letting us know in writing of
the date cancellation is to take effect.

b. We may cancel this policy only for the reasons stated below by letting you know in writing of
the date cancellation takes effect. This cancellation notice, together with our reason for
cancellation, will be mailed to you and, if applicable, your agent or broker at the last addresses
known to us or shown by our records. Proof of mailing will be sufficient proof of notice.

{1) When you have not paid the premium, we may cancel at any time by letting you know at
least 10 days before the date cancellation takes effect.

{2} When this policy has been in effect for less than 60 days and is not a renewal with us, we
may cancel for any reason by letting you know at least 45 days before the date cancellation
takes effect.

{3) When this policy has been in effect for 60 days or more, or at any time if it is a renewal
with us, we may cancel:

(a) if there has been a material misrepresentation of fact which if known to us would have
caused us not to issue the policy; or

(b} if the risk has changed substantially since the policy was issued.

This can be done by letting you know at least 45 days before the date cancellation takes

effect.

(4) When this policy is written for a period of more than one year, we may cancel for any
reason at anniversary by letting you know at least 45 days before the date cancellation
takes effect.

However, with respect to paragraphs b. (2), (3) and (4) above, if two or more of the
following conditions exist at any building that is covered under this policy, we may cance!
this policy by letting you and, if applicable, your agent or broker know at least 5 days before
the date cancellation takes effect. We will also let any mortgagee or other person shown by
the policy to have an interest in a covered loss know at least 20 days before the date
cancellation takes effect.

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Page 18 of 20

LM003119
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 87 of 228

INSURANCE

(1) Without reasonable explanation, the building is unoccupied for more than 60 consecutive
days, or at least 65% of the rental units are unoccupied for more than 120 consecutive
days unless the building is maintained for seasonal occupancy or is under construction or
repair;

{2) Without reasonable explanation, progress toward completion of permanent repairs to the
building has not occurred within 60 days after receipt of funds following satisfactory
adjustment or adjudication of loss resulting from a fire;

(3) Because of its physical condition, the building is in danger of collapse;

(4) Because of its physical condition, a vacation or demolition order has been issued for the
building, or it has been declared unsafe in accordance with applicable law;

(5) Fixed and salvageable items have been removed from the building, indicating an intent to
vacate the building;

(6) Without reasonable explanation, heat, water, sewer, and electricity are not furnished for the
building for 60 consecutive days; or

(7) The building is not maintained in substantial compliance with fire, safety and building codes.

c. When this policy is cancelled, the premium for the period from the date of cancellation to the
expiration date will be refunded pro rata.

d. If the return premium is not refunded with the notice of cancellation or when this policy is
returned to us, we will refund it as soon as possible, but no later than:

(1) 45 days after we send a notice of cancellation to you; or

(2) 30 days after we receive the policy or a notice of cancellation from you.

e. Except as noted below, if the policy is cancelled by us, we will give the same advance notice of
cancellation in writing to any mortgagee or other person shown by the policy to have an interest
in a covered loss as we give to you. The cancellation notice may be delivered or mailed; if
mailed, proof of mailing will be sufficient proof of notice.

6. Nonrenewal. We may elect not to renew this policy. We may do so by mailing to you and, if

applicable, your agent or broker at the last addresses known to us or shown by our records, written
notice, including our reason for refusing to renew, at least 45 days before the expiration date of this
policy. Proof of mailing will be sufficient proof of notice.
lf we have offered in writing, either directly or through our agent, at least 20 days before the
expiration date of this policy, to renew this policy, and have included a statement of the renewal
premium due, we may terminate this policy on its expiration date if you fail to pay the required
premium when due.
For the purpose of determining the date when nonrenewal can be effected: A policy with a term of
six months or less is considered as if written for a policy period of six months. A policy written for
a term longer than one year or a policy with no fixed expiration date is considered as if written for a
period of one year.
Assignment. Assignment of this policy will not be valid unless we give our written consent.
Subrogation. An insured may waive in writing before a loss all rights of recovery against any
person. If not waived, we may require an assignment of rights of recovery for a loss to the extent
that payment is made by us.
If an assignment is sought, an insured must sign and deliver all related papers and cooperate with
us.
Subrogation dees not apply under Section II to Medical Payments to Others or Damage to Property
of Others.
Death. If any person named in the Declarations or the spouse, if a resident of the same household,
dies:
a. we insure the legal representative of the deceased but only with respect to the premises and

property of the deceased covered under the policy at the time of death;
b. insured includes:

(1) any member of your household who is an insured at the time of your death, but only while a

resident of the residence premises; and

(2) with respect to your property, the person having proper temporary custody of the property
until appointment and qualification of a legal representative.

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Page 19 of 20

LM003120
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 88 of 228

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MUTUAL POLICY CONDITIONS

 

This policy is issued by a mutual company having special regulations lawfully applicable to its
organization, membership, policies or contracts of insurance, of which the following shall apply to and
form a part of this policy:

This policy is non-assessable. The policyholder is a member of the company and _ shall
participate, to the extent and upon the conditions fixed and determined by the Board of
Directors in accordance with the provisions of law, in the distribution of dividends so fixed and
determined.

For dividend classification purposes, this policy is classified, except as to coverage afforded by any rider
or endorsement providing otherwise, in Dividend Class II.

 

The named insured is hereby notified that by virtue of this policy he is a member of Liberty Mutual
Group and is entitled to vote either in person or by proxy at any and all meetings of said company.

The annual meetings are held at its home office, Boston, Massachusetts on the second Wednesday of
April in each year, at eleven o'clock in the morning.

IN WITNESS WHEREOF, the company has executed and attested these presents; but this policy shall
not be valid unless countersigned on the Declarations Page.

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SECRETARY PRESIDENT

FMHO 3217 10 09 Page 20 of 20

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LM003121
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 89 of 228

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HOMEPROTECTOR PLUS ENDORSEMENT FMHO 2171 R2

 

A. INCREASED SPECIAL LIMIT OF LIABILITY - JEWELRY, WATCHES, FURS, PRECIOUS AND
SEMI-PRECIOUS STONES

Section | Coverage C - Personal Property. Special Limits of Liability. Paragraph 6 is replaced with:

6. Jewelry, watches, furs, precious and semi-precious stones are insured for accidental direct
physical loss or damage. The following exclusions and limitations apply:

a. $2500 for loss by theft, subject to a maximum of $1000 for any one article.

b. The limit of fiability stated in the declarations page for Coverage C, for loss caused by perils
named under Coverage C of this policy, other than theft.

c. $2500 for loss caused by perils not named and not excluded in this policy, subject to a
maximum of $1000 for any article.
d. We do not cover loss or damage caused by mechanical breakdown, wear and tear, gradual
deterioration, insects, vermin or inherent vice.
B. REPLACEMENT COST PROVISION - DWELLING AND PERSONAL PROPERTY
You must meet the following additional condition for this provision to apply:

17. Additions or Changes to Dwelling - Notice to Company. You must inform us within 90 days of
the start of any additions, alterations or improvements to the dwelling that will increase the
replacement cost of the dwelling by $5000 or more.

If you meet Condition 17, then Section |, Conditions of the policy, Item 3. Loss Settlement, is

replaced as follows:

3. Loss Settlement. Covered property losses are settied as follows:

a. The applicable limit of liability for Buildings under Coverage A or B is the replacement cost
without deduction for depreciation, subject to the following:

{1) We will pay the cost of repair or replacement, but not exceeding:

{a) The replacement cost of that part of the building damaged using new materials of
like kind and quality on the same premises and intended for the same occupancy and
use;

{b) With respect to Coverage A, an amount not exceeding 20% greater than the limit of
liability stated in the declarations, as modified by the inflation Protection Provision of
the policy;

(c) With respect to Coverage B, the limit of liability stated in the declarations, as
modified by the Inflation Protection Provision of the policy;

(d) The amount actually and necessarily spent to repair or replace the damage.

(2) When the cost of repair or replacement is more than $2500 or more than 5% of the
amount of insurance in this policy on the building, whichever is less, we will pay no
more than the actual cash value of the damage until actual repair or replacement is
complete.

(3) If the policy includes optional Earthquake coverage, FMHO 2168, this Loss Settlement
provision will not apply for direct physical loss to property caused by earthquake,
including land shock waves or tremors before, during or after a volcanic eruption.

b. Awnings, outdoor antennas and outdoor equipment, whether or not attached to buildings,
and structures that are not buildings: at actual cash value at the time of loss but not
exceeding the amount needed to repair or replace.

c. Personal property, carpeting and domestic appliances: at replacement cost but not
exceeding the amount needed to repair or replace subject to the following:

(1) Our limit of liability for loss to Personal Property shall not exceed the smallest of the
following:

(a) Replacement cost with a new item of like kind and quality at the time of loss;
(b}) The full cost of repair;
(c) Any special limit of liability described in the policy or stated in this endorsement; or

FMHO 2171 R2 Liberty Mutual Group Page 1 of 2

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LM003122
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 90 of 228

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INSURANCE

(d) The Coverage C limit of liability stated in the declarations, as modified by the
Inflation Protection Provision of the policy.

(2) This endorsement shall not apply to:
(a} Fine arts and items which, by their nature cannot be replaced with new items.

(b) Articles whose age or history contribute substantially to their value including
souvenirs or collector's items.

{c) Property that is unusable for the purpose for which it was originally intended due to
age or historic condition.

(3) We will not pay for any loss to personal property under this endorsement until actual
repair or replacement is complete.

d. You may disregard the replacement cost provision and make a claim for loss of damage to
property on an actual cash value basis and then make claim within 180 days after loss for
additional liability under this endorsement.

C. INCREASED LIMIT - COVERAGE D

We will pay the amount of loss covered by Coverage D which is actually sustained by you during
the 12 consecutive months following the date of loss, subject to the periods of time under
paragraphs 1, 2 and 3 of Coverage D - Loss of Use.

D. ADDITIONAL COVERAGES
REFRIGERATORS AND FREEZERS CONTENTS COVERAGE

We cover the contents of deep freeze or refrigerated units on the residence premises from the perils
of:

1. Fluctuation or total interruption of electric power, either on or off premises, resulting from
conditions beyond the control of the Insured.

2. Mechanical breakdown of any refrigeration equipment on premises including the blowing of
fuses or circuit breakers.

We do not cover loss caused by the following additional exclusions:
1. Disconnection or termination of power due to turning off any switch.

2. Inability of power source to provide sufficient power due to government order, lack of fuel or
lack of generating capacity to meet demand.

SPECIAL LIMIT - We will not pay more than $500 of your loss of refrigerator or freezer contents
resulting from the above perils.

All other provisions of this policy apply.
LOCK REPLACEMENT COVERAGE

We will pay up to $250 for replacing the locks or cylinders on the exterior doors of the residence
premises when your keys have been stolen. The theft of the keys must be reported to the police for
this coverage to apply.

This coverage is additional insurance. No deductible applies to this coverage.

FMHO 2171 R2 Liberty Mutual Group Page 2 of 2

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LM003123
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 91 of 228

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CREDIT CARD, FUND TRANSFER CARD, FORGERY
AND COUNTERFEIT MONEY COVERAGE HO-53 (Ed. 4-84)

Increased Limit

 

For an additional premium, the limit of liability for Additional Coverage 6., Credit Card, Fund Transfer
Card, Forgery and Counterfeit Money, is increased to $*

*Entries may be left blank if shown elsewhere in this policy for this coverage.

All other provisions of this policy apply.

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LM003124
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 92 of 228

AMENDATORY ENDORSEMENT

INSURANCE

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

THIS ENDORSEMENT SUPERSEDES ALL OTHER ENDORSEMENTS WHICH HAVE BEEN MADE PART
OF YOUR POLICY AND REFERENCE THESE SAME PROVISIONS

SECTION | - PROPERTY COVERAGES
COVERAGE A - Dwelling

Item 1. is amended as follows:

We cover:

1. The dwelling on the "residence premises"
shown in the Declarations, including
structures attached to the dwelling, and
attached wall-to-wall carpeting;

COVERAGE C - Personal Property

The introductory paragraph of Special Limits of
Liability is amended to read:

These do not increase the Coverage C limit of
liability. The special limit for each numbered
category below is the total limit for each loss
for all property in that category. If personal
property can reasonably be considered a part of
two or more of the groups listed below, the
lowest limit will apply.

The following limits are added:

11. $5000 on electronic data processing system
equipment and the recording or storage
media or accessories used with that
equipment.

12. $5000 on any one article and $10000 in
the aggregate for loss by theft of any rug,
carpet (excluding attached wall-to-wall
carpet), tapestry, wall-hanging or other
similar article.

13. $2500 in the aggregate for loss of any of
the following whether or not they are part
of a collection: trading cards, comic books,
figurines, stamps, advertising materials,
stuffed animals, dolls, sports and
entertainment memorabilia, toys, games,
militaria, and books.

14. $1200 for any one electrical appliance for
loss by sudden and accidental damage from
artificially generated electrical currents. This
special limit does not apply to electronic
data processing equipment or storage
media.

in the event Landlord Endorsement FMHO 3307
is part of this policy, the above coverage
contained in Special Limits of Liability
introductory paragraph and subparagraphs

11 through 14 are deleted.

Property Not Covered under COVERAGE C -
Personal Property

The final two subparagraphs of Item 3. (a. and
b.) are replaced by the following:

We do cover vehicles or conveyances not
subject to motor vehicle registration which are:

a. Used solely to service an “insured's
residence; or

b. Designed for assisting the handicapped;

In the event Landlord Endorsement FMHO 3307
is part of this policy, the above coverage
contained in the final two subparagraphs of
Item 3. (a. and b.} is deleted.

Item 10. is added as personal property items
not covered.

10. Water or steam

ADDITIONAL COVERAGES is revised as
follows:

Item 7. Loss Assessment is deleted in its
entirety.

The following is added to Item 8. Collapse:
With respect to this Additional Coverage:

{1) Collapse means the sudden and
entire falling down or caving in of a
building or any part of a building
with the result that the building or
part of the building cannot be
occupied or used for its current
intended purpose.

(2) A building or any part of a building
that is in danger of falling down or
caving in is not considered to be in
a state of collapse.

(3) A part of a building that is standing
is not considered to be in a state of
collapse even if it has separated
from another part of the building.

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LM003125
FMHO 3389 0614

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 93 of 228

(4) A building or any part of a building
that is standing is not considered to
be in a state of collapse even if it
shows evidence of cracking,
bulging, sagging, bending, leaning,
settling, shrinkage or expansion.

Under Form HO 00 03, the following Additional
Coverage is added:

8. Damage to Siding and/or Roofing. In case

of damage to siding and/or roofing of the
covered dwelling and other structures at the
insured location, we will reimburse you for
the cost you incur, up to a maximum of
$15,000 in aggregate to replace any
undamaged siding, soffit, fascia, and/or
roofing material of like kind and quality to
match those materials that were used to
repair or replace the damaged property.

This coverage applies only if reasonably
similar siding and/or roofing materials are no
longer available to repair or replace the
damaged portion of the damaged covered
dwelling and other structures at the insured
location due to a covered peril.

This coverage does not apply to:

a. Mismatches caused by weathering,
fading, oxidizing, wear and _ tear,
deterioration, or product defect;

b. Damage to siding material other than
vinyl or metal siding;

c. Roofing material other than architectural
(laminated) asphalt shingle or 3-tab
asphalt shingle.

However, we will not pay to:

a. Replace siding and/or roofing material of
any undamaged dwelling or other
structure at the insured location in order
to match newly repaired or replaced
siding and/or roofing material of any
damaged dwelling or other structure;

b. Repair or replace undamaged roofing
and/or siding material due to mismatch
between undamaged material and new
material used to repair or replace
damaged material because of:

(1) Texture, quality, dimensional
differences color, fading;

(2) Oxidation, rust, corrosion,
weathering differences;

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{3) Wear and tear, marring, scratching,
deterioration;

(4) Inherent vice, latent defect,
mechanical breakdown;

(5) Obsolescence, discontinuation; or
(6) Material type variation.
SECTION | - PERILS INSURED AGAINST

COVERAGE A - DWELLING and COVERAGE B -
OTHER STRUCTURES

The following is added to item 2.b.
(4) Footing(s)

The following are added to itam 2.8. Any of the
following:

(8) Growth of trees, shrubs, plants or
lawns whether or not such growth
is above or below the surface of the
ground;

The final paragraph of item 2. is further revised
as follows:

If any of these cause sudden and accidental
water damage not otherwise excluded, from
a plumbing, heating, air conditioning or
automatic fire protective sprinkler system or
household appliance, we cover loss caused
by the water including the cost of tearing
out and replacing any part of a building
necessary to repair the system or appliance.
We do not cover loss to the system or
appliance from which this water escaped.

SECTION | - EXCLUSIONS

2. Earth Movement is deleted and replaced by
the following:

2. Earth Movement, meaning movement of
the earth, whether combined with water or
not, in any direction, including but not
limited to:

a. Earthquake, including land shock waves
or tremors before, during, or after a
volcanic eruption;

b. Landslide, mud slide, or mud flow;

Subsidence or sinkhole; or

d. Any other earth movement, including
earth sinking, rising, shifting,
expanding, contracting, or eroding;

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caused by or resulting from manmade,
animal, or natural actions, events, or
conditions.

If direct loss by fire or explosion ensues, we
will pay only for the ensuing loss.

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LM003126
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 94 of 228

This exclusion does not apply to loss by
theft.

{This is Exclusion 1.b. in Form HO 00 03.)

For form HO 00 O3, the following is added as
item 12.

12. Cosmetic Loss or Damage, meaning any
loss that alters only the physical appearance
of the metal roof covering but:

{1) does not result in the penetration of
water through the metal roof covering;
or

(2) does not result in the failure of the
metal roof covering to perform its
intended function of keeping out the
elements over an extended period of
time.

Metal roof covering means the metal roofing
material exposed to the weather; the
underlayments applied for moisture protection;
and all flashings required in the replacement of
a metal roof covering.

We do cover loss or damage by hail to roof
coverings that allow the penetration of water
through the roof covering or that results in the
failure of the roof covering ta perform its
intended function of keeping out the elements
over an extended period of time.

SECTION I - CONDITIONS
2. Your Duties After Loss

Paragraph a. is deleted and replaced by the
fallowing:

Give prompt notice to us or our agent. With
respect to a loss caused by the peril of
windstorm or hail, that notice must occur no
later than 365 days after the date of loss

3. Loss Settlement. Under form HO 00 06, the
following is added under item b.(2):

The following paragraph is added and
applies to this policy and to any Loss
Settlement provision in’ any — other
endorsement applicable to this policy:

Loss Settlement does not include payment
for any actual or perceived decrease in
market or resale value resulting from loss to
or repair of your covered property.

SECTION II - EXCLUSIONS

Item 1.a. under Coverage E - Personal
Liability and Coverage F - Medical Payments
to Others is amended as follows:

Which is expected or intended by the
"insured", even if the resulting “bodily
injury” or "property damage"

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1) is of a different kind, quality, or
degree than initially expected or
intended; or

2) ‘is sustained by a different person,
entity, real or personal property,
than initially expected or
intended.

However, this exclusion does not apply
to “bodily injury” resulting from the use
of reasonable force to protect persons
or property.

SECTION II - ADDITIONAL COVERAGES

Item 1.¢c. under Claims Expenses is amended as
follows:

Reasonable expenses incurred by = an
"insured" at our request, including actual
loss of earnings {but not loss of other
income) up to $250 per day, for assisting
us in the investigation or defense of a claim
or suit.

Item 4. Loss Assessment is deleted in its
entirety.

All other policy terms and conditions apply.

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LM003127
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 95 of 228

INSURANCE

HOMEOWNER AMENDATORY ENDORSEMENT

THIS ENDORSEMENT CHANGES YOUR POLICY - PLEASE READ IT CAREFULLY

THIS ENDORSEMENT SUPERSEDES ALL OTHER ENDORSEMENTS WHICH HAVE BEEN MADE PART
OF YOUR POLICY AND REFERENCE THESE SAME PROVISIONS

DEFINITIONS
The introductory paragraph of Definitions is amended to read:

In this policy, "you" and "your" refer to the “named insured” shown in the Declarations and
(1) the spouse of the "named insured" shown on the Declarations, if a resident of the sare
household; or
(2) the partner in a civil union, registered domestic partnership, or similar union or partnership, with
the "named insured" shown on the Declarations, if a resident of the same household.
Section (2), above, only applies if the civil union, registered domestic partnership or other similar
union or partnership is validly entered into under the law of any state, territory or possession of the
United States of America, any territory or province of Canada, or the equivalent of a state or
province in any other country.
“We,” "us" and “our” refer to the Company providing this insurance. In addition, certain words and
phrases are defined as follows:

SECTIONS I AND II - CONDITIONS
The introductory paragraph of 9. Death. is amended to read:

If any person named in the Declarations or the spouse, if a resident of the same household; or the
partner in a civil union, registered domestic partnership or similar union or partnership, if a resident of
the same household, dies:

FMHO 2934 (Ed. 7/04) Liberty Mutual Insurance Group Page 1 of 1

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 96 of 228

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NO SECTION II - LIABILITY COVERAGES FOR HOME DAY
CARE BUSINESS LIMITED SECTION I - PROPERTY COVERAGES
FOR HOME DAY CARE BUSINESS HO-322 WA {Ed. 6-92)

If an insured regularly provides home day care services to a person or persons other than insureds and
receives monetary or other compensation for such services, that enterprise is a business. Mutual
exchange of home day care services, however, is not considered compensation. The rendering of home
day care services by an insured to a relative of an insured is not considered a business.

Therefore, with respect to a home day care enterprise which is considered to be a business, this policy:

1. does not provide Section II - Liability Coverages because a business of an insured is excluded under
exclusion 1.b.(1) of Section II - Exclusions;

2. does not provide Section | - Coverage B coverage where other structures are used in whole or in
part for business;

3. limits coverage for property used on the residence premises for home day care enterprise to
$2,500, because Coverage C - Special Limits of Liability - item 9 imposes that limit on business
property on the residence premises. (Item 9 corresponds to item 6 in Form HO-8};

4. limits coverage for property used off the residence premises for home day care enterprise to $250,
because Coverage C - Special Limits of Liability - item 10 imposes that limit on business property
off the residence premises. (Item 10 corresponds to item 7 in Form HO-8.}

THIS ENDORSEMENT DOES NOT CONSTITUTE A REDUCTION OF COVERAGE.

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LM003129
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 97 of 228

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AMENDATORY MOLD, FUNGUS, WET ROT, DRY ROT, BACTERIA, OR
VIRUS ENDORSEMENT

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
DEFINITIONS
The following definition is added to the DEFINITIONS section:

12. “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" means any type or form of fungus, rot,
virus or bacteria. This includes mold, mildew and any mycotoxins (meaning a toxin produced
by a fungus), other microbes, spores, scents or byproducts produced or released by mold,
mildew, fungus, rot, bacteria, or viruses.

SECTION I - PROPERTY COVERAGES
Additional Coverages
The following Additional Coverage is added:

9. Remediation of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" Resulting Directly From
Any Covered Loss

We will pay, up to the Additional Coverage — Mold Limit of Liability shown below, for the
“Remediation” of “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” resulting directly from any
covered loss.

“Remediation” means the reasonable and necessary treatment, containment, decontamination,
removal or disposal of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" as required to complete
the repair or replacement of property, covered under Section | of the policy, that is damaged by any
covered peril insured against, and also consists of the following:

1. The reasonable costs or expense to remove, repair, restore, and replace that property
including the costs to tear out and replace any part of the building as needed to gain
access to the “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”; and

2, the reasonable costs or expense for the testing or investigation necessary to detect,
evaluate or measure "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus"; and

3. any loss of fair rental value, or reasonable increase in additional living expenses, that is
necessary to maintain your normal standard of living, if "Mold, Fungus, Wet Rot, Dry
Rot, Bacteria, or Virus” resulting directly from any covered loss makes your residence
premises uninhabitable.

We will pay no more than the Additional Coverage - Mold Limit of Liability shown below for the
“Remediation” of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" resulting directly from any
covered loss during the policy period, regardless of the number of locations under the policy to
which this endorsement is attached, the number of persons whose property is damaged, the
number of “insureds,”or the number of losses or claims made.

If there is a covered loss or damage to covered property, not caused, in whole or in part, by “Mold,
Fungus, Wet Rot, Dry Rot, Bacteria, or Virus,” Joss payment will not be limited by the terms of this
Additional Coverage, except to the extent that “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”
causes an increase in the loss. Any such increase in the loss will be subject to the terms of this
Additional Coverage.

FMHO 3373 12 12 Page 1 of 2

LM003130
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 98 of 228

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ADDITIONAL COVERAGE -- MOLD LIMIT OF LIABILITY
Mold Limit of Liability: SECTION | Aggregate Limit $5,000

This limitation does not apply to “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” ensuing from a
covered fire or lightning loss.

This Additional Coverage does not increase the limits of liability under Section | of the policy as shown
in the Declarations.

SECTION I —- EXCLUSIONS

Exclusion 12. is added:

12. Except as provided by Additional Coverage 9., loss consisting of or caused by "Mold,
Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" is excluded, even if resulting from a peril
insured against under Section |. We do not cover "Remediation" of "Mold, Fungus, Wet Rot,
Dry Rot, Bacteria, or Virus,” even if resulting from a peril insured against under Section I,
except as provided by Additional Coverage 9.

This exclusion does not apply to “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” ensuing from a
covered fire or lightning loss.

SECTION II - EXCLUSIONS

Coverage E - Personal Liability and Coverage F - Medical Payments to Others
Exclusion 1.i. is added:

i. Arising out of or aggravated by, in whole or in part by, “Mold, Fungus, Wet Rot, Dry Rot,
Bacteria, or Virus.”

This endorsement takes precedence over all other endorsements attached to your policy.

FMHO 3373 12 12 Page 2 of 2

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LM003131
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 99 of 228

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SEEPAGE EXCLUSION ENDORSEMENT
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
SECTION i - PERILS INSURED AGAINST
Coverage A — Dwelling and Coverage B — Other Structures
Paragraph 2.e. is added:

e. Seepage, meaning a gradual, continuous, or repeated seepage or leakage of water, steam or fuel
over a period of 14 days or more, resulting in damage to the structure, whether hidden or not.

This endorsement takes precedence over all other endorsements attached to your policy.

FMHO 3403 12 12 Page 1 of 1

LM003132
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 100 of 228

S.F. FORM Form 438BFU NS
(Rev. May 1, 1942) X

LENDER'S LOSS PAYABLE ENDORSEMENT

1. Loss or damage, if any, under this policy, shall be paid to the Payee named on the first page of this
policy, its successors and assigns, hereinafter referred to as “the Lender”, in whatever form or capacity its
interests may appear and whether said interest be vested in said Lender in its individual or in its disclosed or
undisclosed fiduciary or representative capacity, or otherwise, or vested in a nominee or trustee of said

ender.

2, The insurance under this policy, or any rider or endorsement attached thereto, as to the interest only of
the Lender, its successors and assigns, shall not be invalidated nor suspended: (a) by any error, omission, or
change respecting the ownership, description, possession, or location of the subject of the insurance or the
interest therein, or the title thereto; (b) by the commencement of foreclosure proceedings or the giving of notice
of sale of any of the property covered by this policy by virtue of any mortgage or trust deed; (c) by any breach
of warranty, act, omission, neglect, or non-compliance with any of the provisions of this policy, including any
and all riders now or hereafter attached thereto, by the named insured, the borrower, mortgagor, trustor,
vendee, owner, tenant, warehouseman, custodian, occupant, or by the agents of either or any of them or by the
happening of any event permitted by them or either of them, or their agents, or which they failed to prevent,
whether occurring before or after the attachment of this endorsement, or whether before or after a loss, which
under the provisions of this policy of insurance or of any rider or endorsement attached thereto would
invalidate or suspend the insurance as to the named insured, excluding herefrom, however, any acts or
omissions of the Lender while exercising active control and management of the property.

3. In the event of failure of the insured to pay any premium or additional premium which shall be or
become due under the terms of this policy or on account of any change in occupancy or increase in hazard not
permitted by this policy. this Company agrees to give written notice to the Lender of such non-payment of
premium after sixty (60) days from and within one hundred and twenty (120) days after due date of such
premium and it is a condition of the continuance of the rights of the Lender hereunder that the Lender when so
notified in writing by this Company of the failure of the insured to pay such premium shall pay or cause to be
paid the premium due within ten (10) days following receipt of the Company's demand in writing therefor. If the

ender shall decline to pay said premium or additional premium, the rights of the Lender under this Lender's
Loss Payable Endorsement shall not be terminated before ten (10) days after receipt of said written notice by
the Lender.

4, Whenever this Company shall pay to the Lender any sum for loss or damage under this policy and shall
claim that as to the insured no liability therefor exists, this Company, at its option, may pay to the Lender the
whole principal sum and interest and other indebtedness due or to become due from the insured, whether
secured or unsecured, (with refund of all interest not accrued), and this Company, to the extent of such
payment, shall thereupon receive a full assignment and transfer, without recourse, of the debt and all rights
and securities held as collateral thereto.

5. If there be any other insurance upon the within described property, this Company shall be liable under
this policy as to the Lender for the proportion of such loss or damage that the sum hereby insured bears to the
entire insurance of similar character on said property under policies held by, payable to and expressly
consented to by the Lender. Any Contribution Clause included in any Fallen Building Clause Waiver or any
Extended Coverage Endorsement attached to this contract of insurance is hereby nullified, and also any
Contribution Clause in any other endorsement or rider attached to this contract of insurance is hereby nullified
except Contribution Clauses for the compliance with which the insured has received reduction in the rate
charged or has received extension of the coverage to include hazards other than fire and compliance with such
Contribution Clause is made a part of the consideration for insuring such other hazards. The Lender upon the
payment to it of the full amount of its claim, will subrogate this Company (pro rata with all other insurers
contributing to said payment) to all of the Lender's rights of contribution under said other insurance.

6. This Company reserves the right to cancel this policy at any time, as provided by its terms, but in such
case this policy snall continue in force for the benefit of the Lender for ten (10) days after written notice of such
cancellation is received by the Lender and shall then cease.

7. This policy shall remain in full force and effect as to the interest of the Lender for a period of ten (10)
days after its expiration unless an acceptable policy in renewal thereof with loss thereunder payable to the
Lender in accordance with the terms of this Lender's Loss Payable Endorsement, shall have been issued by
some insurance company and accepted by the Lender.

8. Should Jegal title to and beneficial ownership of any of the property covered under this policy become
vested in the Lender or its agents, insurance under this policy shall continue for the term thereof for the benefit
of the Lender but, in such event, any privileges granted by this Lender's Loss Payable Endorsement which are
not also granted the insured under the terms and conditions of this policy and/or under other riders or
endorsements attached thereto shall not apply to the insurance hereunder as respects such property.

9. All notices herein provided to be given by the Company to the Lender in connection with this policy and

this Lender's Loss Payable Endorsement shall be mailed to or delivered to the Lender at its office or branch
described on the first page of the policy.

Approved:

Board of Fire Underwriters of the Pacific,
California Bankers’ Association,
Committee on Insurance.

LM003133
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 101 of 228

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INFLATION PROTECTION ENDORSEMENT
It is agreed that the limits of liability for:

Coverage A, Dwelling;

Coverage B, Structure;

Coverage C, Personal Property;

and Coverage D, Loss of Use,
shall be raised by the rate of increase in the Xactware Pricing Indices published by Xactware Inc.
METHOD
To find the limits of liability on a given date, the Index Level the Company assigns to that date will be
divided by the Index Level for the effective date of this Endorsement. This Factor is then multiplied by

the limit for Coverages A, B, C and D separately.

If during this policy's term the Coverage A limit is changed at the insured’s request, the effective date
of this Endorsement is amended to the effective date of such change.

This Endorsement shall not reduce the limits of liability to less than the amount shown on:

a. The policy; or
b. The mast recent Homeowners Policy Renewal Declaration.

This Endorsement must be attached to Change Endorsement when issued after the policy is written.

FMHO 3219 10 09 Page 1 of 1

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 102 of 228

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PREMISES ALARM OR FIRE PROTECTION SYSTEM HO-216 (Ed. 4-84)

For a premium credit, we acknowledge the installation of an alarm system or automatic sprinkler system
approved by us on the residence premises. You agree to maintain this system in working order and to
notify us promptly of any change made to the system or if it is removed.

 

HO-216 (Ed. 4-84) Copyright, Insurance Services Office, Inc., 1984 Page 1 of 1

LM003135
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 103 of 228

INSURANCE

LEAD POISONING EXCLUSION ENDORSEMENT - WASHINGTON

The following provisions are added to and made part of your Homeowners Policy:
Section | - Property Coverages do not apply to any costs or expenses incurred or loss arising out of:

1. the removal, testing for, monitoring, clean-up, abatement, treatment, or neutralization of lead;
paint, putty or plaster containing Jead; soil or earth containing lead; or any other substance or
material containing lead; or

2. any governmental direction or other request that you test for, monitor, clean-up, remove,
abate, contain, treat or neutralize lead; paint, putty or plaster containing lead; soil or earth
containing lead; or any other substance or material containing lead.

Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily
injury or property damage:

1. arising out of absorption, ingestion or inhalation of lead from lead paint, plaster or putty
containing lead; soil or earth containing lead or any other material or substance containing lead;
or

2. any costs or expenses incurred or loss arising out of any claim, governmental direction, or
request that you test for, monitor, cleanup, remove, abate, contain, treat or neutralize lead;
paint, putty or plaster containing lead; or any other substance or material containing lead.

This exclusion applies to any obligation to share damages, costs or expenses with someone else or to
repay someone else who must pay damages, costs or expenses.

FMHO 1082 (ED. 9-95) Page 1 of 1

LM003136
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 104 of 228

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ORDINANCE OR LAW COVERAGE - WASHINGTON

For the Premium charged, the percentage applied to the Coverage A limit of liability under Form HO 00
03 or Form HO 00 06, or the percentage applied to the building Additions and Alterations limit of
liability under Form HO 00 04, is increased to 10%. This applies to covered property or the building
containing the covered property for loss resulting from a Peril Insured Against. The loss will be settled
on the basis of any ordinance or law that regulates the construction, repair or demolition of this
property.

All other provisions of this policy apply.

FMHO 2055 Page 1 of 1

LM003137
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 105 of 228

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INSURANCE

UNDERGROUND FUEL STORAGE TANK EXCLUSION

The following provision is added to and made part of your Homeowners Policy:
Section II - Exclusions
The Paragraph below is added:

Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to “bodily
injury” or “property damage":

arising out of the release of fuel or fuel products from an "underground storage tank system."

“Underground storage tank system" means the underground tank, the fill pipe, the vent pipes, and
all associated fixtures, including pipe and tubing which contains or conveys fuel or fuel products
from the underground storage tank to the point of combustion.

All other provisions of this policy apply.

FMHO 3209 10 09 Page 1 of 1

LM003138
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 106 of 228
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WAIVER OF SMALL PREMIUM ADJUSTMENT

Section | and II - Conditions, Item #4. Waiver or Change of Policy Provisions is changed by adding this
sentence: If a change results in a premium adjustment of less than $3.00, the refund or additional
premium will be waived unless the insured requests a refund.

FMHO 3220 10 09 Liberty Mutual Group Page 1 of 1

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 107 of 228

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Notice of Membership in Liberty Mutual Holding Company Inc.

While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

The named insured first named in the Declarations shall participate in the distribution of any dividends
declared by us for this Policy. The amount of such Named Insured's participation is determined by the
decision of our Board of Directors in compliance with any laws that apply.

Any provisions in the policy relating to:
1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or

2. Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
Insurance Company

are deleted and replaced by the preceding paragraphs.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 108 of 228

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 109 of 228

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Liberty Mutual Office

14900 Interurban Ave S Ste 142
Tukwila WA 98168

Rani J Thykkuttathil

10403 67th Ave S
Seattle WA 98178-2518

Thank you for insuring
with Liberty Mutual.

This package contains your homeowners insurance policy. The
declarations page summarizes your selected coverages and lists any
discounts and savings. Please refer to the Change Detail section for a
description of the changes applied to your policy.

Please review this information and keep it with your important
documents. For your reference, we have provided A Guide to
Your Declarations Page on the reverse side of this letter.

Remember, you can visit LibertyMutual.com/eService 24 hours a day to
get information and manage your Liberty Mutual account.

If you have any questions about your coverage, please call us at
1-206-277-7838/ 1-800-922-7013.

Sincerely,
Your Liberty Mutual Service Team

THIS IS NOT YOUR HOME INSURANCE BILL.

 
 

  

INSURANCE

AUTO | HOME

CONTACT US

Questions About

Your Policy

By phone
1-206-277-7838
1-800-922-7013

Mon - Fri 8AM-10PM EST
Sat BAM-8PM EST

Sun 11AM-5PM EST

Liberty Mutual Office

14900 Interurban Ave S Ste 142
Tukwila WA 98168

Visit us online
LibertyMutual.com

To report a claim

By phone
4-800-2CLAIMS
(1-800-225-2467)

Online
LibertyMutual.com/Claims

Mobile

Scan QR Code with your iPhone
or Android smartphone to
download the claims app or
download a free reader app at
www.i-nigma.mobi

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 110 of 228

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A Guide to Your Declarations Page

To help you understand where to find information on your Policy Declarations page, below
are descriptions of the different sections that may appear.

For information pertaining to your own policy, please refer to the enclosed Policy
Declarations Page, which declares the specific details of the insurance policy you have
purchased. If you have any questions, please call us at 1-206-277-7838/1-800-922-7013.

Coverage Information

Standard Policy Coverages

This section includes the basic coverages to protect your home and property with
corresponding coverage limits, which are the amounts available for covered losses.
Section | Coverages apply to property loss and Section || Coverages apply to liability
protection for accidental bodily injury or property damage.

Additional Coverages

Optional coverages you have selected are listed in this section. These coverages
enhance your policy and/or increase your limits for certain coverages.

Scheduled Property
If you elect to purchase additional coverage for specific items such as jewelry or
silverware, your scheduled personal property is listed with the applicable limits.

Other Charges

If there are any additional charges applied to your policy, they will be listed in this section,
and may include charges that are required by your state.

Discounts and Benefits

This section lists the discounts applied to your policy. Fora list of available discounts,
please visit LibertyMutual.com/home-discounts .

Endorsements

Endorsements included on your policy are listed in this section. An endorsement is a change
to your policy.

Important Messages
This section contains special notes about certain coverages or state-specific information.

Please visit LibertyMutual.com/insurance-glossary for our Insurance
Glossary, which includes explanations of some key terms.

This Guide is intended to provide a general explanation only and is not part of your
insurance policy. The provisions, limitations and exclusions of your insurance policy,
including your Policy Declarations, will determine whether a claim is covered. You should
carefully review your contract for specific details pertaining to your policy.

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 111 of 228

 

 

 

: : Liberty

Policy Declarations eee

A summary of your homeowners insurance coverage

Reason for your new declarations page: Changes made to your policy

Please refer to the Change Detail section on page 2 for more information.

Effective date of this change: 02/27/2014 QUESTIONS ABOUT

©) INSURANCE INFORMATION YOUR POLICY?

Named Insured Policy Number By phone i

Rani J Thykkuttathil H32-268-030846-40 1-206-277-7838 8 on
1-800-922-7013 ae

Mailing Address Policy Period i i 3
Liberty Mutual Off a

10403 67th Ave S 11/12/2013-11/12/2014 12:01AM 1aa08 eee Abe

Seattle WA 98178-2518 standard time at the address of the S Ste 142

Insured Location Named Insured at Insured Location. Tukwila WA 98168

Same as Mailing address above :
9 To report a claim

 

 

 

 

 

 

 

 

 

 

By phone
3 1-800-225-2467
Premium Summary Online
Standard Policy $ 1,621.00 LibertyMutual.com/Claims
Additional Coverages $ 180.00
Discounts and Benefits $ (464.00) &y INSURANCE GLOSSARY
Total 12 Month Policy Premium $ 1,337.00 ue ae oa
. . visit LibertyMutual.com/
Through your affiliation with the University of Washington Alumni Association your insurance-glossary.
policy includes exclusive group savings on your home insurance.
THIS IS NOT YOUR HOME INSURANCE BILL.
Coverage Information
Your policy includes
| Standard Policy | HomeProtector Plus,
which provides enhanced
Section | Coverages LIMITS PREMIUM coverage in case of a loss.
. Please see your
A. Dwelling with Expanded Replacement Cost $ 429,500 endorsement for details.
B. Other Structures on Insured Location $ 42,950
C. Personal Property with Replacement Cost $ 322,130
D. Loss of Use of Insured Location Actual Loss Sustained
Section II Coverages
E. Personal Liability (each occurrence) $ 300,000
F, Medical Payments to Others (each person) $ 5,000
Policy Deductibles
Losses covered under Section | are subject to a deductible of $1,000
Total Standard Policy $ 1,621
| Additional Coverages |
DEDUCTIBLE LIMITS PREMIUM
Credit Card, Fund Transfer Card, $ 1,000 5 0
Forgery
Home Protector Plus $ 154

27/2014

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Page 1 of 3

FMHO 3047 05 12 Policy Number: H32-268-030846-40 36 Declarations Effective: 02/

        

     

 
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 112 of 228

 

 

 

 

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Coverage Information (continued)
| Additional Coverages (continued) |
DEDUCTIBLE LIMITS PREMIUM
Coverage E & F increased limit $ 26
Total Additional Coverages $ 180
Discounts and Benefits
Your discounts and benefits h li i i
its have been applied to your total policy premium. (= HOME DISCOUNTS
PREMIUM For more information on
e Insurance to Value Discount $ (93) discounts, please visit
e Inflation Protection Discount $ (46) LibertyMutual.com/
e Safe Homeowner Program $ (232) home-discounts.

e Group Savings Plus® (5% discount included in total policy premium)
University of Washington Alumni Association

e Protective Device Discounts: $ (93)
Smoke/Heat Alarm-All Floors, Extinguishers and Dead Bolt Locks
Total Discounts and Benefits $ (464)

Change Detail

Change Mortgagee 1
Changes made to your policy for Policy Change 1.
There is no premium increase for above changes.

 

Endorsements — Changes to Your Policy

 

e LibertyGuard® Deluxe Homeowner Policy eo Home Protector Plus (FMHO-2171 R2)
(HO-3WA 05/91)

e Credit Card, Fund Transfer Card, Forgery e Homeowner Amendatory Endorsement
(HO-53 04/84) (FMHO 3389 1212)

e Amendmt Pol Definitions (FMHO-2934 7/04) e No Secll/Limit |-Daycare (HO-322WA 06/92)

e Amendatory Mold End (FMHO 3373 1212) e@ Seepage Exclusion Endorsement

(FMHO 3403 1212)

e Inflation Protection (FMHO 3219 1009) e Protective Devices (HO-216 04/84)

» Lead Poisoning Exclusion - WA e Increased Ord Or Law (FMHO-2055)
(FMHO-1082 9/95)

e Fuel Storage Exclusion (FMHO 3209 1009) e Waiver of Small Premium Adjustment

(FMHO 3220 1009)
eo LMHC Membership (2340)

Mortgage Information

 

Mortgagee 1:

BECU

ISAOA, ATIMA

C/O CENLAR

LOAN NO. 0055931281
PO Box 202028

Florence, SC 29502-2028

Important Messages

Flood Insurance: This policy does not cover damage to your property caused by flooding. The federal
government offers flood insurance through the National Flood Insurance Program to residents of
communities that participate in its program. You can learn more about the National Flood Insurance
Program at www.floodsmart.gov or by calling (888) 379-9531.

 

Policy Number: H32-268-030846-40 36 Declarations Effective: 02/27/2014 Page 2 of 3

 

FMHO 3047 05 12
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 113 of 228

 

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LibertyGuard® Deluxe Homeowners Policy Declarations This policy, including endorsements
Coverage provided and underwritten by Liberty Mutual Fire Insurance Company, Boston listed above, is countersigned by:
MA.
Date f la hue V Siethen<y, UA
" ‘ wang
Dexter R. Legg David H. Long Stephen McAnena
Secretary President Authorized Representative

FMHO 3047 05 12 Policy Number: H32-268-030846-40 3 6 Declarations Effective: 02/27/2014 Page 3 of 3

   
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 114 of 228

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LibertyGuard Homeowners Policy

Please read your policy and each endorsement carefully.

 

To serve you best...

Liberty Mutual has over 350 service offices throughout the United States
and Canada. Please contact your service office shown on your Declarations
Page to report losses, or for any changes or questions about your insurance.
Payments should be sent to the office indicated on your bill.

THIS POLICY IS NON ASSESSABLE

FMHO 3216 10 09
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 115 of 228

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Homeowners 3WA
Special Form

Washington

 

AGREEMENT

We will provide the insurance described in this policy in return for the premium and compliance with all
applicable provisions of this policy.

 

 

DEFINITIONS

 

In this policy, "you" and “your" refer to the "named insured" shown in the Declarations and the spouse
if a resident of the same household. "We," “us” and "our" refer to the Company providing this
insurance. In addition, certain words and phrases are defined as follows:

1. “bodily injury" means bodily harm, sickness or disease, except a disease which is transmitted by an
insured through sexual contact. "Bodily injury” includes required care, loss of services and death
resulting from covered bodily harm, sickness or disease.

2. “business” includes trade, profession or occupation.

3. “insured" means you and residents of your household who are:
a. your relatives; or
b, other persons under the age of 21 and in the care of any person named above.
Under Section Il, "insured" also means:

c. with respect to animals or watercraft to which this policy applies, any person or organization
legally responsible for these animals or watercraft which are owned by you or any person
included in 3a or 3b above. A person or organization using or having custody of these animals
or watercraft in the course of any business or without consent of the owner is not an insured;

d. with respect to any vehicle to which this policy applies:
(1) persons while engaged in your employ or that of any person included in 3a or 3b above; or
(2) other persons using the vehicle on an insured location with your consent.

4. “insured location" means:

a. the residence premises;

b. the part of other premises, other structures and grounds used by you as a residence and:
(1) which is shown in the Declarations; or
(2) which is acquired by you during the policy period for your use as a residence;

c. any premises used by you in connection with a premises in 4a or 4b above;

d. any part of a premises:
(1) not owned by an insured; and
(2) where an insured is temporarily residing;

e@. vacant land, other than farm land, owned by or rented to an insured;

f. land owned by or rented to an insured on which a one or two family dwelling is being built as a
residence for an insured;

g. individual or family cemetery plots or burial vaults of an insured; or
h. any part of a premises occasionally rented to an insured for other than business use.

5. “occurrence” means an accident, including continuous or repeated exposure to substantially the
same general harmful conditions, which results, during the policy period, in:

a. bodily injury; or
b. property damage.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 116 of 228

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"property damage" means physical injury to, destruction of, or loss of use of tangible property.

"residence employee" means:

a. an employee of an insured whose duties are related to the maintenance or use of the residence
premises, including household or domestic services; or

b. one who performs similar duties elsewhere not related to the business of an insured.

8. “residence premises” means:

a. the one family dwelling, other structures, and grounds; or

b. that part of any other building;

where you reside and which is shown as the “residence premises" in the Declarations.

“Residence premises" also means a two family dwelling where you reside in at least one of the

family units and which is shown as the "residence premises” in the Declarations.

9. “actual cash value" means:

a. When the damage to property is economically repairable, "actual cash value" means the cost of
repairing the damage, less reasonable deduction for wear and tear, deterioration and
obsolescence.

b. When the loss or damage to property creates a total loss, "actual cash value" means the market
value of property in a used condition equal to that of the destroyed property, if reasonably
available on the used market.

c. Otherwise, “actual cash value" means the market value of new, identical or nearly identical
property less reasonable deduction for wear and tear, deterioration and obsolescence.

10. “replacement cost" means:

a. In case of loss or damage to buildings, “replacement cost" means the cost, at the time of loss,
to repair or replace the damaged property with new materials of like kind and quality, without
deduction for depreciation.

b. In case of loss to personal property, "replacement cost" means the cost, at the time of loss, of
a new article identical to the one damaged, destroyed or stolen. When the identical article is no
longer manufactured or is not available, “replacement cost" means the cost of a new article
similar to the one damaged or destroyed and which is of comparable quality and usefulness,
without deduction for depreciation.
11. "fully enclosed building” means:

A building with continuous walls on all sides, extending from the ground level to the roof, with
doors and windows (as deemed necessary) at various locations in the walls and including a
continuous roof sheltering all areas within the wall perimeter.

™

 

SECTION | - PROPERTY COVERAGES

 

COVERAGE A - Dwelling
We cover:

1. the dwelling on the residence premises shown in the Declarations, including structures attached to
the dwelling; and

2. materials and supplies located on or next to the residence premises used to construct, alter or repair
the dwelling or other structures on the residence premises.

This coverage does not apply to land, including land on which the dwelling is located.

COVERAGE 6B - Other Structures

We cover other structures on the residence premises set apart from the dwelling by clear space. This
includes structures connected to the dwelling by only a fence, utility line, or similar connection.

This coverage does not apply to land, including land on which the other structures are located.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 117 of 228

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We do not cover other structures:
1. used in whole or in part for business; or

2. rented or held for rental to any person not a tenant of the dwelling, unless used solely as a private
garage.

The limit of liability for this coverage will not be more than 10% of the limit of liability that applies to
Coverage A. Use of this coverage does not reduce the Coverage A limit of liability.
COVERAGE C - Personal Property

We cover personal property owned or used by an insured while it is anywhere in the world. At your
request, we will cover personal property owned by:

1. others while the property is on the part of the residence premises occupied by an insured;
2. a guest or a residence employee, while the property is in any residence occupied by an insured.

Our limit of liability for personal property usually located at an insured’s residence, other than the
residence premises, is 10% of the limit of liability for Coverage C, or $1000, whichever is greater.
Personal property in a newly acquired principal residence is not subject to this limitation for the 30 days
from the time you begin to move the property there.

Special Limits of Liability. These limits do not increase the Coverage C limit of liability. The special limit
for each numbered category below is the total limit for each loss for all property in that category.

1. $200 on money, bank notes, bullion, gold other than goldware, silver other than silverware,
platinum, coins and medals.

2. $1000 on securities, accounts, deeds, evidences of debt, letters of credit, notes other than bank
notes, manuscripts, personal records, passports, tickets and stamps. This dollar limit applies to
these categories regardless of the medium (such as paper or computer software) on which the
material exists.

This limit includes the cost to research, replace or restore the information from the lost or damaged
material.

$1000 on watercraft, including their trailers, furnishings, equipment and outboard motors.
$1000 on trailers not used with watercraft.

$1000 on grave markers.

$1000 for loss by theft of jewelry, watches, furs, precious and semi-precious stones.
$2000 for loss by theft of firearms.

$2500 for loss by theft of silverware, silver-plated ware, goldware, gold-plated ware and
pewterware. This includes flatware, hollowware, tea sets, trays and trophies made of or including
silver, gold or pewter.

9. $2500 on property, on the residence premises, used at any time or in any manner for any business
purpose.

10. $250 on property, away from the residence premises, used at any time or in any manner for any
business purpose.

Property Not Covered. We do not cover:
1. articles separately described and specifically insured in this or other insurance;
2. animals, birds or fish;
3. motor vehicles or all other motorized land conveyances. This includes:
a. their equipment and accessories; or

b. any device or instrument for the transmitting, recording, receiving or reproduction of sound or
pictures which is operated by power from the electrical system of motor vehicles or all other
motorized land conveyances, including:

(1) accessories or antennas; or
{2) tapes, wires, records, discs or other media for use with any such device or instrument;
while in or upon the vehicle or conveyance.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 118 of 228

INSURANCE

We do cover vehicles or conveyances:

a. not subject to licensing requirements which are used exclusively to service an insured's
residence; or

b. which are both designed and used exclusively for assisting the handicapped and have a
maximum attainable speed of 10 miles per hour:

4. aircraft and parts. Aircraft means any contrivance used or designed for flight, except model or
hobby aircraft not used or designed to carry people or cargo;

5. property of roomers, boarders and other tenants, except property of roomers and boarders related

to an insured;

property in an apartment regularly rented or held for rental to others by an insured;

property rented or held for rental to others off the residence premises;

8. business data, including such data stored in:

a. books of account, drawings or other paper records; or

b. electronic data processing tapes, wires, records, discs or other software media.

However, we do cover the cost of blank recording or storage media, and of prerecorded computer
programs available on the retail market.

9. credit cards or fund transfer cards except as provided in Additional Coverages 6.

COVERAGE D - Loss of Use

The limit of liability for Coverage D is the total limit for all the coverages that follow.

1. lf a loss covered under this Section makes that part of the residence premises where you reside not
fit to live in, we cover, at your choice, either of the following. However, if the residence premises
is not your principal place of residence, we will not provide the option under paragraph b. below.

a. Additional Living Expense, meaning any necessary increase in living expenses incurred by you
so that your household can maintain its normal standard of living; or

b. Fair Rental Value, meaning the fair rental value of that part of the residence premises where you
reside less any expenses that do not continue while the premises is not fit to live in.

Payment under a. or b. will be for the shortest time required to repair or replace the damage or, if

you permanently relocate, the shortest time required for your household to settle elsewhere.

2. If a loss covered under this Section makes that part of the residence premises rented to others or
held for rental by you not fit to live in, we cover the:

Fair Rental Value, meaning the fair rental value of that part of the residence premises rented to
others or held for rental by you less any expenses that do not continue while the premises is not fit
to live in.

Payment will be for the shortest time required to repair or replace that part of the premises rented or
held for rental.

3. If a civil authority prohibits you from use of the residence premises as a result of direct damage to
neighboring premises by a Peril Insured Against in this policy, we cover the Additional Living
Expense or Fair Rental Value loss as provided under 1 and 2 above for no more than two weeks.

The perieds of time under 1, 2 and 3 above are not limited by expiration of this policy.

We do not cover loss or expense due to cancellation of a lease or agreement.

ADDITIONAL COVERAGES

1. Debris Removal. We will pay your reasonable expense for the removal of debris of covered property
if a Peril Insured Against that applies to the damaged property causes the loss.

This expense is included in the limit of liability that applies to the damaged property. If the amount
to be paid for the actual damage to the property plus the debris removal expense is more than the
limit of liability for the damaged property, an additional 5% of that limit of liability is available for
debris removal expense.

We will also pay your reasonable expense, up to $500 in the aggregate for the removal from the
residence premises of:

a. your tree(s) felled by the peril of Windstorm or Hail;

b. your tree(s) felled by the peril of Weight of Ice, Snow or Sleet; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page.119 of 228

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c. a neighbor's tree(s) felled by a Peril Insured Against under Coverage C;
provided the tree({s} damages a covered structure.

2. Reasonable Repairs. In the event that covered property is damaged by an applicable Peril Insured
Against, we will pay the reasonable cost incurred by you for necessary measures taken solely to
protect against further damage. If the measures taken involve repair to other damaged property, we

will pay for those measures only if that property is covered under this policy and the damage to that
property is caused by an applicable Peril Insured Against.

This coverage:

a. does not increase the limit of liability that applies to the covered property;

b. does not relieve you of your duties, in case of a loss to covered property, as set forth in Section
| Condition 2.d.

3. Trees, Shrubs and Other Plants. We cover trees, shrubs, plants or lawns, on the residence
premises, for loss caused by the following Perils Insured Against: Fire or lightning, Explosion, Riot
or civil commotion, Aircraft, Vehicles not owned or operated by a resident of the residence
premises, Vandalism or malicious mischief or Theft.

The limit of liability for this coverage will not be more than 5% of the limit of liability that applies to
the dwelling, or more than $500 for any one tree, shrub or plant. We do not cover property grown
for business purposes.

This coverage is additional insurance.

4, Fire Department Service Charge. We will pay up to $500 for your liability assumed by contract or
agreement for fire department charges incurred when the fire department is called to save or protect
covered property from a Peril Insured Against. We do not cover fire department service charges if
the property is located within the limits of the city, municipality or protection district furnishing the
fire department response.

This coverage is additional insurance. No deductible applies to this coverage.

5, Property Removed. We insure covered property against direct loss from any cause while being
removed from a premises endangered by a Peril Insured Against and for no more than 30 days while
removed. This coverage does not change the limit of liability that applies to the property being
removed,

6. Credit Card, Fund Transfer Card, Forgery and Counterfeit Money.

We will pay up to $500 for:

a. the legal obligation of an insured to pay because of the theft or unauthorized use of credit cards
issued to or registered in an insured’s name;

b. loss resulting from theft or unauthorized use of a fund transfer card used for deposit,
withdrawal or transfer of funds, issued to or registered in an insured's name;

c. loss to an insured caused by forgery or alteration of any check or negotiable instrument; and

d. loss to an insured through acceptance in good faith of counterfeit United States or Canadian
paper currency.

We do not cover use of a credit card or fund transfer card:

a. by aresident of your household;

b. by a person who has been entrusted with either type of card; or

c. if an insured has not complied with all terms and conditions under which the cards are issued.

All loss resulting from a series of acts committed by any one person or in which any one person is

concerned or implicated is considered to be one loss.

We do not cover loss arising out of business use or dishonesty of an insured.

This coverage is additional insurance. No deductible applies to this coverage.

Defense:

a. We may investigate and settle any claim or suit that we decide is appropriate. Our duty to
defend a claim or suit ends when the amount we pay for the loss equals our limit of liability.

b. If a suit is brought against an insured for liability under the Credit Card or Fund Transfer Card
coverage, we will provide a defense at our expense by counsel of our choice.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 120 of 228

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c. We have the option to defend at our expense an insured or an insured's bank against any suit
for the enforcement of payment under the Forgery coverage.

7. Loss Assessment: We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of direct loss to the property, owned by all members collectively, caused by a
Peril Insured Against under Coverage A - Dwelling, other than earthquake or land shock waves or
tremors before, during or after a volcanic eruption.

This coverage applies only to loss assessments charged against you as owner or tenant of the
residence premises.

We do not cover loss assessments charged against you or a corporation or association of property
owners by any governmental body.

The limit of $1000 is the most we will pay with respect to any one loss, regardless of the number
of assessments.

Condition 1. Policy Period, under Sections | and || Conditions, does not apply to this coverage.

8. Collapse. We insure for direct physical loss to covered property involving collapse of a building or
any part of a building caused only by one or more of the following:

a. Perils Insured Against in Coverage C - Personal Property. These perils apply to covered building
and personal property for loss insured by this additional coverage;

hidden decay;

hidden insect or vermin damage;

weight of contents, equipment, animals or people;
weight of rain which collects on a roof; or

use of defective material or methods in construction, remodeling or renovation if the collapse
occurs during the course of the construction, remodeling or renovation.

Loss to an awning, fence, patio, pavement, swimming pool, underground pipe, flue, drain, cesspool,
septic tank, foundation, retaining wall, bulkhead, pier, wharf or dock is not included under items b,
c, d, e, and f unless the loss is a direct result of the collapse of a building.

Collapse does not include settling, cracking, shrinking, bulging or expansion.
This coverage does not increase the limit of liability applying to the damaged covered property.

SECTION | - PERILS INSURED AGAINST

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COVERAGE A - DWELLING and
COVERAGE B - OTHER STRUCTURES

We insure against risks of direct loss to property described in Coverages A and B only if that loss is a
physical loss to property; however, we do not insure loss:

1. involving collapse, other than as provided in Additional Coverage 8;

2. caused by:

a. freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or
of a household appliance, or by discharge, leakage or overflow from within the system or
appliance caused by freezing. This exclusion applies only while the dwelling is vacant,
unoccupied or being constructed unless you have used reasonable care to:

{1) maintain heat in the building; or
(2) shut off the water supply and drain the system and appliances of water;
b. freezing, thawing, pressure or weight of water or ice, whether driven by wind or not, to a:
(1) fence, pavement, patio or swimming pool:
(2) foundation, retaining wall or bulkhead; or
(3) pier, wharf or dock;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page.121 of 228

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c. theft in or to a dwelling under construction, or of materials and supplies for use in the
construction until the dwelling is finished and occupied;

d. vandalism and malicious mischief or breakage of glass and safety glazing materials if the
dwelling has been vacant for more than 30 consecutive days immediately before the loss. A
dwelling being constructed is not considered vacant;

€. constant or repeated seepage or leakage of water or steam over a period of weeks, months or
years from within a plumbing, heating, air conditioning or automatic fire protective sprinkler
system or from within a household appliance;

f. (1) wear and tear, marring, deterioration;
(2) inherent vice, latent defect, mechanical breakdown;
(3) smog, rust, mold, wet or dry rot;
(4) smoke from agricultural smudging or industrial operations;
{5) release, discharge or dispersal of contaminants or pollutants;

(6) settling, cracking, shrinking, bulging or expansion of pavements, patios, foundations, walls,
floors, roofs or ceilings; or

(7) birds, vermin, rodents, insects or domestic animals.

But if loss or damage by collapse, as provided in ADDITIONAL COVERAGES, Collapse, results,
we will pay for that resulting loss or damage.

If any of these cause water damage not otherwise excluded from a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or household appliance, we cover loss
caused by the water including the cost of tearing out and replacing any part of a building
necessary to repair the system or appliance. We do not cover Joss to the system or appliance
from which this water escaped.

3. excluded under Section | - Exclusions.

Under items 1 and 2, any ensuing loss to property described in Coverages A and B not excluded or
excepted in this policy is covered.

COVERAGE C - Personal Property

We insure for direct physical loss to the property described in Coverage C caused by a peril listed below
unless the loss is excluded in Section | - Exclusions.

1. Fire or lightning.
2. Windstorm or hail.

This peril does not include loss to the property contained in a building caused by rain, snow, sleet,
sand or dust unless the direct force of wind or hail damages the building causing an opening in a
roof or wall and the rain, snow, sleet, sand or dust enters through this opening.

This peril includes loss to watercraft and their trailers, furnishings, equipment, and outboard motors,
only while inside a fully enclosed building.

Explosion.

Riot or civil commotion.

Aircraft, including self-propelled missiles and spacecraft.

Vehicles means a device designed or used to transport persons or property.
Smoke, meaning sudden and accidental damage from smoke.

This peril does not include loss caused by smoke from agricultural smudging or industrial operations,
such as slash burns.

8. Vandalism or malicious mischief.

9. Theft, including attempted theft and loss of property from a known place when it is likely that the
property has been stolen.

This peril does not include loss caused by theft:
a. committed by an insured;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 122 of 228

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b. in or to a dwelling under construction, or of materials and supplies for use in the construction
until the dwelling is finished and occupied; or

c. from that part of a residence premises rented by an insured to other then an insured.
This peril does not include loss caused by theft that occurs off the residence premises of:

a. property while at any other residence owned by, rented to, or occupied by an insured, except
while an insured is temporarily living there. Property of a student who is an insured is covered
while at a residence away from home if the student has been there at any time during the 45
days immediately before the loss;

b. watercraft, including their furnishings, equipment and outboard motors; or
c. trailers and campers.
However, property described in b. above is covered if, at the time of loss caused by theft, it is

parked inside a private garage or in street parking areas immediately adjacent to the residence
premises.

10. Failing objects.
This peril does not include loss to property contained in a building unless the roof or an outside wall

of the building is first damaged by a falling object. Damage to the falling object itself is not
included.

11. Weight of ice, snow or sleet which causes damage to property contained in a building.

12. Accidental discharge or overflow of water or steam from within a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or from within a household appliance.

This peril does not include loss:
a. to the system or appliance from which the water or steam escaped;
b. caused by or resulting from freezing except as provided in the peril of freezing below; or

c. on the residence premises caused by accidental discharge or overflow which occurs off the
residence premises.

In this peril, a plumbing system does not include a sump, sump pump or related equipment.

13. Sudden and accidental tearing apart, cracking, burning or bulging of a steam or hot water heating
system, an air conditioning or automatic fire protective sprinkler system, or an appliance for heating
water.

We do not cover loss caused by or resulting from freezing under this peril.

14. Freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or of a
household appliance.

This peril does not include loss on the residence premises while the dwelling is unoccupied, unless
you have used reasonable care to:

a. maintain heat in the building; or
b. shut off the water supply and drain the system and appliances of water.

15, Sudden and accidental damage from artificially generated electrical current.

This peril does not include loss to a tube, transistor or similar electronic component.

16. Damage by glass or safety glazing material which is part of a building, storm door or storm window.
This peril does not include loss on the residence premises if the dwelling has been vacant for more
than 30 consecutive days immediately before the loss. A dwelling being constructed is not
considered vacant.

17. Volcanic Action, meaning direct loss or damage resulting from the eruption of a volcano when the
loss or damage is caused by:

a. volcanic blast or airborne shock waves;

b. ash, dust or particulate matter; or

c. lava flow,

This peril does not provide coverage for damage to land; property in the open or in open sheds; or
portions of buildings not completely enclosed, or personal property contained within those buildings.

All volcanic eruptions that occur within any 72-hour period will be considered as one volcanic
eruption.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 123 of 228

“INSURANCE

Direct loss includes the cost to remove the ash, dust or particulate matter from the interior and exterior
surfaces of the covered building and from personal property contained in the building.
Payment for removal applies only to the initial deposit of ash, dust or particulate matter following a

volcanic eruption. Subsequent deposits arising from the movement of volcanic dust or ash by wind or
other means are not covered.

 

SECTION | - EXCLUSIONS

 

We will not pay for loss or damage caused by any of the following excluded events as described in 1
through 11 below. Loss or damage will be considered to have been caused by an excluded event if that
event:

a. directly and solely results in loss or damage; or

b. initiates a sequence of events that results in loss or damage, regardless of the nature of any
intermediate or final event in that sequence.

1. Ordinance or Law, meaning enforcement of any ordinance or law regulating the construction, repair,
or demolition of a building or other structure, unless specifically provided under this policy.

2. Earth Movement, meaning earthquake including land shock waves or tremors before, during or after
a volcanic eruption; landslide; mudflow; earth sinking, rising or shifting; unless direct loss by:

a. fire;
b. explosion; or

c. breakage of glass or safety glazing material which is part of a building, storm door or storm
window;

ensues and then we will pay only for the ensuing loss.
This exclusion does not apply to loss by theft.
3. Water Damage, meaning:

a. flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these, whether or not driven by wind;

b. water which backs up through sewers or drains or which overflows from a sump; or

c. water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.

Direct loss by fire, explosion or theft resulting from water damage is covered.

4. Power Failure, meaning the failure of power or other utility service if the failure takes place off the
residence premises. But, if a Peril Insured Against ensues on the residence premises, we will pay
only for that ensuing loss.

5. Neglect, meaning neglect of the insured to use all reasonable means to save and preserve property
at and after the time of a loss.

6. War, including undeclared war, civil war, insurrection, rebellion, revolution, warlike act by a military
force or military personnel, destruction or seizure or use for a military purpose, and including any
consequence of any of these. Discharge of a nuclear weapon will be deemed a warlike act even if
accidental.

Nuclear Hazard, to the extent set forth in the Nuclear Hazard Clause of Section | - Conditions.
8. Intentional Loss, meaning any loss arising out of any act committed:
a. by or at the direction of an insured; and
b. with the intent to cause a loss.
9. Weather Conditions.
A weather condition which results in:
a. landslide or mudflow;
b. earth sinking, rising or shifting;

c. flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these,whether or not driven by wind;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 124 of 228

INSURANCE

d. water backing up from a sewer or drain or overflowing from a sump; or

e. water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.

However, if loss or damage by fire or explosion results, we will pay for that resulting foss or
damage.

10. Acts or decisions, including the failure to act or decide, of any person, group, organization or
governmental body. However, any ensuing loss to property described in Coverages A and B not
excluded or excepted in this policy is covered.

11. Faulty, inadequate or defective:
a. planning, zoning, development, surveying, siting;

b. design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
compaction;

c. materials used in repair, construction, renovation or remodeling; or
d. maintenance;
of part or all of any property whether on or off the residence premises.

However, any ensuing loss to property described in Coverages A and B not excluded or excepted in
this policy is covered.

 

SECTION | - CONDITIONS

 

1. Insurable Interest and Limit of Liability. Even if more than one person has an insurable interest in
the property covered, we will not be liable in any one loss:
a. to the insured for more than the amount of the insured's interest at the time of loss; or
b. for more than the applicable limit of liability.

2. Your Duties After Loss. In case of a loss to covered property, you must see that the following are
done:

a. give prompt notice to us or our agent;
b. notify the police in case of loss by theft;

c. notify the credit card or fund transfer card company in case of loss under Credit Card or Fund
Transfer Card coverage;

d. (1) protect the property from further damage;
(2) make reasonable and necessary repairs to protect the property; and
(3) keep an accurate record of repair expenses;

e. prepare an inventory of damaged personal property showing the quantity, description, actual
cash value and amount of loss. Attach all bills, receipts and related documents that justify the
figures in the inventory;

f. as often as we reasonably require:
(1) show the damaged property;
(2) provide us with records and documents we request and permit us to make copies; and

(3) submit to examination under oath, while not in the presence of any other insured, and sign
the same;

g. send to us, within 60 days after our request, your signed, sworn proof of loss which sets forth,
to the best of your knowledge and belief:

(1) the time and cause of loss;

{2) the interest of the insured and al! others in the property involved and all liens on the
property;

{3) ather insurance which may cover the loss;

(4) changes in title or occupancy of the property during the term of the policy;

(5) specifications of damaged buildings and detailed repair estimates;

(6) the inventory of damaged personal property described in 2e above;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 125 of 228

INSURANCE

(7) receipts for additional living expenses incurred and records that support the fair rental value
loss; and

(8) evidence or affidavit that supports a claim under the Credit Card, Fund Transfer Card,
Forgery and Counterfeit Money coverage, stating the amount and cause of loss.
3. Loss Settlement. Covered property losses are settled as follows:
a. (1) Personal property:
(2) Awnings, carpeting, household appliances, outdoor antennas and outdoor equipment,
whether or not attached to buildings; and
(3) Structures that are not buildings;
at actual cash value at the time of loss but not more than the amount required to repair or
replace.
b. Buildings under Coverage A or B at replacement cost without deduction for depreciation, subject
to the following:

(1) If, at the time of loss, the amount of insurance in this policy on the damaged building is
80% or more of the full replacement cost of the building immediately before the loss, we
will pay the cost to repair or replace, after application of deductible and without deduction
for depreciation, but not more than the least of the following amounts:

{a} the limit of liability under this policy that applies to the building;

{b) the replacement cost of that part of the building damaged for like construction and use
on the same premises; or

{c) the necessary amount actually spent to repair or replace the damaged building.

{2) {f, at the time of loss, the amount of insurance in this policy on the damaged building is less
than 80% of the full replacement cost of the building immediately before the loss, we will
pay the greater of the following amounts, but not more than the limit of liability under this
policy that applies to the building:

(a} the actual cash value of that part of the building damaged; or

(bo) that proportion of the cost to repair or replace, after application of deductible and
without deduction for depreciation, that part of the building damaged, which the total
amount of insurance in this policy on the damaged building bears to 80% of the
replacement cost of the building.

(3) To determine the amount of insurance required to equal 80% of the full replacement cost of
the building immediately before the loss, do not include the value of:

(a) excavations, foundations, piers or any supports which are below the undersurface of the
lowest basement floor;

(b) those supports in (a) above which are below the surface of the ground inside the
foundation walls, if there is no basement; and

(c} underground flues, pipes, wiring and drains.
(4) We will pay no more than the actual cash value of the damage unless:
(a) actual repair or replacement is complete; or
(b) the cost to repair or replace the damage is both:
(i) less than 5% of the amount of insurance in this policy on the building; and
(ii) less than $2500.

(5) You may disregard the replacement cost loss settlement provisions and make claim under
this policy for loss or damage to buildings on an actual cash value basis. You may then
make claim within 180 days after loss for any additional liability on a replacement cost
basis.

4, Loss to a Pair or Set. In case of loss to a pair or set we may elect to:
a. repair or replace any part to restore the pair or set to its value before the loss; or
b. pay the difference between actual cash value of the property before and after the loss.

5. Glass Replacement. Loss for damage to glass caused by a Peril Insured Against will be settied on
the basis of replacement with safety glazing materials when required by ordinance or law.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 126 of 228

INSURANCE

6. Appraisal. If you and we fail to agree on the amount of loss, either may demand an appraisal of the
loss. In this event, each party will choose a competent appraiser within 20 days after receiving a
written request from the other. The two appraisers will choose an umpire. If they cannot agree
upon an umpire within 15 days, you or we may request that the choice be made by a judge of a
court of record in the state where the residence premises is located. The appraisers will separately
set the amount of loss. If the appraisers submit a written report of an agreement to us, the amount
agreed upon will be the amount of loss. If they fail to agree, they will submit their differences to
the umpire. A decision agreed to by any two will set the amount of loss.

Each party will:
a. pay its own appraiser; and
b. bear the other expenses of the appraisal and umpire equally.

7. Other Insurance. If a loss covered by this policy is also covered by other insurance, we will pay
only the proportion of the loss that the limit of liability that applies under this policy bears to the
total amount of insurance covering the loss.

8. Suit Against Us. No action can be brought unless the policy provisions have been complied with
and the action is started within one year after the date of loss.

9. Our Option. If we give you written notice within 30 days after we receive your signed, sworn proof
of loss, we may repair or replace any part of the damaged property with like property.

10. Loss Payment. We will adjust all losses with you. We will pay you unless some other person is
named in the policy or is legally entitled to receive payment. Loss will be payable 30 days after we
receive your proof of loss and:

a. reach an agreement with you;

b. there is an entry of a final judgment; or

c. there is a filing of an appraisal award with us.

11. Abandonment of Property. We need not accept any property abandoned by an insured.

12. Mortgage Clause. Insurance Commissioner's Regulation No. 335/WAC-284-21-010 requires that
Form 372 {Ed. 11 -50) or Form 438 BFU (Ed. 5-42) be endorsed on this policy, if applicable.

13. No Benefit to Bailee. We will not recognize any assignment or grant any coverage that benefits a
person or organization holding, storing or moving property for a fee regardless of any other
provision of this policy.

14. Nuclear Hazard Clause.

a. "Nuclear Hazard" means any nuclear reaction, radiation, or radioactive contamination, all
whether controlled or uncontrolled or however caused, or any consequence of any of these.

b. Loss caused by the nuclear hazard will not be considered loss caused by fire, explosion, or
smoke, whether these perils are specifically named in or otherwise included within the Perils
Insured Against in Section |.

c. This policy does not apply under Section | to loss caused directly or indirectly by nuclear hazard,
except that direct loss by fire resulting from the nuclear hazard is covered.

15. Recovered Property. If you or we recover any property for which we have made payment under
this policy, you or we will notify the other of the recovery. At your option, the property will be
returned to or retained by you or it will become our property. If the recovered property is returned

to or retained by you, the loss payment will be adjusted based on the amount you received for the
recovered property.

 

SECTION II - LIABILITY COVERAGES

COVERAGE E - Personal Liability

If a claim is made or a suit is brought against an insured for damages because of bodily injury or

property damage caused by an occurrence to which this coverage applies, we will:

1. pay up to our limit of liability for the damages for which the insured is legally liable. Damages
include prejudgment interest awarded against the insured.

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 127 of 228

“INSURANCE

2. provide a defense at our expense by counsel of our choice, even if the suit is groundless, false or
fraudulent. We may investigate and settle any claim or suit that we decide is appropriate. Our duty
to settle or defend ends when the amount we pay for damages resulting from the occurrence equals
our limit of liability.

COVERAGE F - Medical Payments To Others

We will pay the necessary medical expenses that are incurred or medically ascertained within three
years from the date of an accident causing bodily injury. Medical expenses means reasonable charges
for medical, surgical, x-ray, dental, ambulance, hospital, professional nursing, prosthetic devices and
funeral services. This coverage does not apply to you or regular residents of your household except
residence employees. As to others, this coverage applies only:

1. to a person on the insured location with the permission of an insured; or

2. to a person off the insured location, if the bodily injury:
a. arises out of a condition on the insured location or the ways immediately adjoining;
b. is caused by the activities of an insured;

c. is caused by a residence employee in the course of the residence employee's employment by an
insured; or

d. is caused by an animal owned by or in the care of an insured.

 

SECTION II - EXCLUSIONS

 

1. Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily
injury or property damage:
a. which is expected or intended by the insured;

b. (1) arising out of or in connection with a business engaged in by an insured. This exclusion
applies but is not limited to an act or omission, regardless of its nature or circumstance,
involving a service or duty rendered, promised, owed, or implied to be provided because of
the nature of the business;

(2) arising out of the rental or holding for rental of any part of any premises by an insured. This
exclusion does not apply to the rental or holding for rental of an insured location:

{a} on an occasional basis if used only as residence;

(b) in part for use only as a residence, unless a single family unit is intended for use by the
occupying family to lodge more than two roomers or boarders; or

(c) in part, as an office, school, studio or private garage;
c. arising out of the rendering of or failure to render professional services;
d. arising out of a premises:
(1) owned by an insured;
(2) rented to an insured; or
(3) rented to others by an insured;
that is not an insured location;
e. arising out of:
(1) the ownership, maintenance, use, loading or unloading of motor vehicles or all other

motorized land conveyances, including trailers, owned or operated by or rented or loaned to
an insured;

(2) the entrustment by an insured of a motor vehicle or any other motorized land conveyance to
any person; or

(3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
conveyance excluded in paragraph (1) or (2) above.

This exclusion does not apply to:

(1) a trailer not towed by or carried on a motorized land conveyance;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 128 of 228

INSURANCE

(2} a motorized land conveyance which is both designed and used exclusively for recreational
purposes off public roads, not subject to licensing requirements and:

(a} not owned by an insured; or
(bo) owned by an insured and on an insured location;
(3) a motorized golf cart when used to play golf on a golf course;
(4) a vehicle or conveyance not subject to licensing requirements which is:
(a) used exciusively to service an insured's residence;
(b}) in dead storage on an insured location;
(5) a vehicle or conveyance which is both designed and used exclusively for assisting the
handicapped and has a maximum attainable speed of 10 miles per hour;
f. arising out of:
(1) the ownership, maintenance, use, loading or unloading of a watercraft described below;
{2) the entrustment by an insured of a watercraft described below to any person; or

{3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
watercraft described below.

Watercraft:
{1) with inboard or inboard-outdrive motor power owned by an insured;

{2) with inboard or inboard-outdrive motor power of more than 50 horsepower rented to an
insured;

{3) that is a sailing vessel, with or without auxiliary power, 26 feet or more in length owned by
or rented to an insured; or

{4) powered by one or more outboard motors with more than 25 total horsepower if the
outboard motor is owned by an insured. But, outboard motors of more than 25 total
horsepower are covered for the policy period if:

{a) you acquire them prior to the policy period and:
(i) you declare them at policy inception; or

(ii) your intention to insure is reported to us in writing within 45 days after you acquire
the out-board motors.

(b) you acquire therm during the policy period.
This exclusion does not apply while the watercraft is stored;
g. arising out of:
{1) the ownership, maintenance, use, loading or unloading of an aircraft;
(2) the entrustment by an insured of an aircraft to any person; or
(3) statutorily imposed vicarious parental liability for the actions of a child or minor using an
aircraft.
An aircraft means any contrivance used or designed for flight, except model or hobby aircraft
not used or designed to carry people or cargo:
h. caused directly or indirectly by war, including undeclared war, civil war, insurrection, rebellion,
revolution, warlike act by a military force or military personnel, destruction or seizure or use for
a military purpose, and including any consequence of any of these. Discharge of a nuclear
weapon will be deemed a warlike act even if accidental.
Exclusions d., e., f., and g. do not apply to bodily injury to a residence employee arising out of and
in the course of the residence employee's employment by an insured.
2. Coverage E - Personal Liability, does not apply to:
a. liability:
(1) for any loss assessment charged against you as a member of an association, corporation or
community of property owners;
(2) under any contract or agreement. However, this exclusion does not apply to written
contracts:
(a) that directly relate to the ownership, maintenance or use of an insured location; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 129 of 228

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“INSURANCE

(b) where the liability of others is assumed by the insured prior to an occurrence;
unless excluded in (1) above or elsewhere in this policy;
b. property damage to property owned by the insured;

c. property damage to property rented to, occupied or used by or in the care of the insured. This
exclusion does not apply to property damage caused by fire, smoke or explosion;

d. bodily injury to any person eligible to receive any benefits:
{1) voluntarily provided; or
(2) required to be provided;
by the insured under any:
(1) workers’ compensation law;
(2) non-occupational disability law; or
(3) occupational disease law;
e, bodily injury or property damage for which an insured under this policy:
(1) is also an insured under a nuclear energy liability policy; or
(2) would be an insured under that policy but for the exhaustion of its limit of liability.
A nuclear energy liability policy is one issued by:
(1) American Nuclear Insurers;
(2) Mutual Atomic Energy Liability Underwriters;
(3) Nuclear Insurance Association of Canada;
or any of their successors; or
f. bodily injury to you or an insured within the meaning of part a. or b. of “insured” as defined.
3. Coverage F - Medical Payments to Others, does not apply to bodily injury:
a. toa residence employee if the bodily injury:
{1} occurs off the insured location; and

{2) does not arise out of or in the course of the residence employee‘s employment by an
insured;

b, to any person eligible to receive benefits:
(1) voluntarily provided; or
(2) required to be provided;
under any:
{1} workers’ compensation law;
(2) non-occupational disability law; or
(3) occupational disease law;
c. from any:
(1) nuclear reaction;
(2) nuclear radiation; or
(3) radioactive contamination;
all whether controlled or uncontrolled or however caused; or
(4) any consequence of any of these.

d. to any person, other than a residence employee of an insured, regularly residing on any part of
the insured location.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 130 of 228

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INSURANCE

 

SECTION II - ADDITIONAL COVERAGES

 

We cover the following in addition to the limits of liability:
1. Claim Expenses. We pay:
a. expenses we incur and costs taxed against an insured in any suit we defend;

b. premiums on bonds required in a suit we defend, but not for bond amounts more than the limit
of liability for Coverage E. We need not apply for or furnish any bond:

c. reasonable expenses incurred by an insured at our request, including actual loss of earnings (but
not loss of other income) up to $50 per day, for assisting us in the investigation or defense of a
claim or suit;

d. interest on the entire judgment which accrues after entry of the judgment and before we pay or
tender, or deposit in court that part of the judgment which does not exceed the limit of liability
that applies.

2. First Aid Expenses. We will pay expenses for first aid to others incurred by an insured for bodily
injury covered under this policy. We will not pay for first aid to you or any other insured.

3. Damage to Property of Others. We will pay, at replacement cost, up to $500 per occurrence for
property damage to property of others caused by an insured.

We will not pay for property damage:

a. tothe extent of any amount recoverable under Section | of this policy;

caused intentionally by an insured who is 13 years of age or older;

to property owned by an insured;

to property owned by or rented to a tenant of an insured or a resident in your household; or

arising out of;

{1} a business engaged in by an insured;

(2) any act or omission in connection with a premises owned, rented or controlled by an
insured, other than the insured location; or

(3) the ownership, maintenance, or use of aircraft, watercraft or motor vehicles or all other
motorized land conveyances.

This exclusion does not apply to a motorized land conveyance which is both designed and
used exclusively for recreational purposes off public roads, not subject to licensing
requirements and not owned by an insured.

4. Loss Assessment. We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of:

a. bodily injury or property damage not excluded under Section II of this policy; or

b. liability for an act of a director, officer or trustee in the capacity as a director, officer or trustee,
provided:
(1) the director, officer or trustee is elected by the members of a corporation or association of
property owners; and
(2) the director, officer or trustee serves without deriving any income from the exercise of
duties which are solely on behalf of a corporation or association of property owners.
This coverage applies only to loss assessments charged against you as owner or tenant of the
residence premises.
We do not cover loss assessments charged against you or a corporation or association of property
owners by any governmental body.
Regardless of the number of assessments, the limit of $1000 is the most we will pay for loss
arising out of:
a. one accident, including continuous or repeated exposure to substantially the same general
harmful conditions; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 131 of 228

INSURANCE

b. a covered act of a director, officer or trustee. An act involving more than one director, officer
or trustee is considered to be a single act.

The following do not apply to this coverage:
1. Section II - Coverage E - Personal Liability Exclusion 2.a.(1);
2. Condition 1. Policy Period, Under Sections | and II Conditions.

 

SECTION II - CONDITIONS

 

1. Limit of Liability. Our total liability under Coverage E for all damages resulting from any one
occurrence will not be more than the limit of liability for Coverage E as shown in the Declarations.
This limit is the same regardless of the number of insureds, claims made or persons injured. All
bodily injury and property damage resulting from any one accident or from continuous or repeated
exposure to substantially the same general harmful conditions shall be considered to be the result of
one occurrence.

Our total liability under Coverage F for all medical expense payable for bodily injury to one person as
the result of one accident will not be more than the limit of Liability for Coverage F as shown in the
Declarations.

2. Severability of Insurance. This insurance applies separately to each insured. This condition will not
increase our limit of liability for any one occurrence.

3. Duties After Loss. In case of an accident or occurrence, the insured will perform the following
duties that apply. You will help us by seeing that these duties are performed.

a. give written notice to us or our agent as soon as is practical, which sets forth:
(1) the identity of the policy and insured;

(2) reasonably available information on the time, place and circumstances of the accident or
occurrence; and

(3) names and addresses of any claimants and witnesses;

b. promptly forward to us every notice, demand, summons or other process relating to the
accident or occurrence;

c. at our request, help us:
(1) to make settlement;
(2) to enforce any right of contribution or indemnity against any person or organization who
may be liable to an insured;
(3) with the conduct of suits and attend hearings and trials;
(4) to secure and give evidence and obtain the attendance of witnesses;
d. under the coverage - Damage to Property of Others - submit to us within 60 days after the loss,
a sworn statement of loss and show the damaged property, if in the insured's control;
e. the insured will not, except at the insured's own cost, voluntarily make payment, assume
obligation or incur expense other than for first aid to others at the time of the bodily injury.
4. Duties of an Injured Person - Coverage F - Medical Payments to Others. The injured person or
someone acting for the injured person will:
a. give us written proof of claim, under oath if required, as soon as is practical; and
b. authorize us to obtain copies of medical reports and records.
The injured person will submit to a physical exam by a doctor of our choice when and as often as
we reasonably require.
5. Payment of Claim - Coverage F - Medical Payments to Others. Payment under this coverage is not
an admission of liability by an insured or us.

6. Suit Against Us. No action can be brought against us unless there has been compliance with the
policy provisions.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 132 of 228

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“INSURANCE

No one will have the right to join us as a party to any action against an insured. Also, no action
with respect to Coverage E can be brought against us until the obligation of the insured has been
determined by final judgment or agreement signed by us.

7. Bankruptcy of an Insured. Bankruptcy or insolvency of an insured will not relieve us of our
obligations under this policy.
8. Other Insurance - Coverage E - Personal Liability. This insurance is excess over other valid and

collectible insurance except insurance written specifically to cover as excess over the limits of
liability that apply in this policy.

SECTION | AND II - CONDITIONS

1. Policy Period. This policy applies only to loss in Section | or bodily injury or property damage in
Section II, which occurs during the policy period.

2. Concealment or Fraud. The entire policy will be void if, whether before or after a loss, an insured
has:

a. intentionally concealed or misrepresented any material fact or circumstance; or

b. engaged in fraudulent conduct;

relating to this insurance.

3. Liberalization Clause. If we make a change which broadens coverage under this edition of our
policy without additional premium charge, that change will automatically apply to your insurance as
of the date we implement the change in your state, provided that this implementation date falls
within 60 days prior to or during the policy period stated in the Declarations.

This Liberalization Clause does not apply to changes implemented through introduction of a

subsequent edition of our policy.

4, Waiver or Change of Policy Provisions.

A waiver or change of a provision of this policy must be in writing by us to be valid. Our request

for an appraisal or examination will not waive any rights.

5. Cancellation.

a. You may cancel this policy at any time by returning it to us or by letting us know in writing of
the date cancellation is to take effect.

b. We may cancel this policy only for the reasons stated below by letting you know in writing of
the date cancellation takes effect. This cancellation notice, together with our reason for
cancellation, will be mailed to you and, if applicable, your agent or broker at the last addresses
known to us or shown by our records. Proof of mailing will be sufficient proof of notice.

{1) When you have not paid the premium, we may cancel at any time by letting you know at
least 10 days before the date cancellation takes effect.

{2} When this policy has been in effect for less than 60 days and is not a renewal with us, we
may cancel for any reason by letting you know at least 45 days before the date cancellation
takes effect.

{3} When this policy has been in effect for 60 days or more, or at any time if it is a renewal
with us, we may cancel:

(a) if there has been a material misrepresentation of fact which if known to us would have
caused us not to issue the policy; or

{b) if the risk has changed substantially since the policy was issued.

This can be done by letting you know at least 45 days before the date cancellation takes

effect.

(4) When this policy is written for a period of more than one year, we may cancel for any
reason at anniversary by letting you know at least 45 days before the date cancellation
takes effect.

However, with respect to paragraphs b. (2), (3) and (4) above, if two or more of the
following conditions exist at any building that is covered under this policy, we may cancel
this policy by letting you and, if applicable, your agent or broker know at least 5 days before
the date cancellation takes effect. We will also let any mortgagee or other person shown by
the policy to have an interest in a covered loss know at least 20 days before the date
cancellation takes effect.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 133 of 228

“INSURANCE

(1) Without reasonable explanation, the building is unoccupied for more than 60 consecutive
days, or at least 65% of the rental units are unoccupied for more than 120 consecutive
days unless the building is maintained for seasonal occupancy or is under construction or
repair;

(2) Without reasonable explanation, progress toward completion of permanent repairs to the
building has not occurred within 60 days after receipt of funds following satisfactory
adjustment or adjudication of loss resulting from a fire;

(3) Because of its physical condition, the building is in danger of collapse;

(4) Because of its physical condition, a vacation or demolition order has been issued for the
building, or it has been declared unsafe in accordance with applicable law;

(5) Fixed and salvageable items have been removed from the building, indicating an intent to
vacate the building;

(6) Without reasonable explanation, heat, water, sewer, and electricity are not furnished for the
building for 60 consecutive days; or

(7) The building is not maintained in substantial compliance with fire, safety and building codes.

c. When this policy is cancelled, the premium for the period from the date of cancellation to the
expiration date will be refunded pro rata.

d. If the return premium is not refunded with the notice of cancellation or when this policy is
returned to us, we will refund it as soon as possible, but no later than:

(1) 45 days after we send a notice of cancellation to you; or

{2) 30 days after we receive the policy ar a notice of cancellation from you.

e. Except as noted below, if the policy is cancelled by us, we will give the same advance notice of
cancellation in writing to any mortgagee or other person shown by the policy to have an interest
in a covered loss as we give to you. The cancellation notice may be delivered or mailed; if
mailed, proof of mailing will be sufficient proof of notice.

6. Nonrenewal. We may elect not to renew this policy. We may do so by mailing to you and, if
applicable, your agent or broker at the last addresses known to us or shown by our records, written
notice, including our reason for refusing to renew, at least 45 days before the expiration date of this
policy. Proof of mailing will be sufficient proof of notice.

If we have offered in writing, either directly or through our agent, at least 20 days before the

expiration date of this policy, to renew this policy, and have included a statement of the renewal

premium due, we may terminate this policy on its expiration date if you fail to pay the required
premium when due.

For the purpose of determining the date when nonrenewal can be effected: A policy with a term of

six months or less is considered as if written for a policy period of six months. A policy written for

a term longer than one year or a policy with no fixed expiration date is considered as if written for a

period of one year.

7. Assignment. Assignment of this policy will not be valid unless we give our written consent.

8. Subrogation. An insured may waive in writing before a loss all rights of recovery against any
person. If not waived, we may require an assignment of rights of recovery for a loss to the extent
that payment is made by us.

If an assignment is sought, an insured must sign and deliver all related papers and cooperate with

us.
Subrogation does not apply under Section Ii to Medical Payments to Others or Damage to Property
of Others.

9, Death. If any person named in the Declarations or the spouse, if a resident of the same household,
dies:

a. we insure the legal representative of the deceased but only with respect to the premises and
property of the deceased covered under the policy at the time of death;
b. insured includes:
(1) any member of your household who is an insured at the time of your death, but only while a
resident of the residence premises; and

{2) with respect to your property, the person having proper temporary custody of the property
until appointment and qualification of a legal representative.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 134 of 228

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MUTUAL POLICY CONDITIONS

 

This policy is issued by a mutual company having special regulations lawfully applicable to its
organization, membership, policies or contracts of insurance, of which the following shall apply to and
form a part of this policy:

This policy is non-assessable. The policyholder is a member of the company and _ shall
participate, to the extent and upon the conditions fixed and determined by the Board of
Directors in accordance with the provisions of law, in the distribution of dividends so fixed and
determined.

For dividend classification purposes, this policy is classified, except as to coverage afforded by any rider
or endorsement providing otherwise, in Dividend Class Il.

 

The named insured is hereby notified that by virtue of this policy he is a member of Liberty Mutual
Group and is entitled to vote either in person or by proxy at any and all meetings of said company.

The annual meetings are held at its home office, Boston, Massachusetts on the second Wednesday of
April in each year, at eleven o'clock in the morning.

IN WITNESS WHEREOF, the company has executed and attested these presents; but this policy shall
not be valid unless countersigned on the Declarations Page.

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SECRETARY PRESIDENT

FMHO 3217 10 09 Page 20 of 20
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 135 of 228

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INSURANCE

 

LibertyGuard Homeowners Policy

Please read your policy and each endorsement carefully.

 

To serve you best...

Liberty Mutua! has over 350 service offices throughout the United States
and Canada. Please contact your service office shown on your Declarations
Page to report losses, or for any changes or questions about your insurance.
Payments should be sent to the office indicated on your bill.

THIS POLICY IS NON ASSESSABLE

FMHO 3216 10 09
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 136 of 228

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Homeowners 3WA
Special Form

Ed. 5-91
Washington

 

AGREEMENT

We will provide the insurance described in this policy in return for the premium and compliance with all
applicable provisions of this policy.

 

 

DEFINITIONS

 

In this policy, "you" and "your" refer to the "named insured” shown in the Declarations and the spouse
if a resident of the same household. "We," "us" and “our" refer to the Company providing this
insurance. !n addition, certain words and phrases are defined as follows:

1. "bodily injury" means bodily harm, sickness or disease, except a disease which is transmitted by an
insured through sexual contact. "Bodily injury" includes required care, loss of services and death
resulting from covered bodily harm, sickness or disease.

2. “business” includes trade, profession or occupation.

3. “insured” means you and residents of your household who are:
a. your relatives; or
6b. other persons under the age of 21 and in the care of any person named above.
Under Section Il, "insured" also means:

c. with respect to animals or watercraft to which this policy applies, any person or organization
legally responsible for these animals or watercraft which are owned by you or any person
included in 3a or 3b above. A person or organization using or having custody of these animals
or watercraft in the course of any business or without consent of the owner is not an insured;

d. with respect to any vehicle to which this policy applies:
(1} persons while engaged in your employ or that of any person included in 3a or 3b above; or
(2) other persons using the vehicle on an insured location with your consent.

4. "insured location” means:

a. the residence premises;

b. the part of other premises, other structures and grounds used by you as a residence and:
(1) which is shown in the Declarations; or
(2) which is acquired by you during the policy period for your use as a residence;

c. any premises used by you in connection with a premises in 4a or 4b above;

d. any part of a premises:
(1) not owned by an insured; and
(2) where an insured is temporarily residing;
vacant land, other than farm land, owned by or rented to an insured;

f. land owned by or rented to an insured on which a one or two family dwelling is being built as a
residence for an insured:

g. individual or family cemetery plots or burial vaults of an insured; or
h. any part of a premises occasionally rented to an insured for other than business use.

5. “occurrence” means an accident, including continuous or repeated exposure to substantially the
same general harmful conditions, which results, during the policy period, in:

a. bodily injury; or
b. property damage.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 137 of 228

INSURANCE

6. "property damage” means physical injury to, destruction of, or loss of use of tangible property.
7. “residence employee" means:
a. an employee of an insured whose cuties are related to the maintenance or use of the residence
premises, including household or domestic services; or
b. one who performs similar duties elsewhere not related to the business of an insured.
§. “residence premises" means:
a. the one family dwelling, other structures, and grounds; or
b. that part of any other building;
where you reside and which is shown as the “residence premises" in the Declarations.
"Residence premises" also means a two family dwelling where you reside in at least one of the
family units and which is shown as the "residence premises” in the Declarations.
9. "actual cash value" means:
a. When the damage to property is economically repairable, “actual cash value" means the cost of

repairing the damage, less reasonable deduction for wear and tear, deterioration and
obsalescence.

b. When the loss or damage to property creates a total loss, “actual cash value” means the market
value of property in a used condition equal to that of the destroyed property, if reasonably
available on the used market.

c. Otherwise, "actual cash value” means the market value of new, identical or nearly identical

property less reasonable deduction for wear and tear, deterioration and obsolescence.
10. "replacement cost" means:

a. In case of loss or damage to buildings, "replacement cost” means the cost, at the time of loss,
to repair or replace the damaged property with new materials of like kind and quality, without
deduction for depreciation.

b. In case of loss to personal property, “replacement cost" means the cost, at the time of loss, of
a new article identical to the one damaged, destroyed or stolen. When the identical article is no
longer manufactured or is not available, “replacement cost” means the cost of a new article
similar to the one damaged or destroyed and which is of comparable quality and usefulness,
without deduction for depreciation.

11. “fully enclosed building" means:

A building with continuous walls on all sides, extending from the ground level to the roof, with
doors and windows (as deemed necessary) at various locations in the walls and including a
continuous roof sheltering all areas within the wall perimeter.

 

SECTION | - PROPERTY COVERAGES

 

COVERAGE A - Dwelling
We cover:

1. the dwelling on the residence premises shown in the Declarations, including structures attached to
the dwelling; and

2. materials and supplies located on or next to the residence premises used to construct, alter or repair
the dwelling or other structures on the residence premises.

This coverage does not apply to Jand, including land on which the dwelling is located.
COVERAGE B - Other Structures

We cover other structures on the residence premises set apart from the dwelling by clear space. This
includes structures connected to the dwelling by only a fence, utility line, or similar connection.

This coverage does not apply to land, including land on which the other structures are located.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 138 of 228

INSURANCE

We do not cover other structures:

1. used in whole or in part for business; or

2. rented or held for rental to any person not a tenant of the dwelling, unless used sclely as a private
garage.

The limit of liability for this coverage will not be more than 10% of the limit of liability that applies to

Coverage A. Use of this coverage does not reduce the Coverage A limit of liability.

COVERAGE C - Personal Property

We cover personal property owned or used by an insured while it is anywhere in the world. At your
request, we will cover personal property owned by:

1. others while the property is on the part of the residence premises occupied by an insured;
2. a guest or a residence employee, while the property is in any residence occupied by an insured.

Our limit of liability for personal property usually located at an insured's residence, other than the
residence premises, is 10% of the limit of liability for Coverage C, or $1000, whichever is greater.
Personal property in a newly acquired principal residence is not subject to this limitation for the 30 days
from the time you begin to move the property there.

Special Limits of Liability. These limits do not increase the Coverage C limit of liability. The special limit
for each numbered category below is the total limit for each loss for all property in that category.

1. $200 on money, bank notes, bullion, gold other than goldware, silver other than silverware,
platinum, coins and medals.

2. $1000 on securities, accounts, deeds, evidences of debt, letters of credit, notes other than bank
notes, manuscripts, personal records, passports, tickets and stamps. This dollar limit applies to
these categories regardless of the medium (such as paper or computer software) on which the
material exists.

This limit includes the cost to research, replace or restore the information from the lost or damaged
material.

$1000 on watercraft, including their trailers, furnishings, equipment and outboard motors.
$1000 on trailers not used with watercraft.

$1000 on grave markers.

$1000 for loss by theft of jewelry, watches, furs, precious and semi-precious stones.
$2000 for lass by theft of firearms.

$2500 for loss by theft of silverware, silver-plated ware, goldware, gold-plated ware and
pewterware. This includes flatware, hollowware, tea sets, trays and trophies made of or including
silver, gold or pewter.

9. $2500 on property, on the residence premises, used at any time or in any manner for any business
purpose.

10. $250 on property, away from the residence premises, used at any time or in any manner for any
business purpose.

Property Not Covered. We do not cover:
1. articles separately described and specifically insured in this or other insurance;
2. animals, birds or fish;
3. motor vehicles or all other motorized Jand conveyances. This includes:
a. their equipment and accessories; or

b. any device or instrument for the transmitting, recording, receiving or reproduction of sound or
pictures which is operated by power from the electrical system of motor vehicles or all other
motorized land conveyances, including:

(1) accessories or antennas; or
(2) tapes, wires, records, discs or other media for use with any such device or instrument;
while in or upon the vehicle or conveyance.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page.139 of 228

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We do cover vehicles or conveyances:

a. not subject to licensing requirements which are used exclusively to service an insured's
residence; or

b. which are both designed and used exclusively for assisting the handicapped and have a
maximum attainable speed of 10 miles per hour;
4. aircraft and parts. Aircraft means any contrivance used or designed for flight, except model or
hobby aircraft not used or designed to carry people or cargo;

5. property of roomers, boarders and other tenants, except property of roomers and boarders related
to an insured;

property in an apartment regularly rented or held for rental to others by an insured;

property rented or held for rental to others off the residence premises;

8. business data, including such data stored in:

a. books of account, drawings or other paper records; or

b. electronic data processing tapes, wires, records, discs or other software media.

However, we do cover the cost of blank recording or storage media, and of prerecorded computer
programs available on the retail market.

9. credit cards or fund transfer cards except as provided in Additional Coverages 6.

COVERAGE D - Loss of Use

The limit of liability for Coverage D is the total limit for all the coverages that follow.

1. If a loss covered under this Section makes that part of the residence premises where you reside not
fit to live in, we cover, at your choice, either of the following. However, if the residence premises
is not your principal place of residence, we will not provide the option under paragraph b. below.

a. Additional Living Expense, meaning any necessary increase in living expenses incurred by you
so that your household can maintain its normal standard of living; or

b. Fair Rental Value, meaning the fair rental value of that part of the residence premises where you
reside less any expenses that do not continue while the premises is not fit to live in.

Payment under a. or b. will be for the shortest time required to repair or replace the damage or, if

you permanently relocate, the shortest time required for your household to settle elsewhere.

2. If a loss covered under this Section makes that part of the residence premises rented to others or
held for rental by you not fit to live in, we cover the:

Fair Rental Value, meaning the fair rental value of that part of the residence premises rented to
others or held for rental by you less any expenses that do not continue while the premises is not fit
to live in.

Payment will be for the shortest time required to repair or replace that part of the premises rented or
held for rental.

3. If a civil authority prohibits you from use of the residence premises as a result of direct damage to
neighboring premises by a Peril Insured Against in this policy, we cover the Additional Living
Expense or Fair Rental Value loss as provided under 1 and 2 above for no more than two weeks.

The periods of time under 1, 2 and 3 above are not limited by expiration of this policy.

We do not cover loss or expense due to cancellation of a lease or agreement.

ADDITIONAL COVERAGES

1. Debris Removal. We will pay your reasonable expense for the removal of debris of covered property

if a Peril Insured Against that applies to the damaged property causes the loss.

This expense is included in the jimit of liability that applies to the damaged property. If the amount

to be paid for the actual damage to the property pilus the debris removal expense is more than the

limit of liability for the damaged property, an additional 5% of that limit of liability is available for
debris removal expense.

We will also pay your reasonable expense, up to $500 in the aggregate for the removal from the

residence premises of:

a. your tree(s) felled by the peri! of Windstorm or Hail;

b. your tree(s} felled by the peril of Weight of Ice, Snow or Sleet; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 140 of 228

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c. a neighbor's tree(s) felled by a Peril Insured Against under Coverage C;
provided the tree(s} damages a covered structure.

2. Reasonable Repairs. In the event that covered property is damaged by an applicable Peril Insured
Against, we will pay the reasonable cost incurred by you for necessary measures taken solely to
protect against further damage. If the measures taken involve repair to other damaged property, we
will pay for those measures only if that property is covered under this policy and the damage to that
property is caused by an applicable Peril insured Against.

This coverage:
a. does not increase the limit of liability that applies to the covered property;

b. does not relieve you of your duties, in case of a loss to covered property, as set forth in Section
| Condition 2.d.

3. Trees, Shrubs and Other Plants. We cover trees, shrubs, plants or lawns, on the residence
premises, for loss caused by the following Perils Insured Against: Fire or lightning, Explosion, Riot
or civil commotion, Aircraft, Vehicles not owned or operated by a resident of the residence
premises, Vandalism or malicious mischief or Theft.

The limit of liability for this coverage will not be more than 5% of the limit of liability that applies to
the dwelling, or more than $500 for any one tree, shrub or plant. We do not cover property grown
for business purposes.

This coverage is additional insurance.

4. Fire Department Service Charge. We will pay up to $500 for your liability assumed by contract or
agreement for fire department charges incurred when the fire department is called to save or protect
covered property from a Peril Insured Against. We do not cover fire department service charges if
the property is located within the limits of the city, municipality or protection district furnishing the
fire department response.

This coverage is additional insurance. No deductible applies to this coverage.

5. Property Removed. We insure covered property against direct loss from any cause while being
removed from a premises endangered by a Peril Insured Against and for no more than 30 days while
removed. This coverage does not change the limit of liability that applies to the property being
removed.

6. Credit Card, Fund Transfer Card, Forgery and Counterfeit Money.
We will pay up to $500 for:
a. the legal obligation of an insured to pay because of the theft or unauthorized use of credit cards
issued to or registered in an insured's name;
b. loss resulting from theft or unauthorized use of a fund transfer card used for deposit,
withdrawal or transfer of funds, issued to or registered in an insured's name;
loss to an insured caused by forgery or alteration of any check or negotiable instrument; and
d. loss to an insured through acceptance in good faith of counterfeit United States or Canadian
paper currency.
We do not cover use of a credit card or fund transfer card:
a. by aresident of your household;
b. by a person who has been entrusted with either type of card; or
c. if an insured has not complied with all terms and conditions under which the cards are issued.
All loss resulting from a series of acts committed by any one person or in which any one person is
concerned or implicated is considered to be one loss.
We do not cover loss arising out of business use or dishonesty of an insured.
This coverage is additional insurance. No deductible applies to this coverage.
Defense:
a. We may investigate and settle any claim or suit that we decide is appropriate. Our duty to
defend a claim or suit ends when the amount we pay for the loss equals our limit of liability.
b. If a suit is brought against an insured for liability under the Credit Card or Fund Transfer Card
coverage, we will provide a defense at our expense by counsel of our choice.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 141 of 228

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INSURANCE

c. We have the option to defend at our expense an insured or an insured'’s bank against any suit
for the enforcement of payment under the Forgery coverage.

7. Loss Assessment: We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of direct loss to the property, owned by all members collectively, caused by a
Peril Insured Against under Coverage A - Dwelling, other than earthquake or land shock waves or
tremors before, during or after a volcanic eruption.

This coverage applies only to loss assessments charged against you as owner or tenant of the
residence premises.

We do not cover loss assessments charged against you or a corporation or association of property
owners by any governmental body.

The limit of $1000 is the most we will pay with respect to any one loss, regardless of the number
of assessments.

Condition 1. Policy Period, under Sections | and tl Conditions, does not apply to this coverage.

8. Collapse. We insure for direct physical loss to covered property involving collapse of a building or
any part of a building caused only by one or more of the following:

a. Perils Insured Against in Coverage C - Personal Property. These perils apply to covered building
and personal property for loss insured by this additional coverage;

hidden decay;

hidden insect or vermin damage;

weight of contents, equipment, animals or people;
weight of rain which collects on a roof; or

use of defective material or methods in construction, remodeling or renovation if the collapse
occurs during the course of the construction, remodeling or renovation.

Loss to an awning, fence, patio, pavement, swimming poo!, underground pipe, flue, drain, cesspool,
septic tank, foundation, retaining wall, bulkhead, pier, wharf or dock is not included under items b,
c, d, e, and f unless the loss is a direct result of the collapse of a building.

Collapse does not include settling, cracking, shrinking, bulging or expansion.
This coverage does not increase the limit of liability applying to the damaged covered property.

SECTION | - PERILS INSURED AGAINST

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COVERAGE A - DWELLING and
COVERAGE 8 - OTHER STRUCTURES

We insure against risks of direct loss to property described in Coverages A and B only if that loss is a
physical loss to property; however, we do not insure loss:

1. involving collapse, other than as provided in Additional Coverage 8;

2. caused by:

a. freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or
of a household appliance, or by discharge, leakage or overflow from within the system or
appliance caused by freezing. This exclusion applies only while the dwelling is vacant,
unoccupied or being constructed unless you have used reasonable care to:

(1) maintain heat in the building; or
(2) shut off the water supply and drain the system and appliances of water;
b. freezing, thawing, pressure or weight of water or ice, whether driven by wind or not, to a:
(1) fence, pavement, patio or swimming pool;
{2) foundation, retaining wall or bulkhead; or
(3) pier, wharf or dock;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 142 of 228

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c. theft in or to a dwelling under construction, or of materials and supplies for use in the
construction until the dwelling is finished and occupied;

d. vandalism and malicious mischief or breakage of glass and safety glazing materials if the
dwelling has been vacant for more than 30 consecutive days immediately before the loss. A
dwelling being constructed is not considered vacant:

e. constant or repeated seepage or leakage of water or steam over a period of weeks, months or
years from within a plumbing, heating, air conditioning or automatic fire protective sprinkler
system or from within a household appliance;

f. (1) wear and tear, marring, deterioration;
(2) inherent vice, latent defect, mechanical breakdown;
(3) smog, rust, mold, wet or dry rot;
(4) smoke from agricultural smudging or industrial operations;
(5) release, discharge or dispersal of contaminants or pollutants;

(6} settling, cracking, shrinking, bulging or expansion of pavements, patios, foundations, walls,
floors, roofs or ceilings; or

{7) birds, vermin, rodents, insects or domestic animals.

But if loss or damage by collapse, as provided in ADDITIONAL COVERAGES, Collapse, results,
we will pay for that resulting loss or damage.

If any of these cause water damage not otherwise excluded from a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or household appliance, we cover loss
caused by the water including the cost of tearing out and replacing any part of a building
necessary to repair the system or appliance. We do not cover loss to the system or appliance
from which this water escaped.

3. excluded under Section | - Exclusions.

Under items 1 and 2, any ensuing loss to property described in Coverages A and B not excluded or
excepted in this policy is covered.

COVERAGE C - Personal Property

We insure for direct physical loss to the property described in Coverage C caused by a peril listed below
unless the loss is excluded in Section | - Exclusions.

1. Fire or lightning.
2. Windstorm or hail.

This peril does not include loss to the property contained in a building caused by rain, snow, sleet,
sand or dust unless the direct force of wind or hail damages the building causing an opening in a
roof or wall and the rain, snow, sleet, sand or dust enters through this opening.

This peril includes loss to watercraft and their trailers, furnishings, equipment, and outboard motors,
only while inside a fully enclosed building.

Explosion.

Riot or civil commotion.

Aircraft, including self-propelled missiles and spacecraft.

Vehicles means a device designed or used to transport persons or property.
Smoke, meaning sudden and accidental damage from smoke.

This peril does not include loss caused by smoke from agricultural smudging or industrial operations,
such as slash burns.

8. Vandalism or malicious mischief.

9. Theft, including attempted theft and loss of property from a known place when it is likely that the
property has been stolen.

This peril does not include loss caused by theft:
a. committed by an insured;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 143 of 228

Libe
Mutual.

INSURANCE

b. in or to a dwelling under construction, or of materials and supplies for use in the construction
until the dwelling is finished and occupied; or

c. from that part of a residence premises rented by an insured to other then an insured.

This peril does not include loss caused by theft that occurs off the residence premises of:

a. property while at any other residence owned by, rented to, or occupied by an insured, except
while an insured is temporarily living there. Property of a student who is an insured is covered

while at a residence away from home if the student has been there at any time during the 45
days immediately before the loss;

b. watercraft, including their furnishings, equipment and outboard motors: or
c. trailers and campers.

However, property described in b. above is covered if, at the time of loss caused by theft, it is

parked inside a private garage or in street parking areas immediately adjacent to the residence
premises.

10. Failing objects.
This peril does not include floss to property contained in a building unless the roof or an outside wall

of the building is first damaged by a falling object. Damage to the falling object itself is not
included.

11. Weight of ice, snow or sleet which causes damage to property contained in a building.

12. Accidental discharge or overflow of water or steam from within a plumbing, heating, air
conditioning or automatic fire protective sprinkler system or from within a household appliance.

This peril does not include loss:

a. tothe system or appliance from which the water or steam escaped;

b. caused by or resulting from freezing except as provided in the peril of freezing below; or

c. on the residence premises caused by accidental discharge or overflow which occurs off the
residence premises.

In this peril, a plumbing system does not include a sump, sump pump or related equipment.

13. Sudden and accidental tearing apart, cracking, burning or bulging of a steam or hot water heating
system, an air conditioning or automatic fire protective sprinkler system, or an appliance for heating
water.

We do not cover loss caused by or resulting from freezing under this peril.

14. Freezing of a plumbing, heating, air conditioning or automatic fire protective sprinkler system or of a

household appliance.
This peril does not include loss on the residence premises while the dwelling is unoccupied, unless
you have used reasonable care to:
a. maintain heat in the building; or
b. shut off the water supply and drain the system and appliances of water.
15. Sudden and accidental damage from artificially generated electrical current.
This peril does not include loss to a tube, transistor or similar electronic component.

16. Damage by glass or safety glazing material which is part of a building, storm door or storm window.
This peril does not include loss on the residence premises if the dwelling has been vacant for more
than 30 consecutive days immediately before the loss. A dwelling being constructed is not
considered vacant.

17. Volcanic Action, meaning direct loss or damage resulting from the eruption of a volcano when the
loss or damage is caused by:

a. volcanic blast or airborne shock waves;

b. ash, dust or particulate matter; or

c. lava flow.

This peril does not provide coverage for damage to land; property in the open or in open sheds; or
portions of buildings not completely enclosed, or personal property contained within those buildings.

All volcanic eruptions that occur within any 72-hour period will be considered as one volcanic
eruption.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 144 of 228

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Direct loss includes the cost to remove the ash, dust or particulate matter from the interior and exterior
surfaces of the covered building and from personal property contained in the building.

Payment for removal applies only to the initial deposit of ash, dust or particulate matter following a

volcanic eruption. Subsequent deposits arising from the movement of volcanic dust or ash by wind or
other means are not covered.

 

SECTION | - EXCLUSIONS

We will not pay for loss or damage caused by any of the following excluded events as described in 1
through 11 below. Loss or damage will be considered to have been caused by an excluded event if that
event:

a. directly and solely results in loss or damage; or

b. initiates a sequence of events that results in loss or damage, regardless of the nature of any
intermediate or final event in that sequence.

1. Ordinance or Law, meaning enforcement of any ordinance or law regulating the construction, repair,
or demolition of a building or other structure, unless specifically provided under this policy.

2. Earth Movement, meaning earthquake including land shock waves or tremors before, during or after
a volcanic eruption; landslide; mudflow; earth sinking, rising or shifting; unless direct loss by:

a. fire;
b. explosion; or
c. breakage of glass or safety glazing material which is part of a building, storm door or storm
window;
ensues and then we will pay only for the ensuing loss.
This exclusion does not apply to loss by theft.
3. Water Damage, meaning:
a. flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these, whether or not driven by wind;
b. water which backs up through sewers or drains or which overflows from a sump; or
c. water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.
Direct loss by fire, explosion or theft resulting from water damage is covered.
4. Power Failure, meaning the failure of power or other utility service if the failure takes place off the
residence premises. But, if a Peril Insured Against ensues on the residence premises, we will pay
only for that ensuing loss.

5. Neglect, meaning neglect of the insured to use all reasonable means to save and preserve property
at and after the time of a loss.

6. War, including undeclared war, civil war, insurrection, rebellion, revolution, warlike act by a military
force or military personnel, destruction or seizure or use for a military purpose, and including any
consequence of any of these. Discharge of a nuclear weapon will be deemed a warlike act even if
accidental.

7. Nuclear Hazard, to the extent set forth in the Nuclear Hazard Clause of Section | - Conditions.
8. Intentional Loss, meaning any loss arising out of any act committed:

a. by or at the direction of an insured; and

b. with the intent to cause a loss.
9, Weather Conditions.

A weather condition which results in:

a. landslide or mudflow;

b. earth sinking, rising or shifting;

c. flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of
these, whether or not driven by wind;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 145 of 228

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INSURANCE

d. water backing up from a sewer or drain or overflowing from a sump; or
e. water below the surface of the ground, including water which exerts pressure on or seeps or
leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.

However, if loss or damage by fire or explosion results, we will pay for that resulting loss or
amage.

10. Acts or decisions, including the failure to act or decide, of any person, group, organization or
governmental body. However, any ensuing loss to property described in Coverages A and B not
excluded or excepted in this policy is covered.

11. Faulty, inadequate or defective:
a. planning, zoning, development, surveying, siting;

b. design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
compaction;

c. materials used in repair, construction, renovation or remodeling; or
d. maintenance;
of part or all of any property whether on or off the residence premises.

However, any ensuing loss to property described in Coverages A and B not excluded or excepted in
this policy is covered.

 

SECTION | - CONDITIONS

 

1. Insurable Interest and Limit of Liability. Even if more than one person has an insurable interest in
the property covered, we will not be liable in any one loss:

a. to the insured for more than the amount of the insured's interest at the time of loss; or
b. for more than the applicable limit of liability.

2. Your Duties After Loss. In case of a loss to covered property, you must see that the following are
done:

a. give prompt notice to us or our agent;

b. notify the police in case of loss by theft;

c. notify the credit card or fund transfer card company in case of loss under Credit Card or Fund
Transfer Card coverage:

d. (1) protect the property from further damage;

(2) make reasonable and necessary repairs to protect the property; and
(3) keep an accurate record of repair expenses;

e. prepare an inventory of damaged personal property showing the quantity, description, actual
cash value and amount of loss. Attach all bills, receipts and related documents that justify the
figures in the inventory;

f. as often as we reasonably require:

(1) show the damaged property;
(2} provide us with records and documents we request and permit us to make copies; and

(3) submit to examination under oath, while not in the presence of any other insured, and sign

the same;
g. send to us, within 60 days after our request, your signed, sworn proof of loss which sets forth,

to the best of your knowledge and belief:

{1) the time and cause of loss;

(2) the interest of the insured and all others in the property involved and all liens on the
property;

(3) other insurance which may cover the loss;

(4) changes in title or occupancy of the property during the term of the policy;

(5) specifications of damaged buildings and detailed repair estimates;

(6) the inventory of damaged personal property described in 2e above;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 146 of 228

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INSURANCE

(7) receipts for additional living expenses incurred and records that support the fair rental value
oss; and

{8) evidence or affidavit that supports a claim under the Credit Card, Fund Transfer Card,

Forgery and Counterfeit Money coverage, stating the amount and cause of loss.
3. Loss Settlement. Covered property losses are settled as follows:
a. (1) Personal property;

(2) Awnings, carpeting, household appliances, outdoor antennas and outdoor equipment,
whether or not attached to buildings; and

{3) Structures that are not buildings;

at notual cash value at the time of loss but not more than the amount required to repair or

replace.

b. Buildings under Coverage A or B at replacement cost without deduction for depreciation, subject
to the following:

(1) If, at the time of loss, the amount of insurance in this policy on the damaged building is
80% or more of the full replacement cost of the building immediately before the loss, we
will pay the cost to repair or replace, after application of deductible and without deduction
for depreciation, but not more than the least of the following amounts:

(a) the limit of liability under this policy that applies to the building;

(b) the replacement cost of that part of the building damaged for like construction and use
on the same premises; or

(c) the necessary amount actually spent to repair or replace the damaged building.

(2) If, at the time of loss, the amount of insurance in this policy on the damaged building is less
than 80% of the full replacement cost of the building immediately before the loss, we will
pay the greater of the following amounts, but not more than the limit of liability under this
policy that applies to the building:

(a) the actual cash value of that part of the building damaged; or

(b) that proportion of the cost to repair or replace, after application of deductible and
without deduction for depreciation, that part of the building damaged, which the total
amount of insurance in this policy on the damaged building bears to 80% of the
replacement cost of the building.

(3) To determine the amount of insurance required to equal 80% of the full replacement cost of
the building immediately before the loss, do not include the value of:

(a) excavations, foundations, piers or any supports which are below the undersurface of the
lowest basement floor;

(b) those supports in (a) above which are below the surface of the ground inside the
foundation walls, if there is no basement; and

(c) underground flues, pipes, wiring and drains.

(4) We will pay no more than the actual cash value of the damage unless:

(a) actual repair or replacement is complete; or

{b) the cost to repair or replace the damage is both:
(i) less than 5% of the amount of insurance in this policy on the building; and
(ii) less than $2500.

(5) You may disregard the replacement cost loss settlement provisions and make claim under
this policy for loss or damage to buildings on an actual cash value basis. You may then
make claim within 180 days after loss for any additional liability on a replacement cost
basis.

4, Loss to a Pair or Set. In case of loss to a pair or set we may elect to:
a. repair or replace any part to restore the pair or set to its value before the loss; or
b. pay the difference between actual cash value of the property before and after the loss.

5. Glass Replacement. Loss for damage to glass caused by a Peril Insured Against will be settled on
the basis of replacement with safety glazing materials when required by ordinance or law.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 147 of 228

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6. Appraisal. If you and we fail to agree on the amount of loss, either may demand an appraisal of the
loss. In this event, each party will choose a competent appraiser within 20 days after receiving a
written request from the other. The two appraisers will choose an umpire. If they cannot agree
upon an umpire within 15 days, you or we may request that the choice be made by a judge of a
court of record in the state where the residence premises is located. The appraisers will separately
set the amount of loss. If the appraisers submit a written report of an agreement to us, the amount
agreed upon will be the amount of loss. If they fail to agree, they will submit their differences to
the umpire. A decision agreed to by any two will set the amount of loss.

Each party will:

a. pay its own appraiser; and

b. bear the other expenses of the appraisal and umpire equally.

7. Other Insurance. If a joss covered by this policy is also covered by other insurance, we will pay
only the proportion of the loss that the limit of liability that applies under this policy bears to the
total amount of insurance covering the loss.

8. Suit Against Us. No action can be brought unless the policy provisions have been complied with
and the action is started within one year after the date of loss.

9. Our Option. If we give you written notice within 30 days after we receive your signed, sworn proof
of loss, we may repair or replace any part of the damaged property with like property.

10.Loss Payment. We will adjust all losses with you. We will pay you unless some other person is
named in the policy or is legally entitled to receive payment. Loss will be payable 30 days after we
receive your proof of loss and:

a. reach an agreement with you;

b. there is an entry of a final judgment; or

c. there is a filing of an appraisal award with us.

11. Abandonment of Property. We need not accept any property abandoned by an insured.

12. Mortgage Clause. Insurance Commissioner's Regulation No. 335AWAC-284-21-010 requires that
Form 372 (Ed. 11 -50}) or Form 438 BFU (Ed. 5-42) be endorsed on this policy, if applicable.

13.No Benefit to Bailee. We will not recognize any assignment or grant any coverage that benefits a
person or organization holding, storing or moving property for a fee regardless of any other
provision of this policy.

14. Nuclear Hazard Clause.

a. “Nuclear Hazard" means any nuclear reaction, radiation, or radioactive contamination, all
whether controlled or uncontrolled or however caused, or any consequence of any of these.

b. Loss caused by the nuclear hazard will not be considered loss caused by fire, explosion, or
smoke, whether these perils are specifically named in or otherwise included within the Perils
Insured Against in Section I.

c. This policy does not apply under Section | to loss caused directly or indirectly by nuclear hazard,
except that direct loss by fire resulting from the nuclear hazard is covered.

15. Recovered Property. If you or we recover any property for which we have made payment under
this policy, you or we will notify the other of the recovery. At your option, the property will be
returned to or retained by you or it will become our property. If the recovered property is returned
to or retained by you, the loss payment will be adjusted based on the amount you received for the
recovered property.

 

SECTION II - LIABILITY COVERAGES

COVERAGE E - Personal Liability

If a claim is made or a suit is brought against an insured for damages because of bodily injury or

property damage caused by an occurrence to which this coverage applies, we will:

1. pay up to our limit of liability for the damages for which the insured is legally liable. Damages
include prejudgment interest awarded against the insured.

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 148 of 228

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2. provide a defense at our expense by counsel of our choice, even if the suit is groundless, false or
fraudulent. We may investigate and settle any claim or suit that we decide is appropriate. Our duty
to settle or defend ends when the amount we pay for damages resulting from the occurrence equals
our limit of liability.

COVERAGE F - Medical Payments To Others

We will pay the necessary medical expenses that are incurred or medically ascertained within three

years from the date of an accident causing bodily injury. Medical expenses means reasonable charges

for medical, surgical, x-ray, dental, ambulance, hospital, professional nursing, prosthetic devices and
funeral services. This coverage does not apply to you or regular residents of your household except
residence employees. As to others, this coverage applies only:

1. to a person on the insured location with the permission of an insured; or

2. toa person off the insured location, if the bodily injury:

a. arises out of a condition on the insured location or the ways immediately adjoining;

b. is caused by the activities of an insured;

c. is caused by a residence employee in the course of the residence employee's employment by an
insured; or

d. is caused by an animal owned by or in the care of an insured.

 

SECTION II - EXCLUSIONS

 

1. Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily
injury or property damage:
a. which is expected or intended by the insured;

b. (1) arising out of or in connection with a business engaged in by an insured. This exclusion
applies but is not limited to an act or omission, regardless of its nature or circumstance,
involving a service or duty rendered, promised, owed, or implied to be provided because of
the nature of the business;

(2) arising out of the rental or holding for rental of any part of any premises by an insured. This
exclusion does not apply to the rental or holding for rental of an insured location:

{a} on an occasional basis if used only as residence;

(b) in part for use only as a residence, unless a single family unit is intended for use by the
occupying family to lodge more than two roomers or boarders; or

{c) in part, as an office, school, studio or private garage;
c. arising out of the rendering of or failure to render professional services;
d. arising out of a premises:
(1) owned by an insured;
(2) rented to an insured; or
(3) rented to others by an insured;
that is not an insured location;
e. arising out of:
(1) the ownership, maintenance, use, loading or unloading of motor vehicles or all other

motorized land conveyances, including trailers, owned or operated by or rented or loaned to
an insured;

(2) the entrustment by an insured of a motor vehicle or any other motorized land conveyance to
any person; or

(3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
conveyance excluded in paragraph (1) or (2) above.

This exclusion does not apply to:

(1) a trailer not towed by or carried on a motorized land conveyance;

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 149 of 228

INSURANCE

{2) a motorized land conveyance which is both designed and used exclusively for recreational
purposes off public roads, not subject to licensing requirements and:

(a) not owned by an insured; or
{b) owned by an insured and on an insured location:
{3) a motorized golf cart when used to play golf on a golf course;
(4) a vehicle or conveyance not subject to licensing requirements which is:
{a) used exclusively to service an insured's residence;
{b) in dead storage on an insured location;

(5) a vehicle or conveyance which is both designed and used exclusively for assisting the
handicapped and has a maximum attainable speed of 10 miles per hour;

f. arising out of:
(1) the ownership, maintenance, use, loading or unloading of a watercraft described below;
(2) the entrustment by an insured of a watercraft described below to any person; or

(3) statutorily imposed vicarious parental liability for the actions of a child or minor using a
watercraft described below.

Watercraft:
{1) with inboard or inboard-outdrive motor power owned by an insured;

{2) with inboard or inboard-outdrive motor power of more than 50 horsepower rented to an
insured;

(3) that is a sailing vessel, with or without auxiliary power, 26 feet or more in length owned by
or rented to an insured; or

(4) powered by one or more outboard motors with more than 25 total horsepower if the
outboard motor is owned by an insured. But, outboard motors of more than 25 total
horsepower are covered for the policy period if:

(a) you acquire them prior to the policy period and:
(i) you declare them at policy inception; or

(ii) your intention to insure is reported to us in writing within 45 days after you acquire
the out-board motors.

(b) you acquire them during the policy period.
This exclusion does not apply while the watercraft is stored;
g. arising out of:
(1) the ownership, maintenance, use, loading or unloading of an aircraft;
(2) the entrustment by an insured of an aircraft to any person; or
(3) statutorily imposed vicarious parental liability for the actions of a child or minor using an
aircraft.
An aircraft means any contrivance used or designed for flight, except model or hobby aircraft
not used or designed to carry people or cargo;
h. caused directly or indirectly by war, including undeclared war, civil war, insurrection, rebellion,
revolution, warlike act by a military force or military personne!, destruction or seizure or use for
a military purpose, and including any consequence of any of these. Discharge of a nuclear
weapon will be deemed a warlike act even if accidental.
Exclusions d., e., f., and g. do not apply to bodily injury to a residence employee arising out of and
in the course of the residence employee's employment by an insured.
2. Coverage E - Personal Liability, does not apply to:
a. liability:
(1) for any loss assessment charged against you as a member of an association, corporation or
community of property owners;
(2) under any contract or agreement. However, this exclusion does not apply to written
contracts:
{a) that directly relate to the ownership, maintenance or use of an insured location; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 150 of 228

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(b) where the liability of others is assumed by the insured prior to an occurrence;
unless excluded in {1) above or elsewhere in this policy;
b. property damage to property owned by the insured;
c. property damage to property rented to, occupied or used by or in the care of the insured. This
exclusion does not apply to property damage caused by fire, smoke or explosion;
d. bodily injury to any person eligible to receive any benefits:
{1) voluntarily provided; or
(2) required to be provided;
by the insured under any:
(1) workers’ compensation law;
(2) non-occupational disability law; or
(3) occupational disease law;
e. bodily injury or property damage for which an insured under this policy:
{1) is also an insured under a nuclear energy liability policy; or
{2) would be an insured under that policy but for the exhaustion of its limit of liability.
A nuclear energy liability policy is one issued by:
(1) American Nuclear Insurers;
(2) Mutual Atomic Energy Liability Underwriters;
(3) Nuclear Insurance Association of Canada;
or any of their successors; or
f. bodily injury to you or an insured within the meaning of part a. or b. of “insured” as defined.
3. Coverage F - Medica! Payments to Others, does not apply to bodily injury:
a. toa residence employee if the bodily injury:
(1) occurs off the insured location; and

(2) does not arise out of or in the course of the residence employee's employment by an
insured;

b. to any person eligible to receive benefits:
(1) voluntarily provided; or
(2) required to be provided;
under any:
(1) workers' compensation law;
(2) non-occupational disability law; or
(3) occupational disease law;
c. from any:
{1} nuclear reaction;
(2) nuclear radiation; or
(3) radioactive contamination;
all whether controlled or uncontrolled or however caused; or
(4) any consequence of any of these.

d. to any person, other than a residence employee of an insured, regularly residing on any part of
the insured location.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 151 of 228

INSURANCE

 

SECTION I! - ADDITIONAL COVERAGES

 

We cover the following in addition to the limits of liability:
1. Claim Expenses. We pay:
a. expenses we incur and costs taxed against an insured in any suit we defend;

b. premiums on bonds required in a suit we defend, but not for bond amounts more than the limit
of liability for Coverage E. We need not apply for or furnish any bond;

c. reasonable expenses incurred by an insured at our request, including actual loss of earnings (but
not loss of other income) up to $50 per day, for assisting us in the investigation or defense of a
claim or suit;

d. interest on the entire judgment which accrues after entry of the judgment and before we pay or
tender, or deposit in court that part of the judgment which does not exceed the limit of liability
that applies.

2. First Aid Expenses. We will pay expenses for first aid to others incurred by an insured for bodily
injury covered under this policy. We will not pay for first aid to you or any other insured.

3. Damage to Property of Others. We will pay, at replacement cost, up to $500 per occurrence for
property damage to property of others caused by an insured.

We will not pay for property damage:

a. to the extent of any amount recoverable under Section | of this policy;

caused intentionally by an insured who is 13 years of age or older;

to property owned by an insured;

to property owned by or rented to a tenant of an insured or a resident in your household; or

arising out of;

{1) a business engaged in by an insured;

(2) any act or omission in connection with a premises owned, rented or controlled by an
insured, other than the insured location; or

(3) the ownership, maintenance, or use of aircraft, watercraft or motor vehicles or all other
motorized land conveyances.

This exclusion does not apply to a motorized land conveyance which is both designed and
used exclusively for recreational purposes off public roads, not subject to licensing
requirements and not owned by an insured.

4. Loss Assessment. We will pay up to $1000 for your share of loss assessment charged during the
policy period against you by a corporation or association of property owners, when the assessment
is made as a result of:

a. bodily injury or property damage not excluded under Section II of this policy; or
b. liability for an act of a director, officer or trustee in the capacity as a director, officer or trustee,
provided:
(1) the director, officer or trustee is elected by the members of a corporation or association of
property owners; and
(2) the director, officer or trustee serves without deriving any income from the exercise of
duties which are solely on behalf of a corporation or association of property owners.
This coverage applies only to loss assessments charged against you as owner or tenant of the
residence premises.
We do not cover loss assessments charged against you or a corporation or association of property
owners by any governmental body.
Regardless of the number of assessments, the limit of $1000 is the most we will pay for loss
arising out of:
a. one accident, including continuous or repeated exposure to substantially the same general
harmful conditions; or

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 152 of 228

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b. a covered act of a director, officer or trustee. An act involving more than one director, officer
or trustee is considered to be a single act.

The following do not apply to this coverage:
1. Section II - Coverage E - Personal Liability Exclusion 2.a.(1);
2. Condition 1. Policy Period, Under Sections | and || Conditions.

 

SECTION II - CONDITIONS

 

1. Limit of Liability. Our total liability under Coverage E for all damages resulting from any one
occurrence will not be more than the limit of liability for Coverage E as shown in the Declarations.
This limit is the same regardless of the number of insureds, claims made or persons injured. All
bodily injury and property damage resulting from any one accident or from continuous or repeated
exposure to substantially the same general harmful conditions shall be considered to be the result of
one occurrence.

Our total liability under Coverage F for all medical expense payable for bodily injury to one person as
the result of one accident will not be more than the limit of Liability for Coverage F as shown in the
Declarations.

2. Severability of Insurance. This insurance applies separately to each insured. This condition will not
increase our limit of liability for any one occurrence.

3. Duties After Loss. in case of an accident or occurrence, the insured will perform the following
duties that apply. You will help us by seeing that these duties are performed.

a. give written notice to us or our agent as soon as is practical, which sets forth:
(1) the identity of the policy and insured;

(2) reasonably available information on the time, place and circumstances of the accident or
occurrence; and

(3} names and addresses of any claimants and witnesses;

b. promptly forward to us every notice, demand, summons or other process relating to the
accident or occurrence;

c. at our request, help us:
(1) to make settlement;
(2) to enforce any right of contribution or indemnity against any person or organization who
may be liable to an insured;
(3) with the conduct of suits and attend hearings and trials;
(4) to secure and give evidence and obtain the attendance of witnesses;
d. under the coverage - Damage to Property of Others - submit to us within 60 days after the loss,
a sworn statement of loss and show the damaged property, if in the insured’s control;
e. the insured will not, except at the insured's own cost, voluntarily make payment, assume
obligation or incur expense other than for first aid to others at the time of the bodily injury.
4. Duties of an Injured Person - Coverage F - Medical Payments to Others. The injured person or
someone acting for the injured person will:
a. give us written proof of claim, under oath if required, as soon as is practical; and
b. authorize us to obtain copies of medical reports and records.
The injured person will submit to a physical exam by a doctor of our choice when and as often as
we reasonably require.
5. Payment of Claim - Coverage F - Medical Payments to Others. Payment under this coverage is not
an admission of liability by an insured or us.
6. Suit Against Us. No action can be brought against us unless there has been compliance with the
policy provisions.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 153 of 228

INSURANCE

No one will have the right to join us as a party to any action against an insured. Also, no action
with respect to Coverage E can be brought against us until the obligation of the insured has been
determined by final judgment or agreement signed by us.

7. Bankruptcy of an Insured. Bankruptcy or insolvency of an insured will not relieve us of our
obligations under this policy.

8. Other Insurance - Coverage E - Personal Liability. This insurance is excess over other valid and
collectible insurance except insurance written specifically to cover as excess over the limits of
liability that apply in this policy.

SECTION | AND II - CONDITIONS

1. Policy Period. This policy applies only to loss in Section | or bodily injury or property damage in
Section Il, which occurs during the policy period.

2. Concealment or Fraud. The entire policy will be void if, whether before or after a loss, an insured
has:

a. intentionally concealed or misrepresented any material fact or circumstance; or
b. engaged in fraudulent conduct;
relating to this insurance.

3. Liberalization Clause. If we make a change which broadens coverage under this edition of our
policy without additional premium charge, that change will automatically apply to your insurance as
of the date we implement the change in your state, provided that this implementation date falls
within 60 days prior to or during the policy period stated in the Declarations.

This Liberalization Clause does not apply to changes implemented through introduction of a
subsequent edition of our policy.

4, Waiver or Change of Policy Provisions.

A waiver or change of a provision of this policy must be in writing by us to be valid. Our request
for an appraisal or examination will not waive any rights.
5. Cancellation.

a. You may cancel this policy at any time by returning it to us or by letting us know in writing of
the date cancellation is to take effect.

b. We may cancel this policy only for the reasons stated below by letting you know in writing of
the date cancellation takes effect. This cancellation notice, together with our reason for
cancellation, will be mailed to you and, if applicable, your agent or broker at the last addresses
known to us or shown by our records. Proof of mailing will be sufficient proof of notice.

(1) When you have not paid the premium, we may cancel at any time by letting you know at
least 10 days before the date cancellation takes effect.

(2) When this policy has been in effect for less than 60 days and is not a renewal with us, we
may cancel for any reason by letting you know at least 45 days before the date cancellation
takes effect.

(3) When this policy has been in effect for 60 days or more, or at any time if it is a renewal
with us, we may cancel:

(a) if there has been a material misrepresentation of fact which if known to us would have
caused us not to issue the policy; or

{b) if the risk has changed substantially since the policy was issued.

This can be done by letting you know at least 45 days before the date cancellation takes

effect.

(4) When this policy is written for a period of more than one year, we may cancel for any
reason at anniversary by letting you know at least 45 days before the date cancellation
takes effect.

However, with respect to paragraphs b. (2), (3) and (4) above, if two or more of the
following conditions exist at any building that is covered under this policy, we may cancel
this policy by letting you and, if applicable, your agent or broker know at least 5 days before
the date cancellation takes effect. We will also let any mortgagee or other person shown by
the policy to have an interest in a covered loss know at least 20 days before the date
cancellation takes effect.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 154 of 228

“INSURANCE

(1) Without reasonable explanation, the building is unoccupied for more than 60 consecutive
days, or at least 65% of the rental units are unoccupied for more than 120 consecutive
days unless the building is maintained for seasonal occupancy or is under construction or
repair;

(2) Without reasonable explanation, progress toward completion of permanent repairs to the
building has not occurred within 60 days after receipt of funds following satisfactory
adjustment or adjudication of loss resulting from a fire;

(3) Because of its physical condition, the building is in danger of collapse;

(4) Because of its physical condition, a vacation or demolition order has been issued for the
building, or it has been declared unsafe in accordance with applicable law;

(5) Fixed and salvageable items have been removed from the building, indicating an intent to
vacate the building;

(6) Without reasonable explanation, heat, water, sewer, and electricity are not furnished for the
building for 60 consecutive days; or

(7) The building is not maintained in substantial compliance with fire, safety and building codes.

c. When this policy is cancelled, the premium for the period from the date of cancellation to the
expiration date will be refunded pro rata.

d. If the return premium is not refunded with the notice of cancellation or when this policy is
returned to us, we will refund it as soon as possible, but no later than:

(1) 45 days after we send a notice of cancellation to you; or

(2) 30 days after we receive the policy or a notice of cancellation from you.

e. Except as noted below, if the policy is cancelled by us, we will give the same advance notice of
cancellation in writing to any mortgagee or other person shown by the policy to have an interest
in a covered loss as we give to you. The cancellation notice may be delivered or mailed; if
mailed, proof of mailing will be sufficient proof of notice.

6. Nonrenewal. We may elect not to renew this policy. We may do so by mailing to you and, if
applicable, your agent or broker at the last addresses known to us or shown by our records, written
notice, including our reason for refusing to renew, at least 45 days before the expiration date of this
policy. Proof of mailing will be sufficient proof of notice.

If we have offered in writing, either directly or through our agent, at least 20 days before the

expiration date of this policy, to renew this policy, and have included a statement of the renewal

premium due, we may terminate this policy on its expiration date if you fail to pay the required
premium when due.

For the purpose of determining the date when nonrenewal can be effected: A policy with a term of

six months or less is considered as if written for a policy period of six months. A policy written for

a term longer than one year or a policy with no fixed expiration date is considered as if written for a

period of one year.

7. Assignment. Assignment of this policy will not be valid unless we give our written consent.

8. Subrogation. An insured may waive in writing before a loss all rights of recovery against any
person. If not waived, we may require an assignment of rights of recovery for a loss to the extent
that payment is made by us.

If an assignment is sought, an insured must sign and deliver all related papers and cooperate with

us.
Subrogation does not apply under Section II to Medical Payments to Others or Damage to Property
of Others.

9, Death. If any person named in the Declarations or the spouse, if a resident of the same household,
dies:

a. we insure the legal representative of the deceased but only with respect to the premises and
property of the deceased covered under the policy at the time of death;
b. insured includes:
(1) any member of your household who is an insured at the time of your death, but only while a
resident of the residence premises; and
(2) with respect to your property, the person having proper temporary custody of the property
until appointment and qualification of a legal representative.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 155 of 228

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MUTUAL POLICY CONDITIONS

This policy is issued by a mutual company having special regulations lawfully applicable to its
organization, membership, policies or contracts of insurance, of which the following shall apply to and
form a part of this policy:

This policy is non-assessable. The policyholder is a member of the company and _ shall
participate, to the extent and upon the conditions fixed and determined by the Board of

Directors in accordance with the provisions of law, in the distribution of dividends so fixed and
determined.

For dividend classification purposes, this policy is classified, except as to coverage afforded by any rider
or endorsement providing otherwise, in Dividend Class Il.

 

The named insured is hereby notified that by virtue of this policy he is a member of Liberty Mutual
Group and is entitled to vote either in person or by proxy at any and all meetings of said company.

The annual meetings are held at its home office, Boston, Massachusetts on the second Wednesday of
April in each year, at eleven o'clock in the morning.

IN WITNESS WHEREOF, the company has executed and attested these presents; but this policy shall
not be valid unless countersigned on the Declarations Page.

SECRETARY PRESIDENT

FMHO 3217 10 09 Page 20 of 20
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 156 of 228

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INSURANCE

HOMEPROTECTOR PLUS ENDORSEMENT FMHO 2171 R2

A. INCREASED SPECIAL LIMIT OF LIABILITY - JEWELRY, WATCHES, FURS, PRECIOUS AND
SEMI-PRECIOUS STONES

Section | Coverage C - Personal Property. Special Limits of Liability. Paragraph 6 is replaced with:

6. Jewelry, watches, furs, precious and semi-precious stones are insured for accidental direct
physical loss or damage. The following exclusions and limitations apply:

a.
b.

c.

d.

$2500 for loss by theft, subject to a maximum of $1000 for any one article.

The limit of liability stated in the declarations page for Coverage C, for loss caused by perils
named under Coverage C of this policy, other than theft.

$2500 for loss caused by perils not named and not excluded in this policy, subject to a
maximum of $1000 for any article.

We do not cover loss or damage caused by mechanical breakdown, wear and tear, gradual
deterioration, insects, vermin or inherent vice.

B. REPLACEMENT COST PROVISION - DWELLING AND PERSONAL PROPERTY
You must meet the following additional condition for this provision to apply:

17. Additions or Changes to Dwelling - Notice to Company. You must inform us within 90 days of
the start of any additions, alterations or improvements to the dwelling that will increase the
replacement cost of the dwelling by $5000 or more.

If you meet Condition 17, then Section |, Conditions of the policy, ltem 3. Loss Settlement, is
replaced as follows:

3. Loss Settlement. Covered property losses are settled as follows:

a.

FMHO 2171 R2

The applicable limit of liability for Buildings under Coverage A or B is the replacement cost
without deduction for depreciation, subject to the following:

(1) We will pay the cost of repair or replacement, but not exceeding:

(a) The replacement cost of that part of the building damaged using new materials of
like kind and quality on the same premises and intended for the same occupancy and
use;

{b) With respect to Coverage A, an amount not exceeding 20% greater than the limit of
liability stated in the declarations, as modified by the Inflation Protection Provision of
the policy;

(c) With respect to Coverage B, the limit of liability stated in the declarations, as
modified by the Inflation Protection Provision of the pclicy;
(d) The amount actually and necessarily spent to repair or replace the damage.

(2) When the cost of repair or replacement is more than $2500 or more than 5% of the
amount of insurance in this policy on the building, whichever is less, we will pay no
more than the actual cash value of the damage until actual repair or replacement is
complete.

(3) If the policy includes optional Earthquake coverage, FMHO 2168, this Loss Settlement
provision will not apply for direct physical loss to property caused by earthquake,
including land shock waves or tremors before, during or after a volcanic eruption.

Awnings, outdoor antennas and outdoor equipment, whether or not attached to buildings,
and structures that are not buildings: at actual cash value at the time of loss but not
exceeding the amount needed to repair or replace.

Personal property, carpeting and domestic appliances: at replacement cost but not
exceeding the amount needed to repair or replace subject to the following:

(1) Our limit of liability for loss to Personal Property shall not exceed the smallest of the
following:

(a) Replacement cost with a new item of like kind and quality at the time of loss;
{b) The full cost of repair;
{c) Any special limit of liability described in the policy or stated in this endorsement; or

Liberty Mutual Group Page 1 of 2
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 157 of 228

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(d} The Coverage C limit of liability stated in the declarations, as modified by the
Inflation Protection Provision of the policy.

(2) This endorsement shall not apply to:
{a) Fine arts and items which, by their nature cannot be replaced with new items.

(ob) Articles whose age or history contribute substantially to their value including
souvenirs or collector's items.

(c) Property that is unusable for the purpose for which it was originally intended due to
age or historic condition.

(3) We will not pay for any loss to personal property under this endorsement until actual
repair or replacement is complete.

d. You may disregard the replacement cost provision and make a claim for loss of damage to
property on an actual cash value basis and then make claim within 180 days after loss for
additional liability under this endorsement.

C. INCREASED LIMIT - COVERAGE D

We will pay the amount of loss covered by Coverage D which is actually sustained by you during
the 12 consecutive months following the date of loss, subject to the periods of time under
paragraphs 1, 2 and 3 of Coverage D - Loss of Use.

D. ADDITIONAL COVERAGES
REFRIGERATORS AND FREEZERS CONTENTS COVERAGE

We cover the contents of deep freeze or refrigerated units on the residence premises from the perils
of:

1. Fluctuation or total interruption of electric power, either on or off premises, resulting from
conditions beyond the control of the Insured.

2. Mechanical breakdown of any refrigeration equipment on premises including the blowing of
fuses or circuit breakers.

We do not cover loss caused by the following additional exclusions:
1. Disconnection or termination of power due to turning off any switch.

2. Inability of power source to provide sufficient power due to government order, lack of fuel or
lack of generating capacity to meet demand.

SPECIAL LIMIT - We will not pay more than $500 of your loss of refrigerator or freezer contents
resulting from the above perils.

All other provisions of this policy apply.
LOCK REPLACEMENT COVERAGE

We will pay up to $250 for replacing the locks or cylinders on the exterior doors of the residence
premises when your keys have been stolen. The theft of the keys must be reported to the police for
this coverage to apply.

This coverage is additional insurance. No deductible applies to this coverage.

FMHO 2171 R2 Liberty Mutual Group Page 2 of 2
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 158 of 228

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CREDIT CARD, FUND TRANSFER CARD, FORGERY
AND COUNTERFEIT MONEY COVERAGE HO-53 (Ed. 4-84)

Increased Limit

For an additional premium, the limit of liability for Additional Coverage 6., Credit Card, Fund Transfer
Card, Forgery and Counterfeit Money, is increased to $*

*Entries may be left blank if shown elsewhere in this policy for this coverage.

All other provisions of this policy apply.

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FMHO 3389 12 12

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 159 of 228

AMENDATORY ENDORSEMENT

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

THIS ENDORSEMENT SUPERSEDES ALL OTHER ENDORSEMENTS WHICH HAVE BEEN MADE PART
OF YOUR POLICY AND REFERENCE THESE SAME PROVISIONS

SECTION | - PROPERTY COVERAGES

COVERAGE A - Dwelling
Item 1. is amended as follows:
We cover:

1. The dwelling on the “residence premises"
shown in the Declarations, including
structures attached to the dwelling, and
attached wall-to-wall carpeting;

COVERAGE C - Personal Property

The introductory paragraph of Special Limits of
Liability is amended to read:
These do not increase the Coverage C limit of
liability. The special limit for each numbered
category below is the total limit for each loss
for all property in that category. If personal
property can reasonably be considered a part of
two or more of the groups listed below, the
lowest limit will apply.

The following limits are added:

11. $5000 on electronic data processing system
equipment and the recording or storage
media or accessories used with that
equipment.

12. $5000 on any one article and $10000 in
the aggregate for loss by theft of any rug,
carpet (excluding attached wall-to-wall
carpet), tapestry, wall-hanging or other
similar article.

13. $2500 in the aggregate for loss of any of
the following whether or not they are part
of a collection: trading cards, comic books,
figurines, stamps, advertising materials,
stuffed animals, dolls, sports and
entertainment memorabilia, toys, games,
militaria, and books.

14. $1200 for any one electrical appliance for
loss by sudden and accidental damage from
artificially generated electrical currents. This
special limit does not apply to electronic
data processing equipment or _ storage
media.

In the event Landlord Endorsement FMHO 3307

is part of this policy, the above coverage

contained in Special Limits of Liability

introductory paragraph and subparagraphs 11

through 14 are deleted.

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Property Not Covered under COVERAGE C -
Personal Property

The final two subparagraphs of Item 3. (a. and
b.) are replaced by the following:

We do cover vehicles or conveyances not
subject to motor vehicle registration which are:

a. Used solely to service an "“insured's"
residence; or

b. Designed for assisting the handicapped;

In the event Landlord Endorsement FMHO 3307
is part of this policy, the above coverage
contained in the final two subparagraphs of
Item 3. (a. and b.) is deleted.

Item 10. is added as personal property items
not covered.

10. Water or steam

ADDITIONAL COVERAGES is revised as
follows:

Item 7. Loss Assessment is deleted in its
entirety.

The following is added to Item 8. Collapse:
With respect to this Additional Coverage:

(1) Collapse means the sudden and
entire falling down or caving in of a
building or any part of a building
with the result that the building or
part of the building cannot be
occupied or used for its current
intended purpose.

(2) A building or any part of a building
that is in danger of falling down or
caving in is not considered to be in
a state of collapse.

(3) A part of a building that is standing
is not considered to be in a state of
collapse even if it has separated
from another part of the building.

(4) A building or any part of a building
that is standing is not considered to
be in a state of collapse even if it
shows evidence of cracking,
bulging, sagging, bending, leaning,
settling, shrinkage or expansion.

Page 1 of 2
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 160 of 228

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SECTION | - PERILS INSURED AGAINST caused by or resulting from manmade,
COVERAGE A - DWELLING and COVERAGE B - animai, or natural actions, events, or
OTHER STRUCTURES conditions.
The following is added to item 2.b. If direct loss by fire or explosion ensues, we

will pay only for the ensuing loss.
This exclusion does not apply to loss by

(4) Footing{s)

The following are added to item 2.e. Any of the

an theft.
following: _ .
(8) Growth of trees, shrubs, plants or (This is Exclusion 1.b. in Form HO 00 03.)

lawns whether or not such growth is SECTION II - EXCLUSIONS

above or below the surface of the Item ‘1.a. under Coverage E - Personal
ground; Liability and Coverage F - Medical Payments
The final paragraph of item 2. is further revised as to Others is amended as follows:
follows: Which is expected or intended by the
If any of these cause sudden and accidental “insured”, even if the resulting “bodily
water damage not otherwise excluded, from a injury" or “property damage
plumbing, heating, air conditioning or automatic 1) is of a different kind, quality, or
fire protective sprinkler system or household degree than initially expected or
appliance, we cover loss caused by the water intended; or
including the cost of tearing out and replacing 2) is sustained by a different person,
any part of a building necessary to repair the entity, real or personal property,
system or appliance. We do not cover loss to than initially expected or intended.
the system or appliance from which this water

However, this exclusion does not apply

escaped. to “bodily injury” resulting from the use
of reasonable force to protect persons or
SECTION 1| - EXCLUSIONS property.
2. Earth Movement is deleted and replaced by the
following: SECTION II - ADDITIONAL COVERAGES

2. Earth Movement, meaning movement of {tem 1.c. under Claims Expenses is amended as
the earth, whether combined with water or not, — fojjqws:

i i i i i imited to: .
in any direction, including but not limi Reasonable expenses incurred by an

a. Earthquake, including land shock waves or "insured" at our request, including actual
tremors before, during, or after a volcanic loss of earnings (but not loss of other
eruption; income) up to $250 per day, for assisting us
Landslide, mud slide, or mud flow; in the investigation or defense of a claim or

c. Subsidence or sinkhole; or suit.

d. Any other earth movement, including earth tem 4. Loss Assessment is deleted in its
sinking, rising, shifting, | expanding, entirety.
contracting, or eroding; All other policy terms and conditions apply.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 161 of 228

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HOMEOWNER AMENDATORY ENDORSEMENT

THIS ENDORSEMENT CHANGES YOUR POLICY - PLEASE READ IT CAREFULLY

THIS ENDORSEMENT SUPERSEDES ALL OTHER ENDORSEMENTS WHICH HAVE BEEN MADE PART
OF YOUR POLICY AND REFERENCE THESE SAME PROVISIONS

DEFINITIONS
The introductory paragraph of Definitions is amended to read:

In this policy, "you" and "your" refer to the "named insured" shown in the Declarations and
(1) the spouse of the "named insured" shown on the Declarations, if a resident of the same
household; or
(2) the partner in a civil union, registered domestic partnership, or similar union or partnership, with
the "named insured" shown on the Declarations, if a resident of the same household.

Section (2), above, only applies if the civil union, registered domestic partnership or other similar
union or partnership is validly entered into under the law of any state, territory or possession of the
United States of America, any territory or province of Canada, or the equivalent of a state or
province in any other country.
"We," "us" and “our” refer to the Company providing this insurance. In addition, certain words and
phrases are defined as follows:

SECTIONS | AND II - CONDITIONS
The introductory paragraph of 9. Death. is amended to read:

If any person named in the Declarations or the spouse, if a resident of the same household; or the
partner in a civil union, registered domestic partnership or similar union or partnership, if a resident of
the same household, dies:

FMHO 2934 (Ed. 7/04) Liberty Mutual Insurance Group Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 162 of 228

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NO SECTION II - LIABILITY COVERAGES FOR HOME DAY
CARE BUSINESS LIMITED SECTION | - PROPERTY COVERAGES
FOR HOME DAY CARE BUSINESS HO-322 WA (Ed. 6-92)

If an insured regularly provides home day care services to a person or persons other than insureds and
receives monetary or other compensation for such services, that enterprise is a business. Mutual
exchange of home day care services, however, is not considered compensation. The rendering of home
day care services by an insured to a relative of an insured is not considered a business.

 

Therefore, with respect to a home day care enterprise which is considered to be a business, this policy:

1. does not provide Section II - Liability Coverages because a business of an insured is excluded under
exclusion 1.b.(1) of Section II - Exclusions;

2. does not provide Section | - Coverage B coverage where other structures are used in whole or in
part for business;

3. limits coverage for property used on the residence premises for home day care enterprise to
$2,500, because Coverage C - Special Limits of Liability - item 9 imposes that limit on business
property on the residence premises. (Item 9 corresponds to item 6 in Form HO-8);

4. limits coverage for property used off the residence premises for home day care enterprise to $250,
because Coverage C - Special Limits of Liability - item 10 imposes that limit on business property
off the residence premises. (Item 10 corresponds to item 7 in Form HO-8.)

THIS ENDORSEMENT DOES NOT CONSTITUTE A REDUCTION OF COVERAGE.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 163 of 228

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AMENDATORY MOLD, FUNGUS, WET ROT, DRY ROT, BACTERIA, OR
VIRUS ENDORSEMENT

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

DEFINITIONS
The following definition is added to the DEFINITIONS section:

12. "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" means any type or form of fungus, rot,
virus or bacteria. This includes mold, mildew and any mycotoxins (meaning a toxin produced
by a fungus), other microbes, spores, scents or byproducts produced or released by mold,
mildew, fungus, rot, bacteria, or viruses.

SECTION | - PROPERTY COVERAGES
Additional Coverages
The following Additional Coverage is added:

9, Remediation of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" Resulting Directly From
Any Covered Loss

We will pay, up to the Additional Coverage - Mold Limit of Liability shown below, for the
“Remediation” of “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” resulting directly from any
covered loss.

"Remediation" means the reasonable and necessary treatment, containment, decontamination,
removal or disposal of “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” as required to complete
the repair or replacement of property, covered under Section | of the policy, that is damaged by any
covered peril insured against, and also consists of the following:

1. The reasonable costs or expense to remove, repair, restore, and replace that property
including the costs to tear out and replace any part of the building as needed to gain
access to the “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”; and

2. the reasonable costs or expense for the testing or investigation necessary to detect,
evaluate or measure “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus"; and

3. any loss of fair rental value, or reasonable increase in additional living expenses, that is
necessary to maintain your normal standard of living, if "Mold, Fungus, Wet Rot, Dry
Rot, Bacteria, or Virus” resulting directly from any covered loss makes your residence
premises uninhabitable.

We will pay no more than the Additional Coverage - Mold Limit of Liability shown below for the
"Remediation" of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" resulting directly from any
covered loss during the policy period, regardless of the number of locations under the policy to
which this endorsement is attached, the number of persons whose property is damaged, the
number of “insureds,”or the number of losses or claims made.

If there is a covered joss or damage to covered property, not caused, in whole or in part, by “Mold,
Fungus, Wet Rot, Dry Rot, Bacteria, or Virus,” loss payment will not be limited by the terms of this
Additional Coverage, except to the extent that “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”
causes an increase in the loss. Any such increase in the loss will be subject to the terms of this
Additional Coverage.

FMHO 3373 12 12 Page 1 of 2
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 164 of 228

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INSURANCE

ADDITIONAL COVERAGE -- MOLD LIMIT OF LIABILITY
Mold Limit of Liability: SECTION | Aggregate Limit $5,000

This limitation does not apply to “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” ensuing from a
covered fire or lightning loss.

This Additional Coverage does not increase the limits of liability under Section | of the policy as shown
in the Declarations.

SECTION I - EXCLUSIONS
Exclusion 12. is added:

12. Except as provided by Additional Coverage 9., loss consisting of or caused by "Mold,
Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" is excluded, even if resulting from a peril
insured against under Section |. We do not cover "Remediation" of "Mold, Fungus, Wet Rot,
Dry Rot, Bacteria, or Virus," even if resulting from a peril insured against under Section I,
except as provided by Additional Coverage 9.

This exclusion does not apply to “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” ensuing from a
covered fire or lightning loss.

SECTION II - EXCLUSIONS

Coverage E - Personal Liability and Coverage F - Medical Payments to Others
Exclusion 1.i. is added:

i. Arising out of or aggravated by, in whole or in part by, “Mold, Fungus, Wet Rot, Dry Rot.
Bacteria, or Virus.”

This endorsement takes precedence over all other endorsements attached to your policy.

FMHO 3373 12 12 Page 2 of 2
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 165 of 228

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SEEPAGE EXCLUSION ENDORSEMENT
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
SECTION I - PERILS INSURED AGAINST

Coverage A — Dwelling and Coverage B — Other Structures

Paragraph 2.e. is added:

e. Seepage, meaning a gradual, continuous, or repeated seepage or leakage of water, steam or fuel
over a period of 14 days or more, resulting in damage to the structure, whether hidden or not.

This endorsement takes precedence over all other endorsements attached to your policy.

FMHO 3403 12 12 Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 166 of 228

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INFLATION PROTECTION ENDORSEMENT
It is agreed that the limits of liability for:
Coverage A, Dwelling;
Coverage B, Structure;
Coverage C, Personal Property;
and Coverage D, Loss of Use,
shall be raised by the rate of increase in the Xactware Pricing Indices published by Xactware Inc.

METHOD

To find the limits of liability on a given date, the Index Level the Company assigns to that date will be
divided by the Index Level for the effective date of this Endorsement. This Factor is then multiplied by
the limit for Coverages A, B, C and D separately.

If during this policy's term the Coverage A |imit is changed at the insured's request, the effective date
of this Endorsement is amended to the effective date of such change.

This Endorsement shall not reduce the limits of liability to less than the amount shown on:

a. The policy; or
b. The most recent Homeowners Policy Renewal Declaration.

This Endorsement must be attached to Change Endorsement when issued after the policy is written.

FMHO 3219 10 09 Page 1 of 1
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 167 of 228
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INSURANCE

PREMISES ALARM OR FIRE PROTECTION SYSTEM HO-216 (Ed. 4-84)

For a premium credit, we acknowledge the installation of an alarm system or automatic sprinkler system
approved by us on the residence premises. You agree to maintain this system in working order and to
notify us promptly of any change made to the system or if it is removed.

HO-216 (Ed. 4-84) Copyright, Insurance Services Office, Inc., 1984 Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 168 of 228

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LEAD POISONING EXCLUSION ENDORSEMENT - WASHINGTON

The following provisions are added to and made part of your Homeowners Policy:
Section | - Property Coverages do not apply to any costs or expenses incurred or loss arising out of:

1. the removal, testing for, monitoring, clean-up, abatement, treatment, or neutralization of lead:
paint, putty or plaster containing lead; soil or earth containing ead; or any other substance or
material containing lead; or

2. any governmental direction or other request that you test for, monitor, clean-up, remove,
abate, contain, treat or neutralize lead; paint, putty or plaster containing lead; soil or earth
containing lead; or any other substance or material containing lead.

Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily
injury or property damage:

1. arising out of absorption, ingestion or inhalation of lead from lead paint, plaster or putty
containing lead; soil or earth containing lead or any other material or substance containing lead;
or

2. any costs or expenses incurred or loss arising out of any claim, governmental direction, or
request that you test for, monitor, cleanup, remove, abate, contain, treat or neutralize lead;
paint, putty or plaster containing lead; or any other substance or material containing lead.

This exclusion applies to any obligation to share damages, costs or expenses with someone else or to
repay someone else who must pay damages, costs or expenses.

FMHO 1082 {ED. 9-95) Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 169 of 228

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INSURANCE

ORDINANCE OR LAW COVERAGE - WASHINGTON

For the Premium charged, the percentage applied to the Coverage A limit of liability under Form HO 00
03 or Form HO OO O6, or the percentage applied to the building Additions and Alterations limit of
liability under Form HO 00 04, is increased to 10%. This applies to covered property or the building
containing the covered property for loss resulting from a Peril Insured Against. The loss will be settled
on the basis of any ordinance or law that regulates the construction, repair or demclition of this

property.
All other provisions of this policy apply.

FMHO 2055 Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 170 of 228

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INSURANCE

UNDERGROUND FUEL STORAGE TANK EXCLUSION

The following provision is added to and made part of your Homeowners Policy:
Section It - Exclusions
The Paragraph below is added:

Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to "bodily
injury" or “property damage”:

arising out of the release of fuel or fuel products from an "underground storage tank system."

“Underground storage tank system” means the underground tank, the fill pipe, the vent pipes, and
all associated fixtures, including pipe and tubing which contains or conveys fuel or fuel products
from the underground storage tank to the point of combustion.

All other provisions of this policy apply.

FMHO 3209 10 09 Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 171 of 228

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INSURANCE

WAIVER OF SMALL PREMIUM ADJUSTMENT

Section | and II - Conditions, Item #4. Waiver or Change of Policy Provisions is changed by adding this
sentence: If a change results in a premium adjustment of less than $3.00, the refund or additional
premium will be waived unless the insured requests a refund.

FMHO 3220 10 09 Liberty Mutual Group Page 1 of 1
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 172 of 228

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Notice of Membership in Liberty Mutual Holding Company Inc.

While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

The named insured first named in the Declarations shall participate in the distribution of any dividends
declared by us for this Policy. The amount of such Named Insured's participation is determined by the
decision of our Board of Directors in compliance with any laws that apply.

Any provisions in the policy relating to:
1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or

2. Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
Insurance Company

are deleted and replaced by the preceding paragraphs.

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 173 of 228

EXHIBIT H
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 174 of 228

6 | eT $ | Pol: H3226803084640 | Ins: RANI THYKKUTTATHIL | DoL: 03/09/2014 | St: Open

 

Create Date

Author | Topic |RelatedTo} Subject

Text (2,500)

 

 

04/16/2014
01:21 PM

04/15/2014
03:01 PM

04/15/2014
02:54 PM

04/15/2014
12:00 PM

04/14/2014
07:37 PM

04/14/2014
06:05 PM

NANCY Claim (1) 1st
SIMOENS Status Party
Dwelling
- RANI
THYKKUTT

TIMOTHY = Investigatio!. RAINBOW Mitigation

O'BRIEN INTERNATI

LLC
TIMOTHY Investigation RAINBOW Mitigation
O'BRIEN INTERNATI

LLC
TIMOTHY Investigatio! RAINBOW Mitigation
O'BRIEN INTERNATI

LLC

JACKLINE Claim none
OYUGI Status (Claim-

level)
JACKLINE Policyholdei none
OYUGI (Claim-

level)

Original 04/16/2014 01:21 PM Took incoming call from ph Rani. She wanted
to go over a few items: regarding ale - | gave the okay to stay through
5/5/14. She is on a waiting list hotel that ALE set her up at after that - 5/6
onward. Her pregnancy due date is 5/2. She has a note from her doctor
stating that she should not be in home until damaged items are removed/
remediation complete and heavy construction complete. She wanted

to ensure she had a place to go in case work is not done and she had
newbom. | advised | understood. The security system panel sustained water
damage. Her contractor will forward this documentation to PLS Oyudgi. It

is unclear at this time if electrical items were damaged. She is having her
contractor take out damaged wall and do any remediation as she is unhappy
with Rainbow and does not want them back in her home. She has attempted
to call. Mit Spec. Tim O'Brian yesterday and today and she stated that
telephone system is not working. | advised that ! would email him asking him
to contact her.

Original 04/15/2014 03:01 PM IBC from Mike @ RBW. 206-510-7182.
Discussed the loss. Will get in touch with the PH to see if the issues can be
resolved. Discussed with the PLS over IM regarding.

Original 04/15/2014 02:54 PM OBC to Mike @ RBW 206-510-7182. LVM
requesting.a.call back. -- OBC to PH 206-225-9969. LVM regarding
the contact attempts with RBW. Requested a call back.

Original 04/15/2014 12:00 PM OBC to RBW 800-708-6787. Mike was not
in, ~------ -- OBC to Mike @ RBW 206-510-7182. LVM requesting a call back
regrading the customer complaint

Original 04/14/2014 07:37 PM called cabinet CTR to go over his proposal.
No answer, sent an email and will follow up tomorrow during norma!
business hours.

Original 04/14/2014 06:05 PM Insd called back stating that she needed
hotel accomodation for her sister and her husband who live with her??

she stated that they are not renters. She also wanted them put in different
hotels close to their work? informed insd that ALE will be for a hotel with 2
rooms and a kitchen as food will not be expensed. They will all stay in the
same hotel and share a kitchen like they do at their residence. Insd added
that they had 4 cats which were not present during inspection? informed
ALE and they will find something reasonable with my terms. Insd on board.

 

 

Page 118 07/30/2015 02:26 PM
LM000144
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 175 of 228

EXHIBIT I
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 176 of 228

Print | Close Window

Subject: Re: claim #032071457
From: Rani Joseph <ranijt@gmail.com>
Date: Wed, Nov 23, 2016 3:45 pm
To: “Wolterman, James” <James.Wolterman@libertymutual.com>

Ryan Barrett <Ryan@pacengtech.com>, "Eversole, Sarah" <Eversole@wscd.com>,
“jcel@joelhansonlaw.com" <joel@joelhansonlaw.com>, Ryan Wellman <ryan@ryanwellman.com>

Attach: image001.png

Ce:

 

Mr. Wolterman,

Five months ago, in my June 24, 2016 letter (to which you did not respond), I clearly
explained that we cannot afford to continue to wait for Liberty Mutual to reach an agreement
with Belfor on the cost of repairs, and would have to start working with our bank to obtain a
Joan to rebuild the house. It has been an ongoing financial burden on us to pay for both for a
rental house and a mortgage on a completely unlivable property. Since you're not paying our
rental house bills and Liberty Mutual’s repair process has not moved forward, we hired SIRCA
Architect to start the rebuild process by obtaining a project plan number and developing plans
to submit, and this is what Mr. Barrett saw in the City of Seattle system.

Since we already have a project plan number with the City of Seattle, Mr. Barrett is concerned
that the rebuild process will be further delayed if he attempts to submit plans to the City, if he
is even able to do so at all. Mr. Barrett cannot even attempt to submit plans without first
meeting with the City of Seattle to figure that out, and according to Mr. Barrett's November
21, 2016 email to us, he states that you, Mr. Wolterman, will not pay for him to meet with
City officials. If you want him to take this course of action, then Liberty Mutual needs to pay
for it.

What course of action would you like us to take, Mr. Wolterman? What would you like to direct
Mr. Barrett to do now?

Best Regards,

Rani

On Mon, Nov 21, 2016 at 7:38 AM, Wolterman, James <James.Wolterman@libertymutual.com> wrote:
Mrs. Thykkuttathil et al,

: | spoke with Ryan Barrett on Friday (11/18) and he stated that when he went to submit the plans, there were already
- documents submitted from another architect for your property's address dealing with, he believes, a garage.

Would you please offer an understanding of what has been completed and by whom in relation ta submitting plans to
| the city unrelated to the fire damage. This may be hindering Pace in the process of completing an approved set of
, plans and any additional cost beyond the normal submittal time would be borne at your expense.

 

 
 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 177 of 228

! Thank you,

. Track your claim, anytime, anywhere with your online account at

_LibertyMutual.com

View claims status and policy details | Upload documents and photos | Update your contact information

| Jimmy Wolterman

| Sr. Field Claims Resolution Specialist Ill
| Liberty Mutual Insurance

| P.O. Box 8415

Westminster, CA 92684

Direct Dial: 480.290.1234

My Manager: Brian Cahill

: Brian.Cahill@libertymutual.com

 

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AUTO | HOME | LIFE

 

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 178 of 228

EXHIBIT J
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 179 of 228

June 24, 2016
To: James Wolterman, Liberty Mutual
Regarding Liberty Mutual’s June 16, 2016 Letter
Claim Number 032071457

Dear Mr. Wolterman,

I found your letter dated June 16, 2016 alarming as it makes false statements about
me and contradicts Liberty Mutual’s prior statements and actions. You are trying to
blame me, your insured, with a fabricated scenario in order to deflect from your
unexplainable delays and bad faith in dealing with our claim.

I never told Ryan Barrett of Pacific Engineering to stop work. Mr. Barrett has been
working with you and Ted Sitterley of Belfor to collaborate on the cost of repairs. I
have always encouraged Pacific Engineering and Belfor to work closely with Liberty
Mutual and, per your policies, only proceed with work that you have explicitly pre-
authorized with approved estimates.

Before [ respond to the accusations in your letter, let’s first review Liberty Mutual’s
clear pattern of unexplainable delays and bad faith:

Ted Sitterley of Belfor has consistently attempted to get your authorization for any
estimated costs before proceeding with repairs, only to be unnecessarily delayed by
Liberty Mutual at every turn. After Liberty Mutual agreed to cover the May 19, 2016
house fire in October 2016 (5 months after the incident), it took another month for
Liberty Mutual to authorize Mr. Sitterley to even do any mitigation, claiming -
without any factual basis - that the house magically dried itself out after being hosed
down by fire fighters! Mr. Sitterley worked very hard to appease Liberty Mutual and,
after a long and drawn out approval process, Belfor did the mitigation. But, when
you got the invoice, Liberty Mutual still refused to pay for all of Belfor’s work
because someone in Florida, who had never even been to our property, just did not
feel like paying the entire amount. Cheating contractors creates an atmosphere
where professionals are hesitant to work on our home if they may not get paid -
even after they get the go ahead from Liberty Mutual - because you don’t feel like
writing a check.

When Belfor requested that Liberty Mutual authorize hiring a structural engineer to
evaluate the damage, you did not respond and only authorized the cost ofa
structural engineer on January 22, 2016 (about two months later). You knew that
Ryan Barrett, the structural engineer from Pacific Engineering, could not do any
evaluation until the house was gutted to reveal all the damages, and yet Liberty
Mutual did not authorize Belfor's estimate for the cost of the interior demolition
until March 3, 2016. Based on Pacific Engineering’s initial report, Belfor provided
you on May 10, 2016 with an initial minimum estimate (which he made clear would
be more once the City of Seattle got involved), but you never evaluated or approved
this estimate.
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 180 of 228

Now, let’s deal with the blatant fabrications in your June 16, 2016 letter. Just to
review, you wrote:

“l recently spoke with Ryan Barrett at Pacific Engineering. Mr. Barrett stated that
shortly after he finished his draft report (in April), Mrs. Thykkuttathil directed him not
to continue or complete his report.

A final engineers report (with review by Seattle’s building department) is necessary to
determine the actual cope of work for hidden damage and code upgrades. It is unclear
why Mrs. Thykkuttathil directed Mr. Barrett to stop his work. We were not aware that
the engineering work was suspended until I spoke with Mr. Barrett on June 10%, 2016..

At this time, because Mrs. Thykkuttathil has asked Pacific Engineering not to finish
their engineering work, Liberty Mutual will move forward with the hiring of another
engineer who can determine the actual work necessary to obtain the necessary
permits and complete the repairs.”

Now, let’s review the facts.

You claim you just found out that the engineering work was “suspended” by talking
to Ryan Barrett on June 10", but you have had Mr. Sitterley’s estimate based on the
structural engineer’s report since May, and you knew that the engineering work
could not move forward until you approved the funds for Belfor’s initial estimate
and the funds for additional engineering work. On June 10, 2016, you wrote:

“The estimate send by Mr. Sitterley on May 10" states, in the estimate (capitalization
in estimate), that “THIS ESTIMATE 1S PRELIMINARY This proposal is the isolated code
items. It is still subject to final engineering and permitting.” ...Untila finalized report
is produced, a true scope of work cannot be determined.”

Ted Sitterley immediately responded to you on June 10, 2016:

“The engineer, Ryan Barrett, gave specific direction on site, which was the basis of my
proposal. The DRAFT letter was generated by Mr. Barrett and then | told the engineer
to stop until there was some corroboration, lest he continue spending engineering
money that would be the responsibility of Liberty Mutual to pay. I was trying to have
economy with the expenditure.

My proposal has that limiting language on the title page because the City of Seattle is a
complete wild card these days in what codes they require. Lately, they have been
putting engineers through the ringer on additional scopes after the engineer has
completed their primary code review. So, until the final permit is issued, my proposal
would be subject to ADDITIONAL work above that which is described resulting from
said process.”
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 181 of 228

Liberty Mutual's policies state: "Before repairs begin, please show our estimate to
your contractor. If your contractor’s estimate exceeds the amounts in our estimate,
please contact us prior to beginning the work,” as well as “It is important to call us
with questions prior to beginning repairs, as any changes in the scope of damages or
pricing must be pre-approved by Liberty Mutual Insurance." Working within your
polices, Belfor was waiting for Liberty Mutual to approve their initial minimum
estimate provided May 10, 2016. In his email, Ted Sitterley clearly stated to you that
the work was not “suspended” but as final as it could be without the Liberty Mutual
giving the go ahead on the initial estimate so that Belfor and Pacific Engineering
could move forward to work with the City of Seattle with the full knowledge that the
cost would likely be more (not less) than Belfor’s initial estimate. Mr. Sitterley
explicitly wrote that “The DRAFT letter was generated by Mr. Barrett and then J (Mr.
Sitterley) told the engineer to stop until there was some corroboration, lest he
continue spending engineering money that would be the responsibility of Liberty
Mutual to pay.” Let me make it clear: this means it was Liberty Mutual’s job to move
things forward by approving the estimate.

You knew that Ryan Barrett’s report was as final as it could be without you
approving Belfor’s estimate and, according to Ryan Barrett, you also knew you had
to approve significant additional cost for them to work with the City of Seattle and
create structural engineering plans. It was your job to move the project forward, and
yet you claimed on June 16" that I was the one who told the engineer not to write
the report when you knew on June 10" that I had absolutely nothing to do with this
entire process. Clearly, I never told Pacific Engineering not to complete their
structural engineering work.

After reviewing your letter, I arranged for a call with Ryan Barrett of Pacific
Engineering to discuss the issues you raised. We spoke in the afternoon on June 20%
after he had a chance to review your letter. He told me that what you wrote was
completely inconsistent with your conversation and a gross distortion of the facts.
According to Mr. Barrett, he never said anything about me directing their company
not to comply with Liberty Mutual’s requirements. He informed me that my name
only came up in the conversation as the one from whom Liberty Mutual needed to
get the invoice for the engineering work to date as my husband and I were Pacific
Engineering's contractual clients. In light of these facts, it is extremely bizarre that
Liberty Mutual is claiming that I directed Pacific Engineering not to complete the
structural engineering report, and because of that, Liberty Mutual has decided to
hire another engineer to “determine the actual work necessary to obtain the
necessary permits and complete the repairs.” Ryan Barrett set the record straight as
far as your conversation in his June 21, 2016 email that states:

“We have reviewed the letter prepared by Mr. James Wolterman with Liberty Mutual
dated June 16, 2016, and are providing this response email in order to provide
additional clarification as to our involvement with the Thykkuttathil/Wellman fire
damage repair project.
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 182 of 228

Our initial report, dated April 13, 2016 was issued as a DRAFT to expedite our Client’s
contractor (Belfor Property Restoration) prepare a cost estimate for the code
upgrades that we determined would be required to obtain a building permit based
upon the current edition of the Seattle Existing Building Code policies. The report
remained in DRAFT format as there was consideration of having a pre-construction
meeting with the City to determine if additional upgrades would be required. To
clarify, a pre-construction meeting is typically not required and our report will be
made final as is.

Following the site visit to the home on April 4%, 2016 after finishes had been removed;
it was evident that additional engineering analysis and code upgrades would be
required beyond what had already been approved. While on site Mr. Sitterley (with
Belfor Property Restoration) requested that we prepare the code upgrade report so he
could develop a revised cost estimate based upon the code upgrades. It was my
understanding that the new cost estimate for the updated scope of work and
additional engineering would require Liberty Mutual’s approval before I could proceed
with the additional analysis and repair drawing updates.”

Liberty Mutual has clearly fabricated a scenario where | hindered the repair
process. Moreover, you are using this strange lie as the basis to bring in another
engineer. Ryan Barrett's email clarified that his "draft" report was only a draft in the
sense that often more code upgrades may be required once they start working with
the Seattle’s building department. Thus, this report should be sufficient to evaluate
the Belfor estimate. Pacific Engineering is the engineering firm on this job, and you
need to negotiate the fees with them to work with the City of Seattle, obtain permits,
and draw up the structural engineering plans. As you know, the repair process
cannot move forward until Liberty Mutual authorizes the costs in Ted Sitterley's
initial estimate as well as the additional structural engineering costs.

Your job, as our insurance company, is to assist us in the repair process, move the
process along in a timely manner, and write the checks to cover the costs. However,
Liberty Mutual has consistently delayed the repair process, refused to evaluate
estimates, and even cheated contractors after agreeing to estimates and telling them
to move forward with the work. Now, you want to cut off our additional living
expenses after July 19, 2016, knowing that there is absolutely no way that the
repairs could be completed by July. Liberty Mutual’s bad faith has made it
impossible for us to repair our home and created incredible stress on our family.
The sad fact of the matter is that Liberty Mutual’s behavior has been so bad and so
seriously hindered the repair process for the past two years that we have no choice
but to move forward with the reconstruction by borrowing money from our bank
because we do not have Liberty Mutual’s help. Our bank has told us it will not lend
us money unless we demolish the house and rebuild.

Best Regards,

Rani Thykkuttathil
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 183 of 228

EXHIBIT K
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 184 of 228

© (i | $ Gd Pol: H3226803084640 | Ins: RANI THYKKUTTATHIL | DoL: 03/09/2014 | St: Open

 

 

 

Create Date | Author Topic |RelatedTo| Subject | Text (2,500)
on the current water claim, then they should file a new claim. If this is the
case, please let me know if you will be representing them on the new claim
and send in a representation letter once the claim number is assigned. The
adjuster will then call the customer for additional information. Thanks
05/19/2015 CHARLES Claim none Attorney Original 05/19/2015 02:01 PM Received fetter from Joel Hanson, attorney
02:01 PM BLACKBUR Status (Claim- correspondenc for the customer, advising Rainbow of the MDE report. Joel does not
level) specifically state a demand contingent on estimates that are currently
to be submitted but states that he and his clients believe both Rainbow
and Liberty Mutual are responsible for the damage. Requested support to
upload. Advised TM re. this letter and request for additional 3 months for the
suit deadline to Sept. 9.
05/18/2015 CHARLES Claim none PLAN FOR — Original 05/18/2015 03:54 PM Received e-mail from Joel Hanson, attorney
03:54 PM BLACKBUR Status (Claim- RESOLUTION for the customer responding to my request for status indicating that Belfor
level) BLDG is writing an estimate based on the mold report from MDE and more time is
needed. Because of this, Joel is requesting a 90 day extension of the suit
deadline which was originally extended to June 9. This would extend the suit
deadline to Sept. 9.
05/15/2015 CHARLES Claim none PLAN FOR Original 05/15/2015 09:53 AM Bldg: waiting on further damage information
09:53 AM BLACKBUR Status (Claim- RESOLUTION from attorney. Wrote letter to the attorney requesting a status on repairs
level) BLDG and any additional information associated with the strucure. LOU: ALE
limit was reached on 3/9 and all known costs have been patd. No known
completion date for repairs. Forward diary 30 days for follow up. Reserves
are adequate.
05/08/2015 BRIAN Claim none Original 05/08/2015 06:37 PM Spoke to Marshall Krotenberg at Rimkus. He
06:37 PM CAHILL Status (Claim- is reviewing report from MDE and provide a written review based on what
level) facts he can.
05/04/2015 ALYCIA Exposure (3) 1st PPUN Original 05/04/2015 06:35 PM Revd auth to issue payments to both
06:35 PM PRICE Evaluation Party Storage - FRSTeam and Servpro for storage of PH's PPUN. Contacted atty Joel
Content Payments Hanson and he requested not to be named on payments. Issued storage
- RANI invoice payments at this time. PPUN PAYMENT $41,658.96 Servpro
THYKKUTT contents storage inv $2,411.06 FRSTeam textiles storage inv Contacted atty
re payments being issued.
05/04/2015 ALYCIA Claim (3) 1st Storage Original 05/04/2015 03:41 PM Revd auth to issue payment to Servpro and
03:41 PM PRICE Status Party FRSTeam for storage of contents. PH is now being rep'd by atty. Called

 

07/30/2015 02:26 PM
LM000034

Page 8
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 185 of 228

ter $ | fh Pol: H3226803084640 | Ins: RANI THYKKUTTATHIL { DoL: 03/09/2014 | St: Open

 

Create Date { Author | Topic [RelatedTo| Subject | Text (2,500)

 

 

protocol includes removal and remediation of additional areas in the house,
appliance inspection and certification, duct cleaning and replacement

of flex ducting (with additional demolition if necessary to access flex
ducting), replacement of wiring and electrical devices on the lower level per
Washington statute for any wiring or devices that were subjected to water
exposure, and final cleaning and clearance. Since the mold limit has been
exceeded. There would be no additional coverage for mold. Electrical wiring
was included in the Mooney estimate which is the estimate on which LM
based payment. It is unclear if there are any other devices or wiring in the
laundry that have not been considered and were exposed to water. At this
point a letter of response to this report should be sent to the attorney. It
appears from the e-mail string that estimates for the work as described will
also be sent. Sent notice to TM to advise on further handling.

03/30/2015 ALYCIA = Claim (3) ist Re- Original 03/30/2015 06:48 PM Revd re-assigned claim from PPS Goffinet.
06:48 PM PRICE Status Party assignment- | reviewed the claim in its entirety. The claim is atty rep'd - Joel Hanson.
Content PPUN ! contacted Joel to introduce myself and explain | have taken over the
- RANI handling of the Personal Property portion of this claim. | reviewed the
THYKKUTT pending personal property information as | know it to date. He asked that |

send an email outlining the items/issues, which [ sent following our phone
conversation. Joel stated the PH's didn't have any idea what Servpro had at
their facility regarding their PPUN. | explained, that Servpro had completed
a thourough inventory of all contents at their facility and had hand delivered
that to Rani. Explained | will get a copy of that inventory from Servpro and
send it to him for the records. | also explained that storage of the contents
is concluded when LOU coverage is done. Explained last day of LOU

was 3/9. Explained | am working to get some additional information from
LL Blackbur and would let him know as soon as | knew last day we will
pay for contents storage. Listed the outstanding issues of replacement
receipts for some bedding, a computer and software. Explained PH had
listed discrepancies with the pricing on these and Jon was waiting on her
to submit the replacement receipts. Joel will look into these and get back to

 

me.
03/23/2015 CHARLES Claim none PLAN FOR Original 03/23/2015 03:23 PM ALE limit has expired. First party claims C_
03:23 PM BLACKBUR Status (Claim- RESOLUTION have been paid and no further claims have been made. Customer has
level) BLDG/LOU hired an attorney who has stated that additional opinions would be sought
Page 18 07/30/2015 02:26 PM

LM000044
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 186 of 228

@ 74,90
ral P| Pol: H3226803084640 | Ins: RANI THYKKUTTATHIL | DoL: 03/09/2014 | St: Open

 

 

 

Create Date | Author Topic |Related To| Subject | Text (2,500)
regarding mold and building damages but nothing submitted. Hold file open
for additional 30 days.
03/23/2015 DEBORAH Claim none Original 03/23/2015 01:32 PM Reassigning contents to PPS Price for
01:32 PM TAEGEL Status (Claim- handling.
level)
03/17/2015 RICKY Examining none Claim Review Original 03/17/2015 11:56 AM Reviewed recent activity.
11:56 AM SUMMERLI (Claim-
level)
03/16/2015 MICHAEL Subrogatior none Original 03/16/2015 05:42 PM Fut rev...no reply to my questions regarding
05:42 PM TURNER (Claim- pursuit of the vendor. Without it, | am unable to proceed as it is not the
level) normal subro claim. Obviously any offer that is made can be considered
by the claims office if acceptable. | do not have sufficient knowledge of
the matter to advise if offer noted is acceptable or even if offer should be
considered given the current status of the file.
03/06/2015 BRIAN Claim none Original 03/06/2015 12:24 AM Insd atty rep'd. Suit Notice extension agreed
12:24 AM CAHILL Status (Claim- to for 90 days post one year or 6-8-15. One year ALE coverage paid.
level) Insd has not submitted any addl ALE misc ALE receipts during one year
of coverage. Mold limit paid. Covered water damages paid and repair of
kitchen area. Insd's atty has stated they are getting opinions from other
contrs and IH.
03/05/2015 DEBORAH Claim none Original 03/05/2015 03:51 PM Noted status of contents.
03:51 PM TAEGEL  Siatus (Claim-
level)
02/26/2015 JON Claim (3) 1st Response Original 02/26/2015 01:33 PM | responded to the insured's attorney's email
01:33 PM GOFFINET Status Party to Insured's regarding his questions about the insured receiving a list of salvagable items
Content attorney- from Servpro and his inquiry about why Servpro had not yet completed
- RANI Inventory- the PPUN cleaning. | responded to Mrs. Insured's Attorney (Joel) and
THYKKUTT PPUN advised him Emily stated the the insured was hand delievered a listing of
cleaning the items that were packed out on two separate occassions. | also informed
him Servpro has completed the cleaning of the PPUN items in October of
2014 and is awaiting the completion of the insured's building repairs, or the
expiration of the LOU ceverage as PPUN storage costs will follow LOU.
02/26/2015 JON Claim (3) 1st Servpro Original 02/26/2015 01:02.PM In order to address the insured's attorney's
01:02 PM GOFFINET Status Party Discussion- two questions/concerns, | called and spoke with Emily from Servpro at

 

 

Page 19 07/30/2015 02:26 PM

LMO000045
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 187 of 228

EXHIBIT L
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 188 of 228

Print | Close Window

 

Subject: RE: Thykkuttathil 32071457 - GOOD FAITH SURVEY for asbestos and lead content
From: joel@joelhansonlaw.com
Date: Wed, Jun 17, 2015 5:00 pm

To: “Ted Sitterley" <Ted.Sitterley@us.belfor.com>, “Blackburn, Charlies"
* <CHARLES.BLACKBURN@LibertyMutual.com>

Cc: “ryan@ryanwellman.com" <ryan@ryanwellman.com>, “ranijt@gmail.com” <ranijt@gmail.com>

 

 

Ted and Charles:

Please update us on the status of the mitigation and repair efforts. Are they proceeding? Is
there anything we can do to move it forward faster?

It has been 29 days since the fire and 29 days since Liberty Mutual was notified of the fire. I

am worried about mold growth and the financial pressure on Rani and Ryan, who L

are currently paying for a rental house out of their own pocket.
Regards,

Joel

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636

Cell: 206-412-8765

Fax: 425-368-7442

joel@joelhansoniaw.com

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email, and delete the original message. Thank you.

wocacene Original Message --------
Subject: RE: Thykkuttathil 32071457 - GOOD FAITH SURVEY for
asbestos and lead content

From: Ted Sitterley <Ied.Sitterley@us.belfor.com>
Date: Thu, June 11, 2015 9:20 am

To: "Blackburn, Charles" <CHARLES, BLACKBURN@LibertyMutual.com>
Ce: "joel@joelhansonlaw.com" <joel@joelhansonlaw.com>,

anwellman.com" <ryan@ryanwellman.com>, "raniit@gqmail.com"
<raniit@qmail.com>

Oops. Here you go.

Ted

 

4 ;

 
 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 189 of 228

 

 

 

Sent: Thursday, June 11, 2015 9:17 AM
To: Ted Sitterley
Subject: RE: Thykkuttathil 32071457 - GOOD FAITH SURVEY for asbestos and lead content

Hi, Ted. This appears to be the King Co. tax assessment webpage for the home,
not a survey.

The lead portion is not covered under the policy (specifically excluded). |
understand you have to test but the cost is not covered.

Please provide the abatement estimate and survey. Please remember that our
coverage investigation is ongoing and no commitments to paying for these items
can be made at this time. Thanks.

Charles Blackburn, AIC
Liberty Mutual Insurance

PO Box 8415

Westminster, CA 92684-8415

Cell Phone: 425-754-0317
Office Fax: 800-510-8005
charles. blackburn@libertymutual.com
From: Ted Sitterley [mailto:Ted.Sitterley@us.belfor.com]
Sent: Thursday, June 11, 2015 9:06 AM
To: jcel@joelhansonlaw.com; ryan@ryanwellman.com; ranijt@qmail.com; Blackburn,

Charles
Subject: RE: Thykkuttathil 32071457 - GOOD FAITH SURVEY for asbestos and lead
content

Good morning all,

We just received the good faith survey moments ago, but | wanted to forward it
to you so that we all had it as we review for scope requirements

It looks like there are a couple of locations that have Asbestos in the vinyl! mastic
and some lead based paint.

Asbestos requires an asbestos abatement contractor, who we will engage for
pricing.

Lead requires certified lead restoration technicians, which we have.

I'll begin to prepare a mitigation plan and pricing and get it over to you as soon as
possible.

Charles, | think | got a message from you but it was all garbled. Was that you?

 
 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 190 of 228

Thanks,

Ted Sitterley

BELFOR
PropertyRestoration

4320 South 131st Place, Suite 100
Seattle, Wa 98168

Ph: 206.632.0800, Fx: 206.547.0800

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 191 of 228

EXHIBIT M
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 192 of 228

. Liberty Mutual Fire
Liberty Mutual. Insurance Co.
INSURANCE P.O. 8415
Westminster, CA
92684-8415 (800)
565-5505

Fax (800) 510-8005

 

June 25, 2015

Joel Hanson, Attorney at Law
6100 219th St. SW Ste. 480
Mount Lake Terrace, WA 98043

Re: Insured: Rani Thykkuttathil
Claim Number: 032071457-01
Date of Loss: 5/19/15

Dear Mr. Hanson:

Tam offering to pay for Additional Living Expenses for our insured during the investigation of their
fire claim.

Our customer would be entitled to the payment of rent based on their current rental or payment for
Fair Rental Value coverage consisting of the cost of rent for their unfurnished home.

Rental payments would begin on the date of loss and our latest information shows they are paying
3,495.00 per month at 2606 130" Ave NE Bellevue, WA 98005.

If this amount has changed or their lease modified, please advise me and send the latest lease with the
rental amount and terms.

The payment of Additional Living Expenses or Fair Rental Value would be issued under a
reservation of rights as follows:

Unul our investigation is complete, we expressly, completely, and fully reserve all of our rights under
the policy and applicable law. The purpose of this reservation of rights is to permit us to investigate
your claim and any coverage issues without waiving or being estopped to assert any of our legal
rights.
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 193 of 228

This reservation includes, but is not limited to, a reservation of our right to disclaim and deny any
obligation or liability under the policy, if further investigation of the circumstances surrounding this
loss and claim would so warrant, and to avail us of any other rights which we may have or which
may arise under this policy or applicable law. We do not intend to waive, but rather expressly
reserve, our rights to assert any policy conditions or exclusions that we learn may be applicable to
this loss.

Please let me know if you have any questions regarding the above information and let me know of
the customer’s decision regarding Additional Living Expense coverage or Fair Rental Value
coverage,

Sincerely,

LIBERTY MUTUAL FIRE INSURANCE COMPANY

Charles Blackburn AIC

Senior Property Loss Specialist II
Personal Market Claims

P.O. Box 8415

Westminster, CA 92684-8415
charles.blackburn@libertymutual.com
425-754-0317

Fax: (800) 510-8005

Helping People Live Safer, More Secure Lives
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 194 of 228

EXHIBIT N
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 195 of 228

Print | Close Window

Subject: Re: ALE Issues & Site 2/4/2016 Site Visit
From: Ryan Wellman <maddgrinner@gmail.com>
Date: Thu, Feb 04, 2016 2:27 pm
To: Rani Joseph <ranijt@gmail.com>

Ce: James.Wolterman@libertymutual.com, "<joel@joelhansonlaw.com>" <joel@joelhansonlaw.com>,
Ryan Wellman <ryan@ryanwellman.com>

 

Hello Mr Wolterman,

It was a pleasure meeting with you this morning. It was clear from the conversation that Liberty Mutual will not be
extending the ALE past the 1 year date in May, despite Liberty Mutual's delays in getting the house completed. “Also, it
was unclear if you would be providing assistance with us in locating and moving to a new temporary residence. The
owner of the current residence wants us to be out no later than the end of May, but earlier is fine as well, so they can
begin a remodeling project. We will need to be out & resettled sooner than that however (March-April time frame) as my
wife is expecting our second child in mid to late May and it will not be feasible for our family to deal with both at the
same time.

We really need your assistance in locating and moving to a new location. It took your venders a long time last time to
find a house that would hold our family, so it would be wise to start looking now for any suitable options.

Thank you,
Ryan

On Thu, Feb 4, 2016 at 12:18 AM, Rani Joseph <ranijt@gmail.com> wrote:

| Mr. Wolterman,

As your Liberty Mutual policyholder, I wanted to personally reach out to you as the new
adjuster on our case (32071457) regarding some important issues.

The first issue is ALE payment. I believe that your predecessor Charles Blackburn had

_ issued ALE for December 2015 and January 2016, but my husband was not sure from his
_reading of the LM claim portal if this was the case. Moreover, the last time my husband
_checked, you have not issued payment for February 2016 and we are not sure as to why.
We would appreciate it if you could check on these issues and offer some clear answers.

The second issue is ALE housing. We were just informed by the property management
company for our rental that the owner is taking back possession of the property for

_ renovations and we need to relocate within the next few months. Since it is your
responsibility to handle our housing, please have your ALE vendors start searching for
appropriate accommodations for our family. As a family that includes people with
disabilities and very small children, we will also need your help to arrange a packing and
' moving service for us to make the transition as smooth as possible.

The third issue is the ALE time frame. On January 7, 2016, Joel Hanson reached out to
you to inquire about this and summed up the situation:

"Mitigation is not completed, repairs have not started, and an engineer has not
yet evaluated the damage (which is necessary before a full estimate of the cost of repairs

 

 

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 196 of 228

_can be determined). Further, Liberty Mutual has not yet reached an agreement with any
contractor on the cost of repairs. Under these circumstances, I think you will agree that it
will not be possible to repairs to be completed by May 2016. Ryan and Rani will need to
Stay in their rental home beyond that date. Is Liberty Mutual willing to extend payment
for their rental home beyond May 2016?

My understanding is that the entire purpose of ALE is to have smooth and seamless

transition for your insured between repairs being completed and moving back into one's

_ own home so that your insured's life is as little disrupted as possible. In our case, Liberty
Mutual has created massive delays that have hindered us from moving forward or even

. figuring out what the scope and cost of the repairs should be, let alone actually having the

_ time to complete the repairs. I do agree with Mr. Hanson that it is reasonable under these

circumstances for Liberty Mutual to continue the ALE as the project moves forward

_ beyond May 2016, and I would appreciate your thoughts.

| The fourth issue is that we really need you to keep us in the loop in our own claim. I

know you are communicating with Mr. Hanson and the contractors, but we are the

- insured and should also be copied on all your communications with them. We were
_ surprised to only have just heard about a site visit being planned. Ted Sitterly of Belfor

and the structural engineer had wanted the homeowners to be on site as the biggest

_ stakeholder in creating a plan to move forward. Liberty Mutual has created many
_ problems in this claim, and although it seems that Charles Blackburn could not put our

interests on par with Liberty Mutual, we hope that you will be different and move this

claim forward in a positive way. As such, my husband Ryan looks forward to meeting
you at 9AM.

Best Regards,

| Rani

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 197 of 228

EXHIBIT O
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 198 of 228

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Subject: RE: ALE Issues & Site 2/4/2016 Site Visit
From: joel@joelhansonlaw.com
Date: Fri, Feb 12, 2016 12:02 pm

To: “Eversole, Sarah" <Eversole@wscd.com>, "James Wolterman"
* <James.Wolterman@LibertyMutual.com>

Cc: "John Silk” <silk@wscd.com>
Attach: image001.jpg

 

Sarah:

I have not heard back from in response to my emall below. It appears that Liberty Mutual will
not reconsider its decision to end the rental and ALE payments after 12 months. Accordingly,
my clients have no choice but to ask the Court to rule on this issue.

Regards,

Joel

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636

Cell: 206-412-8765

Fax: 425-368-7442

joel@joelhansonlaw.com

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Subject: RE: ALE Issues & Site 2/4/2016 Site Visit

From: <joel@joelhansoniaw.com>

Date: Wed, February 10, 2016 11:36 am

To: "Eversole, Sarah" <Eversole@wscd.com>, "James Wolterman"

<James.Wolterman@LibertyMutual.com>
Cec: "John Silk" <silk@wsed.com>

Sarah:

Thank you for the response. Here, the "shortest time required to repair or replace the
damage" is more than 12 months. So it is our position that Liberty Mutual should not
stop payment at 12 months. Do you disagree with that interpretation?

The original contract (without the endorsement/amendment) allowed the repair time

to exceed 12 months. If you are correct, and coverage was increased by the

 

 

 
 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 199 of 228

"increased limit", then the original benefit should not be affected or reduced in any
way.

Regards,

Joel

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636

Cell: 206-412-8765

Fax: 425-368-7442

joel@joelhansonlaw.com

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wercceen Original Message --------

Subject: RE: ALE Issues & Site 2/4/2016 Site Visit
From: "Eversole, Sarah" <Eversole@wsced.com>
Date: Tue, February 09, 2016 4:50 pm

To: "joel@joelhansoniaw.com"™ <joel@joelhansonlaw.com>

Joel:

ll talk to Mr. Wolterman about this issue, but at first glance, it does appear you are
misreading the policy.

The Policy coverage form does provide for Loss of Use that does not have a dollar limit,
but is limited instead by “Actual Loss Sustained” which will be paid for the “shortest
time required to repair or replace the damage...” (See Coverage D).

There is an amendment that does in fact extend this coverage. The amendment
provides:

C. INCREASED LIMIT - COVERAGE D

We will pay the amount of loss covered by Coverage D which is actually sustained by
you during

the 12 consecutive months following the date of loss, subject to the periods of time
under

paragraphs 1, 2 and 3 of Coverage D - Loss of Use.

This is an extension of coverage, as the time period no longer limited by the “shortest
time required to repair or replace the damage.” Instead, the policy appears to be

 

 
 

 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 200 of 228
paying “actual loss sustained” up to 12 months, with no reference to the reasonable
repair period.
Would you like another copy of the policy?

Was there some other argument you were making that | might be missing?

Sarah L. Eversole

 
  

Attorney
Pe WVELSCIN 901 Fifth Ave, Suite 1700
ey A sMiTi Seattle, WA 98164
Ay COCHRAN Main: 206 623 4100

il DICKERSON Fax: 206 623 9273
Email: eversole@wscd.com

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From: joel@joelhansonlaw.com [mailto:joel@joelhansonlaw.com]
Sent: Tuesday, February 09, 2016 4:05 PM

To: Silk, John; Eversole, Sarah

Cc: James,Wolterman@libertymutual.com
Subject: RE: ALE Issues & Site 2/4/2016 Site Visit

Mr. Silk, Ms. Eversole, and Mr. Wolterman:

Please see the emails below. It is my understanding that Liberty Mutual is
unwilling to extend Rani and Ryan's rental house payments (the "ALE") past
the 12 month anniversary of the fire. Liberty Mutual only recently approved
the cost of an engineer, and the 12 month anniversary will be in May of
2016. I do not think there is any dispute that it will not be possible for Ryan
and Rani to complete repairs by May. They need to have a place to stay until
the repairs are complete.

The insurance contract Declarations page states that the only limit on the
ALE/Loss of Use is the "Actual Loss Sustained” with no limitation on the
number of months available. My understanding is that the decision to not
extend the ALE past 12 months is based on amendment that provides an
"Increased Limit" under the Homeprotector Plus Endorsement. Rani and
Ryan paid an additional $163 for that "increased" benefit. As you can see,
this "Increased Limit" of 12 months actually seems to reduce the benefit. It
is unfair for Liberty Mutual to charge Rani and Ryan for a reduction of their
benefits. I hope that Liberty Mutual will reconsider this decision.

Iam preparing to file a motion with the Court to determine whether it is fair
to limit Rani and Ryan's ALE to 12 months. Please let me know right away if
you feel it is unnecessary for me to file a motion on that issue. Please also
let me know if you feel there is something I am misunderstanding about the
insurance contract.

Regards,

 
 

 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 201 of 228

Joel

Joel B. Hanson, Attorney at Law, PLLC
6100 - 219th St. SW, Suite 480
Mountlake Terrace, WA 98043

Office: 425-582-5636

Cell; 206-412-8765

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joel@joelhansonlaw.com

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werewren Original Message --------

Subject: Re: ALE Issues & Site 2/4/2016 Site Visit
From: Ryan Wellman <maddgrinner@gmail.com>
Date: Thu, February 04, 2016 2:27 pm

To: Rani Joseph <ranijt@qmail.com>

Cc: James. Wolterman@libertymutual.com,
"<joel@joelhansonlaw.com>"
<joel@joelhansoniaw.com>, Ryan Wellman
<ryan@ryanwellman.com>

Hello Mr Wolterman,

It was a pleasure meeting with you this morning. It was clear from
the conversation that Liberty Mutual will not be extending the ALE
past the 1 year date in May, despite Liberty Mutual's delays in
getting the house completed. Also, it was unclear if you would be
providing assistance with us in locating and moving to a new
temporary residence. The owner of the current residence wants us
te be out no later than the end of May, but earlier is fine as well, so
they can begin a remodeling project. We will need to be out &
resettled sooner than that however (March-April time frame) as my
wife is expecting our second child in mid to late May and it will not
be feasible for our family to deal with both at the same time.

We really need your assistance in locating and moving to a new
location. It took your venders a long time last time to find a house
that would hold our family, so it would be wise to start looking now
for any suitable options.

Thank you,
Ryan

 

 
 

 

 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 202 of 228

On Thu, Feb 4, 2016 at 12:18 AM, Rani Joseph <ranijt@qmail.com>
wrote:

Mr. Wolterman,

As your Liberty Mutual policyholder, I wanted to personally reach
out to you as the new adjuster on our case (32071457) regarding
some important issues.

The first issue is ALE payment. I believe that your predecessor
Charles Blackburn had issued ALE for December 2015 and
January 2016, but my husband was not sure from his reading of
the LM claim portal if this was the case. Moreover, the last time
my husband checked, you have not issued payment for February
2016 and we are not sure as to why. We would appreciate it if you
could check on these issues and offer some clear answers.

The second issue is ALE housing. We were just informed by the
property management company for our rental that the owner is
taking back possession of the property for renovations and we
need to relocate within the next few months. Since it is your
responsibility to handle our housing, please have your ALE
vendors start searching for appropriate accommodations for our
family. As a family that includes people with disabilities and very
small children, we will also need your help to arrange a packing
and moving service for us to make the transition as smooth as
possible.

The third issue is the ALE time frame. On January 7, 2016, Joel
Hanson reached out to you to inquire about this and summed up
the situation:

"Mitigation is not completed, repairs have not started, and an
engineer has not yet evaluated the damage (which is

necessary before a full estimate of the cost of repairs can be
determined). Further, Liberty Mutual has not yet reached an
agreement with any contractor on the cost of repairs. Under these
circumstances, I think you will agree that it will not be possible to
repairs to be completed by May 2016. Ryan and Rani will need to
stay in their rental home beyond that date. Is Liberty Mutual
willing to extend payment for their rental home beyond May
2016?

My understanding is that the entire purpose of ALE is to have
smooth and seamless transition for your insured between repairs
being completed and moving back into one's own home so that
your insured's life is as little disrupted as possible. In our case,
Liberty Mutual has created massive delays that have hindered us

 
 

 

 

 

Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 203 of 228

from moving forward or even figuring out what the scope and cost
of the repairs should be, let alone actually having the time to
complete the repairs. I do agree with Mr. Hanson that it is
reasonable under these circumstances for Liberty Mutual to
continue the ALE as the project moves forward beyond May
2016, and I would appreciate your thoughts.

The fourth issue is that we really need you to keep us in the loop
in our own claim. I know you are communicating with Mr.

Hanson and the contractors, but we are the insured and should also
be copied on all your communications with them. We were
surprised to only have just heard about a site visit being planned.
Ted Sitterly of Belfor and the structural engineer had wanted the
homeowners to be on site as the biggest stakeholder in creating a
plan to move forward. Liberty Mutual has created many problems
in this claim, and although it seems that Charles Blackburn could
not put our interests on par with Liberty Mutual, we hope that you
will be different and move this claim forward in a positive way.
As such, my husband Ryan looks forward to meeting you at 9AM.

Best Regards,

Rani

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 204 of 228

EXHIBIT P
Workspace Webmail :: PrittaSC 2:16-cv-O0465-RAJ Document 37 Filed 01/10/17 Page 205 of 228 9/30/16, 9:05 PM

Print | Close Window

Subject: Assisted living expenses
From: “Wolterman, James” <James.Wolterman@LibertyMutual.com>
Date: Tue, Mar 29, 2016 8:18 am

"joel@joelhansonlaw.com”" <joel@joelhansonlaw.com>, "ryan@ryanwellman.com"
<ryan@ryanwellman.com>

Cc: Rani Joseph <ranijt@gmail.com>, “Eversole, Sarah" <Eversole@wscd.com>
Attach: image002.png
FRFRM - 032071457, THYKKUTTATHIL.pdf

To:

 

Mrs. Thykkuttatthil et al,

The attached letter states there has been an approval of two (2) additional months for the assisted living

expenses. Assisted living expenses will be extended until July 19", 2016. The monthly amount will remain the
same at $3495.00 a month.

A payment has also been issued for the assisted living expenses from 4/1/16 through 5/31/16 and should be
received within 7-10 business days.

If you have any questions or concerns, please let me know.

Thank you,

Jimmy Wolterman

Sr. Field Claims Resolution Specialist Ill
Liberty Mutual Insurance

P.O. Box 8415

Westminster, CA 92684-8415

Direct Dial: 480.290.1234

- Fax: 800.510.8005

 

 

Track your claim, 1, anytime, _ anywhere with eService at www.libertymutual.com
- View claim status and details on any device, 24/7
- Upload claim-related documents and photos

- Update your contact information in just a few taps

 

 

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 206 of 228

EXHIBIT Q
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 207 of 228

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UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
WASHINGTON AT SEATTLE
R.W. and R.J.T., husband and
wife, and the marital community
composed thereof,
Plaintiffs,
No. CV 16-465 RAJ

Ve

LIBERTY MUTUAL FIRE INSURANCE
COMPANY, dba Liberty Mutual,

Defendant.

DEPOSITION OF JAMES WOLTERMAN

Phoenix, Arizona

November 4, 2016

ATKINSON-BAKER, INC.
COURT REPORTERS
(800) 288-3376
www.depo.com

REPORTED BY: CHARLOTTE LACEY, RPR, CR NO. 50859

FILE NO.: AAQBCILS5

 

 

James Wolterman
November 4, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 208 of 228

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necessary to expose code requirements and hidden damage?

A. It was necessary to open it up to see what truly
needed to be done for repairs.

Q. Okay. So that's a yes?

A. Yes.

Q. Can you tell me what additional living expenses
stand for?

A. Additional living expenses?

Q. Sorry. Sorry. I answered my own question.

Can you tell me what ALE stands for?

A. Additional Living Expenses.

Q. Okay. And does that include the cost of renting
a house during the repair process?

A. What's available under the policy.

Q. Does the policy allow Ryan and Rani to rent an
equivalent house during the repair process?

A. With certain limitations, yes.

Q. Did Liberty Mutual help relocate Ryan and Rani to
a temporary house after the fire?

A, I don't know if they did or not.

Q. Did you decide to end the ALE payments before the

 

repairs were finished?

 

 

A. They were ended initially -- they were -- I

 

believe it was 14 months from the date of the loss. Your

policy limits give you one year from the date of the loss.

 

 

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James Wolterman
November 4, 2016
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 209 of 228

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Q. And can you say why you decided to -- to end the

 

ALE before the repairs were finished?

 

A. It's in your policy. You have one year from the

 

date of loss for additional living benefits, additional

living expenses.

 

THE WITNESS: If it's okay, Joel, I need to
use the restroom.

MR. HANSON: Okay. Sure. Let's go off the
record.

(A recess ensued from 2:06 p.m. to

2:09 p.m.)
BY MR. HANSON:
Q. Can you look at Exhibit Number 16, which is a

June 16th, 2016, letter from you to Rani? Do you see

that?
A. Yes.
Q. This letter noted that your understanding was

that Rani had told Pacific Engineering not to finish their
engineering work, correct?

A. Correct.

Q. And was that a factor in the decision to end Ryan
and Rani's additional living expenses?

A. The additional living expenses were expiring

 

because it was the one year per the policy.

 

Q. Okay. And Liberty Mutual allowed an extension of

 

 

 

 

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James Wolterman
November 4, 2016
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 210 of 228

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an additional two months beyond the 12 months in the

 

policy; is that correct?

 

 

A. I believe it was two months, yes.

 

Q. Okay. Do you know why Liberty Mutual allowed an

 

additional two months?

 

 

A. I personally do not. It's not a decision made by
myself.

Q. Okay. So somebody else made that decision?

A. Yes.

Q. Okay. Do you know who made that decision?

A. Top of my head, I don't know who.

Q. Okay. Do you have any discretion in allowing

additional living expenses beyond 12 months if
circumstances make it impossible for a homeowner to do
repairs in that time?

A. I do not, no.

Q. Does anybody that you know at Liberty Mutual have
that discretion?

A. I would assume, yes.

Q. Did you ask anybody for that authority to go
beyond the 12 or 14 months limit on additional living

expenses?

A. I would never be in a position to offer or ask
for that authority. It would come from somebody above me.
Q. Did you talk to Mr. Cahill about seeking

 

 

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James Wolterman
November 4, 2016
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 211 of 228

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mean, if you're trying to protect something right away, if
a house is about to fall over, you tell them, no, frame up
whatever you need to do quickly.

Q. Okay.

A. But, in general, you try to get an agreed cost
beforehand for any additional work.

(Deposition Exhibit 24 was marked for
identification.)

BY MR. HANSON:

Q. You've been handed an exhibit. Can you tell me

what number it is?

 

A. 24.
Q. Number 24 is an e-mail chain, and it's dated
the -- the last e-mail is dated March 16th, 2016. And the

e-mail before it is on the second page, is an e-mail from

 

you to Ryan and Rani and other people as well, dated

 

March 16, 2016. Do you see that?

 

A. Yes.
Q. Do you see where this is a discussion of whether

 

additional living expenses will be extended beyond the

period set by the policy?

 

A. I see we're talking about ALE, yes.

 

Q. Okay. And do you see in the third paragraph of
your e-mail, it says, "Payments for undisputed

reconstruction costs were issued on October 6th, 2015, for

 

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James Wolterman
November 4, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 212 of 228

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$160,000; and then on November 16th, 2015, an additional

$29,000 was issued." Do you see that?
A. Yes.
Q. And then you see where you said, "When I visited

 

 

in February, it appeared that no work had been completed

 

yet and there were several months between the payments and

 

my visit." Do you see that?
A. Yes.
Q. Do you have any criticism of the -- of the speed

 

at which the repairs process has gone here?

 

A. I don't understand.
X

Q. Okay. Are you critical of Ryan and Rani not

 

starting repairs around the date of those October 6th and

 

November 17th payments in 2015?

 

 

 

 

A. My e-mail is just stating, basically, what
happened and what I saw from those times. It's not
a -- it's not an opinion on anything.

Q. Okay. So this e-mail is not intended to be a

 

criticism of them for not starting the repairs sooner?

A. It's to give a chronological account of what I

 

know is going on with the claim at the time.

 

Q. Okay. Is it to give an explanation for why
additional living expenses are not going to be paid beyond
the 12-month limit?

A. Well, it doesn't appear to be concerning that,

 

 

 

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James Wolterman
November 4, 2016
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 213 of 228

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because the 12-year [sic] limit is your policy limits.

Q. Okay. So you don't think these e-mails are about
the question of whether Liberty Mutual should extend the
additional living expenses beyond the 12-month limit?

A. Well, if you go back, it appears Ryan is asking
about one-year limit.

But, again, what I'm explaining is, this is
what has happened chronological from what I've been
involved and what I know based on the claim and when
payments have been paid. So I'm not speaking to whether
or not there's extensions or anything related to
additional living expenses.

Q. Okay. And you're not being critical -- in this

 

March 16th e-mail, you're not being critical of the -- the

 

speed at which they have undertaken repairs?

A. No. Again, I -- explaining chronologically what

 

I know to have happened up to this point.

Q. Okay. Do you feel that there were any problems

 

with this claim after you became involved in it?

 

A. I would say it seemed to have taken inordinately

long to get a set of plans completed.

 

Q. Completed and then submitted to the City,
correct?

A. Well, even just completed at this point.

Q. Okay. Okay. _ Aside from the delay in getting the

 

 

 

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James Wolterman
November 4, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 214 of 228

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plans, the engineering plans completed, do you see

 

 

 

any -- any other problems with this claim?
A. To my knowledge, no.
Q. Okay. Aside from the -- getting the plans

completed by the engineer, do you wish this claim had gone
differently in any way?

MS. EVERSOLE: Objection. Calls for
speculation.

THE WITNESS: I would say at this point, I
mean, all I'm doing is waiting for plans to be done to
move forward. That's where I stand. I don't want to
offer an opinion one way or the other.

BY MR. HANSON:

Q. Do you feel that you or anyone else at Liberty
Mutual made any mistakes during the claim?

A. I believe everyone's done the best they can to
move the claim forward.

Q. Do you feel that you or anyone at Liberty Mutual
did anything wrong during the claim?

A. To my knowledge, I don't believe so.

Q. Do you feel that Ryan or Rani or any of the
professionals that they hired caused any problems in this
claim, aside from the delay with the engineer --
engineering plans that you mentioned?

A. Aside from engineering, I mean, that's all I've

 

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James Wolterman
November 4, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 215 of 228

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Q. Do you think that Ryan or Rani caused any delays

 

in the repair process?

 

A. (To my knowledge, no.

 

Q. So is it fair to say that the only thing that you
feel was done wrong in this claim was the delay in getting
an engineer's plans submitted to the City for approval?

A. From when I've gotten involved, the only thing
that has been delaying this claim is getting an approved
set of plans.

Q. Can you go to LM 5760? Do you see that on 5760

there's a February 4th, 2016, note from you that's at

1:25 p.m.?
A. Yes.
Q. Okay. Do you see that on -- looks like on the

third sentence it says, "Upon arrival, Ted, Ryan, the
engineer and I went inside and heard water running." Do
you see that?

A. Yes.

Q. And then it says, "We moved to the basement and
the main supply line was opened and the angle stop supply

for the downstairs commode was on and there was also what

 

appeared to be human excrement on the ground." Do you see
that?
A. Yes.
Q. So was the basement -- was there a lot of water
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James Wolterman
November 4, 2016

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 216 of 228

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repairs?
MS. EVERSOLE: Objection to form.
THE WITNESS: I don't -- what -- what cost
of repairs?
BY MR. HANSON:
Q. The -- the BELFOR estimate for $291,000?
A. I don't remember how often or/if when I had a
conversation with him.

Q. Who would typically be responsible for kind of

 

moving things forward with the engineer? Or making sure

 

that the engineer was moving forward with submitting plans

 

or doing what they -- they needed to be doing?

 

A. Usually the engineer takes it upon themselves, if
they're a professional.

Q. Okay. And then, so typically just the engineer
goes forward and does the -~ submits the plans without
direction from the contractor?

A. Sometimes, yes. Again, every claim is different.

At this point, I wouldn't say "submit," because now that
you pointed out they were just to produce a set of plans,
because they had that $9,000 limit. So at this point, as
of January, they had the $9,000 to produce a set of plans.
And that's what we were waiting for, from that point

forward.

Q. So if they had spent that full $9,000 and

 

 

193

James Wolterman
November 4, 2016
Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 217 of 228

EXHIBIT R
Workspace Webmail :: Priftace 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 218 of 228 9/30/16, 9:00 PM

Print | Close Window

Subject: RE: Urgent Relocation Issues
From: “Wolterman, James” <James.Wolterman@LibertyMutual.com>
Date: Wed, Mar 16, 2016 9:49 am
To: “ryan@ryanwellman.com" <ryan@ryanwellman.com>

Ce: joel@joelhansonlaw.com™ <joel@joelhansonlaw.com>, Rani Joseph <ranijt@gmail.com>, "Eversole,
" Sarah" <Eversole@wscd.com>

Attach: image001.png
image002.png
image004.png

 

Mr. Wellman et al,

| attached photos of the actual policy language below. Liberty Mutual offers, only as a courtesy and not due to
an obligation per the policy language, the resources of a third party vendor to help facilitate finding a

- comparable home while repairs are being completed. Liberty Mutual has no control nor authority over these
vendors but again, offers the service as a courtesy only. The policy states that there are two options (1a and 1b)
which are additional living expenses and fair rental value. You have chosen the Additional Living Expenses and
the definition is listed below. It does not state Liberty will find the property, but it states Liberty will pay any
necessary increase in living expenses.

| do not know when the decision on the extension will be decided but once | have said decision, | will inform
you,

Payments for undisputed reconstruction costs were issued on 10/6/15 for $160,918.35 and on 11/17/15, an
additional $29,238.65 was issued . When | visited in February, it appeared that no work had been completed yet
there were several months between the payments and my visit. Liberty Mutual does work with contractors to

| expedite the reconstruction process and one way this is done is to pay undisputed costs so reconstruction can
begin and if/when hidden damage is found, they can be addressed as a supplement. | hope this gives you a
better understanding of how the process works.

 

 

 

| If you have any other questions or concerns, please let me know.
|

Thank you,

Jimmy Wolterman

Sr. Field Claims Resolution Specialist III
Liberty Mutual Insurance

P.O. Box 8415

; Westminster, CA 92684-8415

Direct Dial: 480.290.1234

Fax: 800.510.8005

 

 

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COVERAGE D - Lass of Use

The limit of fiability for Coverage D is the total limit for afl the coverages that follow.

1. H a loss covered under this Section makes that pert of the residence premises where you reside not
fit to live in, we cover, at your choice, either of tha following. However, if the raaldence premises
is not your principal place of residence, we will not provida the option under paragraph b. below.

3. Additional Living Expense, meaning any necessary increase in fiving expenses incurred by you
80 that your household can maintain its normal standard of living: or

: b. Fair Rental Value, meaning the fair rental value of that part of the residence premises where you

reside less any expenses that do not continue while the premises is not fit to live in.

| Payment under a. or b. will ba for the shortest time required to repair or replace the damage or, if

| you permanently relocate, the shortest time required for your household to settle elsewhere.

; 2. {f a loss covered under this Section makes that part of the reeldence premises ronted to others or
held for rental by you not fit to live in, we cover the:

Falr Renta! Value, moaning the fair rental value of that part of tha residence premises rented to
others cor held fer rental by you less any expenses that do not continue while the premises is not fit
to five in,

Payment will be for the shortest time required to repair or replace that part of the premises rented or
held for rantal.

3. If a civil authority prohibits you from use of the residence premises as a result of direct damages to
neighboring premises by a Peril Insured Against in this policy, we cover the Additional Living
Expense or Fair Rental Value loss aa provided under 1 and 2 above for no more than two weeks.

Tho periods of time under 1, 2 and 3 above are not limited by expiration of this policy.

| We do not cover loss or expense dus to cancellation of a lease or agreement.

I. INCREASED LIMIT - COVERAGE D
We will pay the amount of loss covered by Coverage D which is actually sustained by you during

1 the 12 consecutive months following the dete of loss, subject to the periods of time under
paragraphs 1, 2 and 3 of Coverage D - Loss of Use.

 

soeee Original Message-----

From: ryan@ryanwellman.com [mailto:ryan@ryanwellman.com]

Sent: Monday, March 14, 2016 3:31 PM

To: Wolterman, James <James.Wolterman@LibertyMutual.com>

Ce: joel@joelhansonlaw.com' <joel@joelhansonlaw.com>; Rani Joseph <ranijt@gmail.com>; Eversole, Sarah
<Eversole@wscd.com>

Subject: RE: Urgent Relocation Issues

_ Hello Mr. Wolterman,

| am very concerned and confused about Liberty Mutual’s lack of serious action to find us someplace to live.
From the e-mails we’ve been seeing, it sounds like it is merely a courtesy that you find us a place to live. | am
asking you, as our adjuster, is this Liberty Mutual's official position? We were under the impression that under
the contract you were obligated to provide us with a place to live comparable to our

 

 

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home, at least for the duration of the ALE. As it stands now, it

sounds that if we are unable to find a place to live by April 15th we are on our own (the 15th is when we
estimate that we have to start moving in order be out of the house and clean it in time for the owner to reclaim
it at the end of April)? Do you have some other plan for keeping us housed for the remainder of the ALE if we
are unable to find a place or are you suggesting that perhaps we live out of our cars until such a time as we do
manage to find a place?

| am however glad to hear that we will be receiving a resolution about the ALE extension inquiry. Is there some
date we might expect this response?

It is still very confusing to us that somehow the “increased limit” you sold us actually reduces the ALE from the
time it takes to actually repair our house down to a 12-month maximum. It seems to us that the original terms,
without this “increased limit” would provide an incentive for you to work efficiently with our contractors. This
limit has been especially frustrating since progress has been delayed by you taking weeks and months to
approve seemingly simple requests.

If it isn’t painfully clear already. This entire situation, both the slow progress on our house and even more not
knowing where we’re going to be living in a month, is very stressful on our family. My wife’s doctors have said
that this stress is bad for her health, our son’s health and that of our unborn child.

Please contact us back promptly about what, if any, plan you have to help our family.

Thank you,

- Ryan

On 2016-03-14 10:42, Eversole, Sarah wrote:

| > Joel:

>
> What is it that your clients would like Liberty to do at this point?

>
_ > The request for an extension of ALE is under review. You will likely

 

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| > receive a response soon.

>
> The coverage is what it is. There is nothing Liberty can do about the

> choice of housing that ALE solutions has offered. My understanding is
> that the housing service is not actually a service that is provided

> for under the insurance policy, it is just assistance offered as a

> courtesy. Certainly your clients are free to find a rental house on

> their own, Whether they choose to enter into a lease that may be

> longer than the policy benefits available to them, would appear to be

' >a decision that is entirely theirs, right? Are you asking whether
| > Liberty will pay for another year in rent past what is provided for in

> the policy? That can’t be what you are asking, right?

>

> Mr. Wolterman states below regarding the moving company “I do not know
> of any moving companies in the area that | can recommend nor does

9/30/16, 9:00 PM

 

Page 3 of 9
Workspace Webmail :: Priftase 2:16-cv-00465-RAJ Document 37 Filed 01/10/17

| > Liberty partner with moving companies.”

>
| > SARAH L. EVERSOLE
>
| > Attorney
:>
> 901 Fifth Ave, Suite 1700
>
> Seattle, WA 98164
>
>Main: 206 623 4100
>
> Fax: 206 623 9273
>
: > Email: eversole@wscd.com
>

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> than to the addressee(s)), copying or taking of any action because of

> this information is strictly prohibited.

>

> FROM: joel@joelhansonlaw.com [mailto:joel@joelhansonlaw.com]

| > SENT: Monday, March 14, 2016 10:34 AM

| > TO: Eversole, Sarah

- > CC: Rani Joseph; Wolterman, James; ryan@ryanwellman.com

| > SUBJECT: RE: Urgent Relocation Issues

>

> Sarah:

>

>| do not agree that Mr. Wolterman answered all the questions. To

> respond directly to each of your numbered statements:

>

> 1. If you read the emails below, you will see that ALE Solutions has

> only suggested one property. And it fails to meet Liberty Mutual's

> contractual requirements because it is too small. Remember, the house
> needs to be big enough for beth families.

>

> 2. My clients have asked permission to find a rental house on their

' > own. This would likely require a standard lease agreement. Neither you
' > nor Mr. Wolterman has responded to that request. This is a separate

| > request from the ALE "extension" that you have said is under review.
| >
|

 

 

> 3. Mr. Wolterman did not respond to the inquiry about a moving

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Page 221 of 228

9/30/16, 9:00 PM

 

Page 4 of 9
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|

‘
1

 

> company. Thank you for answering that question for him.

>

: > Regards,
i>

> Joel

>

> Joel B. Hanson, Attorney at Law, PLLC
> 6100 - 219th St. SW, Suite 480

> Mountlake Terrace, WA 98043

> Office: 425-582-5636

>

> Cell:206-412-8765

>

> Fax: 425-368-7442

: > joel@joelhansonlaw.com
‘>

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> you have received this communication in error, please notify me

> immediately by email, and delete the original message. Thank you.

>> -------- Original Message --------
>> Subject: RE: Urgent Relocation Issues
>> From: "Eversole, Sarah" <Eversole@wscd.com>

; >> Date: Fri, March 11, 2016 5:21 pm

>> To: "'joel@joelhansonlaw.com"" <joel@joelhansonlaw.com>

>> Cc: Rani Joseph <ranijt@gmail.com>, "Wolterman, James"

>> <James.Wolterman@LibertyMutual.com>, "ryan@ryanwellman.com"
>> <ryan@ryanwellman.com>

>>

>> Joel:

>>

>> | am confused as it appears Mr. Wolterman answered your question
>> already.

>>

>> 1. ALE solutions, the relocation company, appears to already be

>> working with your clients.

>>

>> 2. An extension is under review

>>

>> 3, Liberty Mutual does not have a moving company that it

>> employs/works with or that it can recommend.

 

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Page 222 of 228

9/30/16, 9:00 PM

 

Page 5 of 9
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:
|
|
|
|

>>

>> Is there something specific that you do not understand?
>>

>> SARAH L. EVERSOLE

>>
: >> Attorney
>>
>> 901 Fifth Ave, Suite 1700
>>
>> Seattle, WA 98164
>>
>> Main: 206 623 4100
>>
i >> Fax: 206 623 9273
>>
>> Email: eversole@wscd.com
>>

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>> or taking of any action because of this information is strictly

>> prohibited.

>>

>> FROM: joel@joelhansonlaw.com [mailto:joe|@joelhansonlaw.com]

' >> SENT: Friday, March 11, 2016 4:30 PM

>> TO: Wolterman, James; ryan@ryanwellman.com; Eversole, Sarah

>> CC: Rani Joseph

>> SUBJECT: RE: Urgent Relocation Issues

>>

>> Mr. Wolterman:

>>

>> As Rani and Ryan have repeatedly explained, they are being forced to
>> move to a new house PRIOR to the one year anniversary of the fire.
>> They need help finding a house during the period of time that Liberty
>> Mutual has already agreed they are covered.

| >>

>> Please respond and confirm you understand this.
>>

>> Regards,

>>

>> Joel

>>

>> Joel B. Hanson, Attorney at Law, PLLC

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Page 223 of 228

9/30/16, 9:00 PM

 

Page 6 of 9
Workspace Webmail :: PrmtaS@ 2:16-cv-0O0465-RAJ Document 37 Filed 01/10/17 Page 224 of 228

| >> 6100 - 219th St. SW, Suite 480

|

 

 

 

>> Mountlake Terrace, WA 98043
>> Office: 425-582-5636

>>
_ >> Cell:206-412-8765

>>

>> Fax: 425-368-7442

>> joel@joelhansonlaw.com

>>

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>> distribution, or copying of this message is strictly prohibited. If

>> you have received this communication in error, please notify me

>> immediately by email, and delete the original message. Thank you.
>>

>>> wn------ Original Message --------

>>> Subject: RE: Urgent Relocation Issues

>>> From: "Wolterman, James” <James.Wolterman@LibertyMutual.com>
>>> Date: Fri, March 11, 2016 4:22 pm

>>> To: "ryan@ryanwellman.com" <ryan@ryanwellman.com>, "Eversole, Sarah"
>>> <Eversole@wscd.com>

>>> Cc: Joel Hanson <joel@joelhansonlaw.com>, Rani Joseph

>>> <ranijt@gmail.com>

>>>

>>> Mr. Wellman et al.,

>>>

>>> | can't approve an additional year at this time. The policy limits

>>> are for one year of the date of loss which would end on 5/19/16.
>>> An extension is under review. | do not know of any moving companies
>>> in the area that | can recommend nor does Liberty partner with
>>> moving companies.

>>>

>>> Once | know more on the review of the extension, | will let you

>>> know.

>>>

>>> Thank you,

>>>

>>> Jimmy Wolterman

>>> Sr. Field Claims Resolution Specialist Ill Liberty Mutual Insurance
>>> P.O, Box 8415 Westminster, CA 92684-8415 Direct Dial: 480.290.1234
>>> Fax: 800.510.8005

>>>

>>> Track your claim, anytime, anywhere with eService at

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Page 7 of 9
Workspace Webmail :: Prif ase 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 225 of 228

>>> www.libertymutual.com [1]

>>> - View claim status and details on any device, 24/7
>>> - Upload claim-related documents and photos

>>> - Update your contact information in just a few taps
>>>

>>> From: ryan@ryanwellman.com [mailto:ryan@ryanwellman.com
>>> Sent: Thursday, March 10, 2016 12:45 AM

>>> To: Wolterman, James <James.Wolterman@LibertyMutual.com>; Cahill,
>>> Brian <BRIAN.CAHILL@LibertyMutual.com>

>>> Cc: Joel Hanson <joel@joelhansonlaw.com>; Rani Joseph

>>> <ranijt@ gmail.com>

>>> Subject: Urgent Relocation Issues

Po?

>>> Hi James,

>>>

>>> We just found out a few days ago that the owner of the house has
>>> moved up the timeframe for when we have to be out. We now have to be
>>> completely out of the house by April 30th (which means we have to
>>> start moving by early to mid April in order to be out and clean the
>>> house).

>>> So far the relocation company, ALE Solutions, has only found us one

' >>> potential property, it's not only smaller than our home (not to

>>> mention the current rental) but they haven't even verified yet that
>>> they will allow our cats.

>>>

>>> We've been forced to start looking on our own. We've been told that
>>> it is currently a very hot rental market that makes renting any

>>> house very expensive and difficult because of all the demand.

>>> It's exceptionally rare to find any house without a 1 year lease.

>>> Do we have permission to sign a one year lease if we find a home
>>> that will take us, including our cats? This is a huge burden on us

>>> and extremely stressful, please help us find a new property.

>>>

>>> Also we will need assistance in moving, do you have a moving company
>>> that is one of your preferred venders or should we find one on our
>>> own and provide the receipts for reimbursement?

>>>

>>> Thank you,

i >>> - Ryan

>

>

> Links:

 

> [1) http://www. libertymutual.com/

 

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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 226 of 228

The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

R.W. and R.J.T., husband and wife, and the | NO. C16-465 RAJ
marital community composed thereof,

Plaintiffs, (proposed) ORDER GRANTING

PLAINTIFFS’ MOTION FOR PARTIAL
SUMMARY JUDGMENT RE
COVERAGES

Vv.

LIBERTY MUTUAL FIRE INSURANCE
COMPANY, dba Liberty Mutual

Defendant.

 

 

This matter came before the Court on Plaintiffs’ Motion for Partial Summary Judgment re
Coverages. Having reviewed all the briefing and materials submitted for and against Plaintiffs’
Motion,

IT IS HEREBY ORDERED that Plaintiffs’ Motion for Partial Summary Judgment re

Coverages is GRANTED. As a matter of law, the Court finds that:
1. The damage caused by the March 2014 water leak, and the mitigation of that damage, was
covered,

2. There is no evidence that Plaintiffs intentionally caused the May 2015 fire.

3. The damage resulting from the May 2015 fire, and the mitigation of that damage, was

covered.
(proposed) ORDER — 1 JOEL B. HANSON
ATTORNEY AT LAW, PLLC
NO. C16-465 RAJ 6100 219 STREET SW
SUITE 480

SEATTLE, WA 98043
425.582.5636

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 227 of 228

4, Plaintiffs’ mortgage company was also covered for the May 2015 fire damage, and the
mitigation of that damage, even if Liberty Mutual had determined that Plaintiffs had
intentionally caused the fire.

5. The insurance contracts in effect for the March 2014 water loss and for the May 2015 fire

were not limited to a maximum of 12 months of Additional Living Expenses (ALE).

DATED this day of , 2017.

 

Richard A. Jones
United States District Court Judge

PRESENTED BY:
JOEL HANSON, ATTORNEY AT LAW, PLLC

/s/ Joel Hanson
Joel B. Hanson, WSBA #40814

Attormey for Plaintiff
(proposed) ORDER — 2 JOEL B. HANSON
ATTORNEY AT LAW, PLLC
NO. C16-465 RAJ 6100 219 STREET SW
SUITE 480

SEATTLE, WA 98043
425.582.5636

 
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Case 2:16-cv-00465-RAJ Document 37 Filed 01/10/17 Page 228 of 228

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

R.W, and R.J.T., husband and wife, and the NO. CV 16-465 RAJ
marital community composed thereof,

Plaintiffs,

v. CERTIFICATE OF SERVICE

LIBERTY MUTUAL FIRE INSURANCE
COMPANY, dba Liberty Mutual

Defendant.

 

 

 

 

Under penalty of perjury under the laws of the State of Washington, I declare that on this
10" day of January, 2017, I electronically filed the foregoing with the Clerk of the Court using the
CMECF system with which will send notification of such filing to the following:

John M. Silk, WSBA #15035
Sarah L. Eversole, #36335
Wilson Smith Cochran Dickerson
901 5™ Ave., Ste 1700

Seattle, WA 98164

206/623-4100

 

 

CERTIFICATE OF SERVICE — 1

 
